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      1              UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
      2                    EASTERN DIVISION
      3    IN RE: NATIONAL             )    MDL No. 2804
           PRESCRIPTION OPIATE         )
      4    LITIGATION                  )    Case No.
                                       )    1:17-MD-2804
      5                                )
           THIS DOCUMENT RELATES TO    )    Hon. Dan A.
      6    ALL CASES                   )    Polster
                                       )
      7
      8
      9                              __ __ __
     10                       Tuesday, May 14, 2019
                                    __ __ __
     11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     12                 CONFIDENTIALITY REVIEW
                               __ __ __
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     14
     15
     16           Videotaped Deposition of JAMES E.
            RAFALSKI, VOLUME 2, held at Weitz &
     17     Luxenburg PC, 3011 West Grand Avenue, Suite
            2150, Detroit, Michigan, commencing at
     18     8:25 a.m., on the above date, before
            Michael E. Miller, Fellow of the Academy of
     19     Professional Reporters, Registered Diplomate
            Reporter, Certified Realtime Reporter and
     20     Notary Public.
     21
     22
     23                            __ __ __
     24                   GOLKOW LITIGATION SERVICES
                       877.370.3377 ph | fax 917.591.5672
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           35 West Wacker Drive                                PROCEEDINGS                      421
     4     Suite 3400                                      4
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     5     (312) 646-5800                                      EXAMINATION OF JAMES E. RAFALSKI:
           Counsel for Purdue Pharma                       6
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     1   A P P E A R A N C E S:                            1              DEPOSITION EXHIBITS
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     3        bill.leeder@btlaw.com                        3   NUMBER              DESCRIPTION            PAGE
           171 Monroe Avenue, N.W.                         4   Rafalski-19 5/17/06 Corso Letter,         450
     4     Suite 1000                                                   WAGMDL00753477 -
           Grand Rapids, Michigan 49503                    5            WAGMDL00753479
     5     (616) 742-3930                                  6   Rafalski-20 Plaintiffs' Responses to      500
           Counsel for H.D. Smith                                       the Amended and Clarified
     6
     7     CAVITCH FAMILO & DURKIN CO. L.P.A.              7            Discovery Ruling 12
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              (via teleconference)                                      Plaintiffs
     9     1300 East 9th Street                            9
           Cleveland, Ohio 44114                               Rafalski-21 Excerpt from McCann       511
    10     (216) 621-7860                                 10            Appendix 10
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    11
                                                                        WAGFLDEA00000459 -
    12     FOX ROTHSCHILD LLP                             12            WAGFLDEA00000460
           BY: STEPHAN A. CORNELL, ESQUIRE                13   Rafalski-23 Rafalski Report       533
    13        scornell@foxrothschild.com                                Schedule II
              (via teleconference)                        14
    14     2700 Kelly Road                                     Rafalski-24 Excerpt from McCann             537
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           (215) 345-7500                                 16   Rafalski-25 Excerpt from McCann             546
    16     Counsel for Prescription Supply Inc.                         Appendix 11
    17                                                    17
    18     MORGAN LEWIS & BOCKIUS LLP                          Rafalski-26 Consumer Value Stores IRR           609
           BY: CAROLYN A. SILANE, ESQUIRE                 18            Report,
    19        carolyn.silane@morganlewis.com                            CVS-MDLT1-000100763 -
              (via teleconference)                        19            CVS-MDLT1-000100768
    20     101 Park Avenue                                20   Rafalski-27 Consumer Value Stores IRR           622
           New York, New York 10178                                     Report,
    21     (212) 309-6000                                 21            CVS-MDLT1-000100672 -
           Counsel for Rite Aid                                         CVS-MDLT1-000100757
    22
                                                          22
    23   VIDEOGRAPHER:                                    23
    24      David Lane,                                   24
            Golkow Litigation Services                    25
    25

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     1          DEPOSITION EXHIBITS                     1   is Kate Swift and I represent Walgreens,
     2                                                  2   okay?
         Rafalski-28 Actavis SOM Logic         749      3       A. Yes.
     3            Presentation,                         4       Q. Did you have an opportunity to
                  ALLERGAN_MDL_02181128 -
     4            ALLERGAN_MDL_02181172                 5   talk to the plaintiffs' lawyers after we
     5   Rafalski-29 Plaintiff Cardinal Health 833      6   finished yesterday?
                  Inc.'s Reply in Support               7       A. Yes, went to dinner together.
     6            of Motion for Preliminary             8       Q. Did you talk about the
                  Injunction
     7                                                  9   substance of your testimony at all?
         Rafalski-30 8/13/14 Rocque Letter to   835    10       A. No, ma'am.
     8            Hobart                               11       Q. What did you talk about with
                  [MCKMDL Bates Obscured]              12
     9                                                      the lawyers last night at dinner?
    10                                                 13       A. Just Detroit, the restaurant,
    11                                                 14   general personal topics, children,
    12                                                 15
    13                                                      activities, the weather.
                                                       16       Q. You understand that the Court's
    14
    15                                                 17   rules require you to disclose all of your
    16                                                 18   opinions in the report that you provided to
    17                                                 19
    18
                                                            us, correct, sir?
                                                       20       A. Yes, sir -- or yes, ma'am. I'm
    19
    20                                                 21   sorry. Sorry.
    21                                                 22       Q. The rules also require you to
    22                                                 23
    23
                                                            include the reasons supporting those opinions
                                                       24   in your report.
    24
    25                                                 25            Do you understand that?
                                            Page 421                                             Page 423
     1            PROCEEDINGS                           1       A. Yes.
     2          (May 14, 2019 at 8:25 a.m.)             2       Q. That's so we can look at your
     3          THE VIDEOGRAPHER: We're now on          3   report in advance of the deposition and then
     4     the record. My name is David Lane,           4   ask you questions about the opinions and what
     5     videographer for Golkow Litigation           5   supports your opinions.
     6     Services. Today's date is May 14th,          6            Do you understand that?
     7     2019. Our time is 8:25 a.m.                  7       A. I understand.
     8          This deposition is taking place         8       Q. If it's not in your report, we
     9     in Detroit, Michigan in the matter of        9   can't do any of that.
    10     National Prescription Opiate                10            Do you understand that?
    11     Litigation. Our deponent today is           11       A. I understand that, yes, ma'am.
    12     James E. Rafalski. Counsel will be          12       Q. Are all of your opinions
    13     noted on the stenographic record.           13   related to the defendants that you've -- you
    14          Our court reporter today is            14   have opinions about included in your report?
    15     Mike Miller.                                15       A. Yes, ma'am.
    16          Mr. Rafalski, I just want to           16       Q. Are all of the bases for those
    17     remind you, you're still under oath         17   opinions also included in your report?
    18     from yesterday.                             18            MR. FULLER: Form.
    19          THE WITNESS: Yes, sir, I               19       A. Yes, ma'am.
    20     understand. Thank you.                      20   BY MS. SWIFT:
    21            EXAMINATION                          21       Q. Do you understand what I mean
    22   BY MS. SWIFT:                                 22   when I say the bases for your opinions?
    23     Q. Good morning, Mr. Rafalski.              23            MR. FULLER: Same objection.
    24     A. Good morning.                            24       A. I'll accept an explanation if
    25     Q. We met a moment ago. My name             25   you want to give that to me.

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     1   BY MS. SWIFT:                                   1             MR. FULLER: I would just state
     2       Q. Are all of the reasons                   2        for the record that his report has
     3   supporting your opinions included in your       3        been compiled for an extended period
     4   report?                                         4        of time. There's been ongoing
     5       A. Yes, ma'am.                              5        discovery, still ongoing discovery and
     6           MR. FULLER: Object to form.             6        productions. I think counsel is
     7   BY MS. SWIFT:                                   7        correct, there has to be a basis
     8       Q. Throughout your report you               8        provided in the report, but he doesn't
     9   include footnotes citing documents and          9        have to provide all the examples.
    10   testimony. It is fair to say that those        10   BY MS. SWIFT:
    11   documents and testimony that you cite in the   11        Q. Sitting here today, you're not
    12   footnotes provide the specific support for     12   planning to come to trial and offer different
    13   whatever you've just said in the body of the   13   support for your opinions than what you've
    14   report?                                        14   already provided in your report; is that
    15           MR. FULLER: Same objection.            15   fair?
    16       A. Yes, I think that's an accurate         16             MR. FULLER: Object to form.
    17   description of what -- the use of the          17        A. Other than I'm aware and I
    18   footnotes.                                     18   think I state in the beginning of my report
    19   BY MS. SWIFT:                                  19   that it's an ongoing discovery, so I think I
    20       Q. If we wanted to figure out what         20   reserve the right to amend my report if any
    21   your basis or your reason was for a specific   21   supplemental documents would add or change my
    22   point, we could look at what you've cited in   22   opinion.
    23   the footnote; is that fair?                    23   BY MS. SWIFT:
    24           MR. FULLER: Same objection.            24        Q. And that's why I asked you
    25       A. I think that's a little                 25   sitting here today, sir. I'll ask it again.
                                             Page 425                                             Page 427
     1   restrictive. That rules out my experience       1             Sitting here today, you're not
     2   and my training, so there may be some other     2   planning to come to trial and offer different
     3   factors that I include besides just the         3   support for your opinions than what you've
     4   footnote information.                           4   offered in the report that's marked as
     5   BY MS. SWIFT:                                   5   Exhibit 16, correct, sir?
     6       Q. Setting aside your experience            6       A. Well, I want to answer that by
     7   and training, things you couldn't put in a      7   saying I currently don't know if there may be
     8   footnote --                                     8   a document that has been turned in after my
     9       A. Correct.                                 9   report, which was April 15th, up until today,
    10       Q. -- is it fair to say that when          10   that may be necessary to be amended. So
    11   you include something in a footnote of your    11   there could be some documentation already.
    12   report, that's the specific support for        12             As my report stands today, I
    13   whatever you've just said leading up to the    13   don't have any information that I know of
    14   footnote?                                      14   today that's been provided to me where I
    15       A. Yes, ma'am. Generally the               15   would change or edit or provide a
    16   footnote actually takes you to the document    16   supplemental to my report.
    17   or to the reference of where that statement    17       Q. So I believe that's a no,
    18   occurs.                                        18   right, sir?
    19       Q. But the specific support is             19       A. I think it's a no but I think
    20   referred to in the footnote. Then you have     20   I'm reserving in case there's something I
    21   to go look at the document. I understand       21   don't know about that -- up until today.
    22   that. But the reference to whatever it is      22             So I guess the question that
    23   that you are using to support the opinion is   23   causes me some concern is that you tend -- I
    24   found in the footnotes?                        24   tend to believe the question says that
    25       A. Yes, ma'am.                             25   this -- up to today, that I could not
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     1   consider any information that may have been      1   sir?
     2   provided that is not in my report.               2       A. I think that's a legal issue.
     3            Does that make sense?                   3   I would operate under the assumption that if
     4       Q. It doesn't. I'm afraid it                 4   I'm not allowed to talk to it today, that
     5   doesn't. I'm sorry, sir. Let me ask the          5   there's the possibility I wouldn't be able to
     6   question again.                                  6   talk to it at trial.
     7       A. Okay.                                     7             But I don't know if there's
     8       Q. Sitting here right now, as of             8   some -- some kind of a legal issue there that
     9   this moment at 8:30 on Tuesday morning,          9   would allow that, but that would be my
    10   May 14th, 2019, you're not aware of anything    10   understanding based on what I could say
    11   that is supportive of your opinions other       11   today.
    12   than what you have cited in your report; is     12       Q. So is it your position that if
    13   that fair?                                      13   your lawyers asked you to offer testimony
    14       A. That's a correct statement, I            14   that you were instructed not to give at your
    15   would --                                        15   deposition, then you would provide that
    16            MR. FULLER: Object to form.            16   testimony?
    17       That is not the legal standard. He is       17       A. I would probably say yes, I
    18       only obligated to give you the basis        18   would offer that testimony.
    19       of his opinion, not every example           19       Q. When you were at the DEA, you
    20       within his report.                          20   sometimes requested reports from the DEA's
    21   BY MS. SWIFT:                                   21   ARCOS database as part of your diversion
    22       Q. Sitting here today at 8:30 on            22   investigations, correct, sir?
    23   May 14th, 2019, you're not aware of anything    23       A. Yes, ma'am, that would be part
    24   that is supportive of your opinions other       24   of my role as a diversion investigator.
    25   than what you have cited in your report.        25       Q. You might request an ARCOS
                                             Page 429                                              Page 431
     1   Correct, sir?                                    1   analysis, just as an example, of oxycodone
     2        A. Yes, I would agree with that             2   30-milligram products shipped to a particular
     3   statement.                                       3   pharmacy over a particular time period?
     4        Q. You have been instructed a               4       A. You've described one of the
     5   number of times not to answer questions about    5   potential scenarios where you could request
     6   your personal knowledge of investigations        6   information from ARCOS.
     7   that were conducted while you were at the        7            Just for clarification, some of
     8   DEA.                                             8   those I could run myself, so it wouldn't
     9             Do you recall that yesterday?          9   always require me to request it from DEA
    10        A. Well, are you referring to the          10   headquarters.
    11   Touhy letter, the Touhy instruction from the    11       Q. Did you do that from time to
    12   government?                                     12   time?
    13        Q. I'm specifically referring to           13       A. Yes, but only -- only if the
    14   the numerous times when your lawyer             14   number of transactions would be able to be
    15   instructed you not to answer questions based    15   displayed at -- on my computer within my
    16   on your personal knowledge of investigations    16   system. So could I explain that a little
    17   or other things that you know about, only       17   further?
    18   because of your work at the DEA.                18       Q. Sure.
    19             Do you recall that?                   19       A. So there's some transactions
    20        A. Yes, that occurred yesterday.           20   where they're so voluminous that it's
    21   I recall that.                                  21   impossible for me to look at them. So, for
    22        Q. You're not going to come to             22   example, the distribution you talk about, the
    23   trial and offer testimony based on any          23   transactions may be so high that to look at a
    24   personal knowledge you've been instructed not   24   month, I'd have to look at it a week at a
    25   to tell us about at the deposition, are you,    25   time, or to look at six months, I'd have --
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     1   so it would take numerous, numerous              1   oxycodone 30-milligram products shipped to a
     2   transactions.                                    2   particular pharmacy over a particular period
     3            So there's two different ways.          3   of time, either a week or a month or some
     4   One way I just would look at it if it can be     4   other period, would that be a typical ARCOS
     5   processed by my computer. If it's not, then      5   report for you?
     6   I make the formal request to the ARCOS           6            MR. FULLER: Counsel, I let it
     7   division, and then they either send it to me     7       go a little bit. I think you're
     8   or they open a link where I can view it.         8       encroaching on his Touhy
     9            It comes down to a computer, I          9       authorization.
    10   think, hardware issue.                          10            THE WITNESS: I'm just
    11       Q. Understood.                              11       considering what my counsel said. I'm
    12            When you ran reports from the          12       processing whether that's something
    13   ARCOS database, did you typically look at a     13       that would be readily available
    14   particular drug like oxy 30?                    14       outside of the --
    15            MR. FULLER: And, Counsel, I'm          15            MR. FULLER: So if it's not
    16       assuming you're just asking generally.      16       readily available --
    17       And I'll remind you of your Touhy           17            THE WITNESS: I would say that
    18       obligation as well.                         18       I can't answer that question based
    19            MS. SWIFT: Yes, I'm asking             19       on --
    20       generally. I'll ask it again.               20   BY MS. SWIFT:
    21   BY MS. SWIFT:                                   21       Q. Do you recall testifying in a
    22       Q. Generally, when you ran ARCOS            22   case involving H.D. Smith?
    23   reports, did you run them on a particular       23       A. I do.
    24   drug, like oxycodone 30 milligrams?             24       Q. Do you recall in that case you
    25       A. Being able to run an ARCOS               25   testified about an ARCOS report that you had
                                             Page 433                                             Page 435
     1   report, you could query any drug by any drug,    1   requested involving oxycodone 30-milligram
     2   by any date range, by numerous factors. Any      2   products shipped to a particular pharmacy
     3   information that's in an ARCOS report, I         3   over a two-year period?
     4   could query it by that data field. So yes.       4       A. I did not run that report.
     5       Q. Okay. Maybe my question wasn't            5       Q. Did you request that report?
     6   clear.                                           6       A. No, ma'am.
     7            I'm asking you specifically             7       Q. You -- when you request an
     8   when you would run your ARCOS reports, was it    8   ARCOS analysis as a diversion investigator,
     9   typical for you to focus on a particular         9   are you looking to see whether there's a
    10   drug? In other words --                         10   large volume increase in shipments of a
    11       A. No.                                      11   particular drug to a particular pharmacy?
    12       Q. -- when you ran your ARCOS               12           MR. FULLER: Counsel --
    13   reports, did you run a report to show all of    13   BY MS. SWIFT:
    14   the oxycodone and all of the hydrocodone        14       Q. Just in general?
    15   together shipped to a particular pharmacy?      15           MR. FULLER: -- that
    16       A. A report could be run various            16       specifically goes to investigations
    17   different ways. I guess how I ran my report     17       conducted as an agent. It absolutely
    18   is dependent on what type of investigation I    18       violates his Touhy obligation.
    19   was conducting. So there was no set way that    19           MS. SWIFT: I'm not asking
    20   I would, you know, request reports. It would    20       about any particular investigation.
    21   always be depending on what I planned to do     21           MR. FULLER: I didn't say you
    22   with the investigation or what I was            22       were, but it's an investigative
    23   investigating and how I was going to utilize    23       process. Don't answer that. If she
    24   it would dictate on how I would run it.         24       wants to know, she can ask the 30(b)
    25       Q. Would an ARCOS analysis of               25       designee from the DEA on Friday.
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     1   BY MS. SWIFT:                                    1   oxycodone 30 is more likely to be diverted
     2       Q. You testified yesterday that              2   than oxycodone 5?
     3   you focused your investigations on particular    3        A. That would be my testimony
     4   drug strengths as opposed to drug families.      4   based on my experience in the cases I worked
     5            Do you remember that testimony          5   on.
     6   from yesterday that your counsel allowed you     6             MR. FULLER: Object to form.
     7   to provide?                                      7   BY MS. SWIFT:
     8       A. Can you ask the question again?           8        Q. Am I correct, circling back to
     9       Q. Sure.                                     9   the ARCOS question just briefly, you can use
    10       A. This is not in regards to                10   the ARCOS database to look at the particular
    11   ARCOS, this is just a general question?         11   drug strength you're concerned about?
    12       Q. Nope, just a general question.           12             MR. FULLER: I would give you
    13       A. Okay.                                    13        the same Touhy reminder.
    14       Q. You testified yesterday you              14        A. I'm not going to answer based
    15   would focus your investigations on particular   15   on the DEA's Touhy --
    16   drug strengths as opposed to drug families.     16   BY MS. SWIFT:
    17            Do you remember that testimony?        17        Q. Just so I understand, you can't
    18       A. I remember the testimony. I'm            18   tell me sitting here today whether you can
    19   not sure that's exactly what I testified --     19   use the DEA's ARCOS database to focus on a
    20   how I testified.                                20   particular drug strength?
    21       Q. I don't mean to say that I'm             21             MR. FULLER: How it's
    22   giving it to you back verbatim, but just        22        particularly queried for investigative
    23   generally, that's what you testified            23        purposes, no, he's not going to
    24   yesterday?                                      24        answer.
    25       A. Generally I would say it's as            25             MS. SWIFT: I want to get an
                                              Page 437                                             Page 439
     1   important to look at specific highly abused      1       answer from the witness on this
     2   drugs as it is to look at drugs in a group.      2       question, Mike, if you don't mind.
     3       Q. You -- I believe yesterday you            3   BY MS. SWIFT:
     4   mentioned drug strengths like oxycodone 30.      4       Q. Sitting here today, you can't
     5            Do you remember that?                   5   testify about whether you can use the DEA's
     6       A. Yes, ma'am.                               6   ARCOS database to query it for a particular
     7       Q. Is oxycodone 30 more likely to            7   drug strength such as oxycodone 30; is that
     8   be diverted than lower strengths of              8   correct?
     9   oxycodone?                                       9       A. What I'd like to say is my
    10       A. Based on my experience as a              10   understanding of the Touhy letter from the
    11   diversion investigator and the cases that I     11   government is that I can't testify to
    12   worked, I would answer yes to that. But I       12   anything that's not readily available as an
    13   would also add, that would be kind of an        13   open source, and I don't believe that
    14   overall opinion. Sometimes there would be       14   particular answer to that particular question
    15   other strengths of oxycodone that may be        15   would be something that would be readily
    16   abused in different geographic areas.           16   available, so on the advice of counsel, I'm
    17       Q. Like oxycodone 80 perhaps?               17   not going to answer that question.
    18       A. Yes, or oxycodone 5 perhaps.             18       Q. Would you give the same answer
    19       Q. Uh-huh. It's your testimony              19   to any other question about how queries can
    20   that oxycodone 5 is typically diverted?         20   be run on the DEA's ARCOS database? Would
    21       A. Not typically diverted, but I            21   you refuse to answer those questions?
    22   have experience in certain geographic areas     22       A. I think that would depend on
    23   where that is the more desirable drug to be     23   the question. I know that there's some
    24   diverted.                                       24   summary information that the DEA posts on the
    25       Q. Is it your testimony that                25   DEA website, and that's ARCOS data. So if

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     1   there were questions related to the summary      1   requirements, but I understood your question
     2   data, I think I could answer any questions       2   to say is this something that would be a
     3   related to that data because it's obviously      3   regulatory requirement, that something would
     4   posted on the DEA website.                       4   be in a regulation, these specific things.
     5       Q. All right. I'd like you to                5       Q. Let me --
     6   turn to page 37 of your report, which I          6       A. Based on my experience, these
     7   believe you have in front of you.                7   are all the things that I believe should be
     8       A. It is.                                    8   present in a functioning operational
     9       Q. And I understand it's                     9   suspicious order system.
    10   Exhibit 16.                                     10       Q. Let me see if I understand your
    11       A. It is.                                   11   testimony.
    12       Q. Pages 37 through 40 of your              12             You're saying that the list of
    13   report are within a section that starts on      13   components on pages 37 to 40 are not
    14   page 36.                                        14   requirements under the DEA's suspicious order
    15            Do you see that?                       15   monitoring regulation; is that correct?
    16       A. Yes, ma'am, titled Maintenance           16   That's part one.
    17   of Effective Controls Against Diversion of      17       A. Well, the word "requirement" is
    18   Controlled Substances.                          18   kind of the word that I'm thinking about. So
    19       Q. Yeah. And at the top of                  19   if you're trying to say that it's a mandate,
    20   page 37, just before the bullet list starts,    20   I would say in order for me to say that it's
    21   you wrote: Included below are some key          21   an operational system, then these things
    22   components that one would expect to see an      22   would need to be present. If they weren't
    23   operational system designed to maintain         23   present, it wouldn't be an operational
    24   effective controls against diversion.           24   system.
    25            Did I read that correctly?             25             So if you were to say that you
                                             Page 441                                              Page 443
     1       A. You did, ma'am.                           1   could take this and say the DEA said you must
     2       Q. Okay. Then following that                 2   have these things in your system, there's a
     3   statement at the top of page 37 of your          3   possibility that maybe one of them wouldn't
     4   report, you've included a list, a                4   be there and it still could function.
     5   bullet-pointed list, several levels of bullet    5            So I wouldn't say -- I don't
     6   points, that carries all the way over to         6   want to say that this is dictating exactly
     7   page 40.                                         7   what has to be in a system, but in my
     8            Would you agree with that?              8   experience in reviewing a lot of systems,
     9       A. Yes, ma'am.                               9   these would be the key components I would
    10       Q. Is that list of bullet points            10   expect to see.
    11   on pages 37 to 40, is it your opinion that      11       Q. All right. Now I'm more
    12   those are requirements to be included in a      12   confused than I was before.
    13   distributor's suspicious order monitoring       13       A. Okay.
    14   system?                                         14       Q. If I understand what you're
    15       A. No, I wouldn't say they're               15   saying, it seems like you're saying the
    16   requirements. As the initial statement said,    16   bullet list at pages 37 to 40 are not
    17   they would -- I would expect to see those as    17   required by the DEA's suspicious order
    18   components of an operational system, but it's   18   monitoring regulation, but they are required
    19   not a -- not dictating or saying that they're   19   by the maintenance of effective controls
    20   a requirement by the government.                20   against diversion?
    21       Q. You're not saying that any of            21       A. Let me start over. So --
    22   those bullet points on pages 37 through 40      22       Q. Just -- can you just say yes or
    23   are requirements, not a single one of them?     23   no? I really want to just know if I'm
    24       A. Oh, to meet the maintenance of           24   following you.
    25   effective controls, I think they're all         25            MR. FULLER: No, he can explain

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     1        his answer. Go ahead.                       1       clarify.
     2             MS. SWIFT: Before we go any            2            MS. SWIFT: All right. Let me
     3        further on that point, my colleagues        3       see if I can clean this up.
     4        were very, very patient yesterday. I        4            MR. FULLER: Sure.
     5        just want to remind counsel of Special      5   BY MS. SWIFT:
     6        Master Cohen's ruling that we are           6       Q. There was a pronoun in the
     7        actually entitled to seek and obtain        7   question that I thought Mike was correcting.
     8        yes-or-no answers where that's all we       8            When you say -- let's see. The
     9        really want. He put that on the             9   maintenance of effective controls is in the
    10        record in the Egilman deposition. I        10   large regulation which is above, or the
    11        can give you the citation at a break       11   hierarchy, did you mean 1301.74(a)?
    12        if you'd like, Mike.                       12       A. Well, that is the regulation.
    13             MR. FULLER: I don't need it.          13   I'm also aware that the laws in 823, USC 823.
    14   BY MS. SWIFT:                                   14       Q. As your counsel just reminded
    15        Q. I would just right now -- we            15   you?
    16   can get to the explanation, but for right       16       A. Well, I've always known that
    17   now, to make sure I'm following you, I would    17   whether counsel reminded me or not.
    18   like to know if what you're trying to explain   18       Q. Understood. Understood.
    19   is that the list on pages 37 to 40, that list   19       A. So that's the regulation, it's
    20   of components is not required by the DEA's      20   both the law regulation and the law. Only --
    21   suspicious order monitoring regulation, but     21   1301.74(b) is only a regulation, which is
    22   that you think it is required under the         22   part of the security program, which is part
    23   maintenance of effective controls against       23   of maintenance of effective controls.
    24   diversion.                                      24            So it's kind of bulleted so
    25        A. I don't believe that's what I           25   that the top regulation is maintenance of
                                             Page 445                                              Page 447
     1   said, and I'd like to correct that.              1   effective controls. Falling under that is
     2       Q. Thank you. Please do.                     2   suspicious order system.
     3       A. Okay. So, first of all, the               3       Q. So the list on 37 to 40, these
     4   maintenance of effective controls is the         4   are not requirements under 1301.74(b), the
     5   large regulation which is above, or the          5   suspicious order monitoring regulation,
     6   hierarchy, and then the next regulation would    6   correct?
     7   be the suspicious order monitoring system.       7       A. So I'd like to answer that by
     8       Q. Can I stop you right there just           8   saying I believe these are all components,
     9   to make sure we're on the same page?             9   which would be necessary to have an effective
    10       A. Yes.                                     10   suspicious monitoring -- a suspicious order
    11       Q. Is it 1301.74(a)?                        11   monitoring system.
    12       A. Yes.                                     12       Q. And with respect, sir, that's
    13       Q. Thank you.                               13   not what I asked you.
    14             MR. FULLER: I'm sorry. Is             14            Are the bullet list components
    15       what 13 --                                  15   on pages 37 to 40 of your report required
    16             MS. SWIFT: The larger --              16   under 1301.74(b), the suspicious order
    17             THE WITNESS: Maintenance of           17   monitoring --
    18       effective controls.                         18       A. Yes, they are.
    19             MR. FULLER: No. Is that CSA?          19       Q. Okay. All of them?
    20             THE WITNESS: Well, the CSA            20       A. Yes.
    21       is -- I'm sorry.                            21       Q. Okay. Great. Thanks.
    22             MS. SWIFT: Counsel, did you           22            Is it possible to have a
    23       just correct the witness' testimony on      23   compliant suspicious order monitoring system
    24       the record?                                 24   without all of these components?
    25             MR. FULLER: I was trying to           25       A. Yes, I think it would be

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     1   possible.                                        1        Rafalski-19, 5/17/06 Corso Letter,
     2        Q. But they are all requirements?           2        WAGMDL00753477 - WAGMDL00753479, was
     3        A. Based on -- depending on the             3        marked for identification.)
     4   scope of the business that's the customer and    4             MR. FULLER: Are they all the
     5   based on the scope of activity of the            5        same?
     6   distributor, I would say that some of            6             MS. SWIFT: They're all the
     7   these -- there could be some of these that       7        same.
     8   would not be necessary. But I'd also say         8             MR. FULLER: Okay.
     9   that there may be some that aren't identified    9   BY MS. SWIFT:
    10   on this list. And also, based on the fact       10        Q. Okay. Exhibit 19 is a
    11   that the distribution activity is not static    11   May 17th, 2006 letter from the DEA to Todd
    12   and it changes.                                 12   Polarolo at Walgreens in Perrysburg, Ohio,
    13        Q. So if I'm following you, all of         13   correct, sir?
    14   the bullet-listed components on pages 37 to     14        A. Yes.
    15   40 are, in fact, required under 1301.74(b),     15        Q. Do you recognize this as a
    16   but you could have a compliant suspicious       16   letter the DEA sent to Walgreens after an
    17   order monitoring system without all of these    17   audit of Walgreens' Perrysburg, Ohio
    18   compliant -- components, and, in fact, there    18   distribution center in 2006?
    19   may be other components that are required       19        A. I recognize it only based on my
    20   under 1301.74(b) that are not included in       20   review of documents for preparation of this
    21   this list.                                      21   is the first time I've seen this, from my
    22              Do I have all that, correct,         22   report.
    23   sir?                                            23        Q. You're mentioned in the first
    24        A. I believe that's correct, yes.          24   paragraph of the May 17th, 2006 letter,
    25        Q. Okay.                                   25   correct, sir?

                                              Page 449                                                  Page 451
     1       A. I'm not saying this is an                 1       A. I was there, yes, ma'am.
     2   exclusive list and there might not be other      2       Q. When you were at the Detroit
     3   things that I have not considered or might       3   field office, you were involved in this audit
     4   come up based on the type of business            4   of Walgreens' Perrysburg, Ohio distribution
     5   activities that are involved.                    5   center, correct, sir?
     6       Q. On page 39, if you would take a           6       A. Yes, ma'am.
     7   look, please. You say, the top bullet, that:     7       Q. This was a routine audit before
     8   A robust and well-documented due diligence       8   Walgreens' Perrysburg distribution center
     9   program is key.                                  9   started distributing Schedule II controlled
    10            And then it goes on from there         10   substances in early 2007, correct, sir?
    11   and provides components that you say you        11       A. No, that's not correct.
    12   would like to see in a due diligence            12       Q. What is the basis of your
    13   compliance program for suspicious orders,       13   statement that that's not correct?
    14   correct, sir?                                   14       A. It's a regulatory audit, but it
    15       A. Yes, ma'am.                              15   was just scheduled as part of the work plan
    16       Q. Is it your opinion that a                16   program. It wasn't in response to the second
    17   distributor has to do all of the diligence      17   part of your question, Schedule II controlled
    18   steps listed here in order to comply with the   18   substance authorization.
    19   law?                                            19       Q. Are you offering that testimony
    20       A. Yes, ma'am.                              20   based on your personal involvement with an
    21       Q. All right. I want you to hold            21   investigation of Walgreens while you were at
    22   on to these pages of your report for a          22   the DEA?
    23   minute, please. And I'm going to hand you a     23            MR. FULLER: Again, I remind
    24   document. This will be Exhibit 19.              24       you, Mr. Rafalski, that your
    25            (Whereupon, Deposition Exhibit         25       authorization does not and
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     1       specifically addresses the fact that         1   would agree that I worked with them, but I
     2       Walgreens was an investigation that          2   was present at the registered location.
     3       you conducted that you're not                3       Q. You worked with Steve Kneller a
     4       authorized to talk about it based on         4   fair amount? He works at the Perrysburg
     5       your personal knowledge. Just from           5   distribution center.
     6       what information you gained in this          6       A. I know the name Mr. Kneller. I
     7       litigation.                                  7   think it's K-N-E-L-L-E-R?
     8   BY MS. SWIFT:                                    8       Q. Correct.
     9       Q. Do you want to retract the                9       A. I recognize that he was the
    10   testimony that you gave a moment ago?           10   person that if I was on-site, that he would
    11       A. Yes, thank you.                          11   be the person that I would have contact with,
    12       Q. This 2006 letter that I marked           12   yes, ma'am.
    13   as Exhibit 19 that the DEA sent to Walgreens    13       Q. Did you know Justin Joseph as
    14   does not include the three pages of guidance    14   well?
    15   on what Walgreens' suspicious order             15       A. There was another -- there was
    16   monitoring system should look like that you     16   one other person with him, and I don't know
    17   included in your report at pages 37 to 40,      17   that that was Mr. Joseph. I do remember who
    18   does it, sir?                                   18   Mr. Polarolo was, but I'm not sure.
    19       A. It does not.                             19       Q. You never told Steve or Justin
    20       Q. This 2006 letter the DEA sent            20   or Todd Polarolo or anybody else at the
    21   Walgreens, it says what DEA thought Walgreens   21   Perrysburg distribution center, here's a list
    22   was doing wrong. It doesn't provide an          22   of things your suspicious order monitoring
    23   explanation of what we should do to do it       23   system is supposed to have, did you, sir?
    24   right, correct, sir?                            24             MR. FULLER: Object to form.
    25       A. That's an accurate description           25       I'd remind you of your Touhy
                                              Page 453                                            Page 455
     1   of what the letter says, yes, ma'am.             1        authorization.
     2        Q. You did not provide to                   2              THE WITNESS: Based on the
     3   Walgreens the three pages of requirements        3        Touhy, I'm not going to answer.
     4   that are included in your report. You didn't     4   BY MS. SWIFT:
     5   give those to Walgreens in 2006, correct,        5        Q. You don't say anything like
     6   sir?                                             6   that -- strike that.
     7            MR. FULLER: Object to form.             7              The DEA doesn't say anything
     8        Don't answer that, that would be based      8   like that in this 2006 letter, correct, sir?
     9        on your own investigation, not              9        A. None of the things that are in
    10        knowledge of this case.                    10   the pages we've discussed is present in this
    11   BY MS. SWIFT:                                   11   letter.
    12        Q. You're not going to come to             12        Q. You also don't say in your
    13   trial and say you provided these three pages    13   report that you told Walgreens at any point
    14   of guidance to Walgreens in 2006, correct,      14   in time, here's what your suspicious order
    15   sir?                                            15   monitoring system is supposed to look like?
    16        A. If the Touhy is still in place,         16        A. My report does not indicate
    17   I would say that I would not be able to         17   that I told them that, that's a correct
    18   testify to that.                                18   statement.
    19        Q. You worked with the folks at            19        Q. Did anything prevent you from
    20   Walgreens' Ohio distribution center for         20   providing these pages of guidance on
    21   several years, correct, sir?                    21   suspicious order monitoring to Walgreens in
    22        A. I'll respond to that question           22   2006 or at any other point in time?
    23   by saying as part of my assignments as a        23              MR. FULLER: Object to form.
    24   diversion investigator, I went on-site to       24        If it would deal with internal DEA
    25   that facility several times. I'm not sure I     25        policies and what agents were and were
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     1        not allowed to do, you're not               1       A. Well, I don't think they divert
     2        authorized to answer that.                  2   drugs, but I --
     3             THE WITNESS: I think based on          3       Q. That's not -- I'm sorry. If
     4        the Touhy, I'm not going to answer          4   that's what you heard me say, let me ask it
     5        that question.                              5   again.
     6   BY MS. SWIFT:                                    6       A. Okay.
     7        Q. Your position today, 13 years            7       Q. That's not what I said.
     8   after this 2006 letter from the DEA to           8            As changes in how prescription
     9   Walgreens, your position today after you've      9   drugs are abused -- strike the question.
    10   been hired by the plaintiffs' lawyers and       10            Trends in prescription drug
    11   paid to offer opinions in this case is that     11   abuse have changed over time, fair?
    12   these pages of your report, these three pages   12       A. That's correct.
    13   listing these requirements, are all obligated   13       Q. As those trends in prescription
    14   by law; is that right, sir?                     14   drug abuse change, does the DEA change how it
    15        A. I think I've always believed            15   addresses diversion of prescription drugs?
    16   they were obligated by the law. I would         16       A. I think that's a logical
    17   probably say in 2006, the environment in        17   conclusion. One example would be the
    18   regards to the opioid crisis and diversion,     18   Internet pharmacy epidemic that was started
    19   probably the environments changed.              19   in 1999, so I think there was a period of
    20             So I'm not sure that all of           20   time where there was a focus, and then
    21   these would have been something that I would    21   passing of the Ryan Haight law and
    22   have used or been aware of at that time.        22   enforcement actions, that diversion --
    23             I think this is fluid and it's        23   although, I'm not going to say today there's
    24   changed over a period of years, but             24   not an illegal Internet pharmacy somewhere in
    25   generally, the answer to your question...       25   America. Obviously, the diversion shifted to
                                              Page 457                                            Page 459
     1        Q. It's your testimony that the             1   a different kind of methodology, method or
     2   guidance the DEA has provided on suspicious      2   type of drug, so yes.
     3   order monitoring has changed over time?          3        Q. In fact, there are lots of
     4        A. I don't know if it's guidance.           4   Internet pharmacies that are still operating
     5   I think the environment of how diversion has     5   illegally in this country today, correct,
     6   occurred has changed over time. So I think       6   sir?
     7   my experiences and my opinions on what would     7            MR. FULLER: Object to form.
     8   be required has changed over time because        8   BY MS. SWIFT:
     9   it's a fluid situation, not static.              9        Q. If you know?
    10        Q. You said the environment of how         10        A. I don't know.
    11   diversion has occurred has changed over time.   11        Q. In your report you don't
    12   By that do you mean, at least in part, that     12   mention any guidance you provided to
    13   the drugs that are typically diverted, those    13   Walgreens as a diversion investigator about
    14   have changed over time?                         14   the right way to perform due diligence,
    15        A. Many things have changed over           15   correct, sir?
    16   time. One is the type of drugs. Different       16        A. My report doesn't say that, no,
    17   drugs have become a focus over different        17   ma'am.
    18   periods of time. How they're diverted,          18        Q. Your report does not mention
    19   methods of how they're diverted. All of the     19   any guidance you provided to Walgreens about
    20   things have changed, and I'm sure in the        20   how long to retain due diligence records,
    21   future will continue to change.                 21   correct, sir?
    22        Q. As those changes in                     22        A. I think my report speaks to
    23   prescription drug abuse occur over time, does   23   that, but I don't think it speaks to it
    24   the DEA change how it addresses diversion of    24   specifically in the Walgreens section.
    25   those drugs?                                    25        Q. The Walgreens section of your

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     1   report doesn't say anything about how long       1   my experience and knowledge and training on
     2   Walgreens was supposed to retain due             2   what was provided to them.
     3   diligence records, correct?                      3       Q. And is that based on your
     4        A. That's correct. I think that's           4   personal knowledge of nonpublic information
     5   what I said in my answer.                        5   from your time at the DEA?
     6        Q. You're not going to come to              6       A. No, I don't think so. I think
     7   trial and say you provided Walgreens guidance    7   there's public knowledge about the things I'm
     8   on how to perform due diligence for              8   speaking about today.
     9   potentially suspicious orders, correct, sir?     9       Q. But you're not going to come
    10             MR. FULLER: Object to form,           10   and talk about what registrants knew based on
    11        vague.                                     11   your personal knowledge from any nonpublic
    12        A. I'm not going to come to trial          12   investigations; is that fair?
    13   and maybe say that specifically, but I'm sure   13       A. If that's still restricted by
    14   that I'm going to come to trial and say that    14   the Touhy authorization, then that would be a
    15   the DEA, through guidance, training,            15   correct statement, yes, ma'am.
    16   distributor briefings, all registrants have     16       Q. If it happens that the Touhy
    17   had ample opportunity to have -- come to that   17   authorization goes out the window, will you
    18   same information.                               18   agree to come back and answer more questions
    19             But specifically that I would         19   so that we can get your testimony on these
    20   have told Walgreens that, I'm not going to      20   points that you're not providing for us
    21   say that at trial because that did not occur.   21   today?
    22             MS. SWIFT: I think we lost the        22            MR. FULLER: Object to form.
    23        realtime feed, Mike.                       23       It will be up to the Special Master.
    24             THE VIDEOGRAPHER: Go off the          24       A. I was going to say, I don't
    25        record, 9:00 a.m.                          25   think that's up to my decision, but if it
                                              Page 461                                             Page 463
     1            (Recess taken, 9:00 a.m. to             1   would be required of me, I would certainly do
     2        9:03 a.m.)                                  2   that.
     3            THE VIDEOGRAPHER: Back on               3   BY MS. SWIFT:
     4        record at 9:03 a.m.                         4       Q. All right. Let's go back to
     5   BY MS. SWIFT:                                    5   the 2006 DEA letter to Walgreens that I
     6        Q. Sir, I believe the end of your           6   marked as Exhibit 19.
     7   last question was that you are not planning      7             Do you have that in front of
     8   to come to trial and say that you ever told      8   you?
     9   Walgreens when you were a diversion              9       A. I do.
    10   investigator monitoring the Perrysburg, Ohio    10       Q. The DEA's 2006 letter to
    11   Walgreens facility, you're not going to come    11   Walgreens says Walgreens was using a system
    12   and say that you ever told anybody at           12   for suspicious order monitoring based on a
    13   Walgreens to keep their due diligence records   13   customer grouping formula, correct, sir?
    14   forever, correct?                               14       A. Yes, ma'am.
    15        A. I think my answer was a little          15       Q. That's what you called it in
    16   longer than that. I talked about what           16   your report, right?
    17   Walgreens would have known independent, but I   17       A. Well, this isn't my report. I
    18   believe I concluded that by saying I never --   18   didn't author this, but that's what it says
    19   I would never testify that I told them that     19   in here.
    20   because it did not occur.                       20       Q. And when I said "your report,"
    21        Q. Do you anticipate coming to             21   I meant in your actual expert report --
    22   trial and talking about what Walgreens knew?    22       A. Oh, okay, you were talking
    23        A. I think I would come to trial           23   about this document. I'm sorry.
    24   and talk about what every registrant -- I       24       Q. The customer grouping formula
    25   believe every registrant would know based on    25   that is referenced in Exhibit 19, the 2006

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     1   letter to Walgreens, you say at page 125 of      1   yes, ma'am.
     2   your report that Walgreens used that system      2       Q. Walgreens used the E(3) formula
     3   of reporting suspicious order monitoring --      3   to report potentially suspicious orders from
     4   strike the whole question.                       4   2007 to 2012, correct?
     5             Turn to page 125, please. You          5       A. Yes, that's what my report
     6   see where it says Customer Grouping Formula      6   says, yes, ma'am.
     7   at the top of the page?                          7       Q. Are you aware that those
     8        A. Yes, ma'am, I do.                        8   reports are sometimes referred to as
     9        Q. That's referring to the formula          9   excessive purchase records or ingredient
    10   that Walgreens was using to report suspicious   10   limit reports? There's different names that
    11   orders to the DEA and it's described in the     11   are used?
    12   2006 DEA letter, correct?                       12       A. There are different names, and
    13        A. I would agree, but I would say          13   I'm aware of that.
    14   that that's what they told me they were         14       Q. You would agree that the
    15   doing.                                          15   formula in Appendix E(3) that Walgreens used
    16        Q. Understood.                             16   to report suspicious orders from 2007 to 2012
    17        A. Okay.                                   17   is not the same as the customer grouping
    18        Q. That's what you were talking            18   formula Walgreens was using in 2006?
    19   about in your report when you said customer     19       A. I would agree, and also I would
    20   grouping formula, you were talking about this   20   like to comment on that, that it probably
    21   letter?                                         21   actually was less effective than more
    22        A. Yeah, but I just understood the         22   effective.
    23   question to be that I knew that they were       23       Q. I understand you have lots of
    24   actually doing this.                            24   comments you'd like to give, and that's fine.
    25        Q. Okay. Fine.                             25       A. Okay.
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     1       A. That's just what they reported            1        Q. My question is simply: Do you
     2   to me that what they were doing.                 2   agree with me that the formula in
     3       Q. I'm just trying to tie what you           3   Appendix E(3) that Walgreens used to report
     4   said in your report to this 2006 letter. Is      4   suspicious orders from 2007 to 2012 is not
     5   this -- this is the letter you were using to     5   the same as the customer grouping formula
     6   write this section of your report on the         6   Walgreens was using in 2006?
     7   customer grouping formula, correct?              7        A. Well, this statement just goes
     8       A. Yes. Yes, ma'am.                          8   to say that they used the same multiplier, so
     9       Q. Okay. You said in your report             9   the three multiplier is the same as the E(3)
    10   that Walgreens used this customer grouping      10   as it is in the area referenced in the prior
    11   formula to report suspicious orders until       11   time period.
    12   around 2007, correct?                           12        Q. The two formulas are not the
    13       A. Yes.                                     13   same, correct, sir?
    14       Q. Walgreens then changed its               14        A. The formulas are not, but the
    15   system for reporting suspicious orders after    15   multiplier is.
    16   receiving this 2006 letter from the DEA?        16        Q. Okay. That's all I'm trying to
    17       A. Yes, ma'am.                              17   get an understanding from you is whether the
    18       Q. In around 2007, you said in              18   customer grouping formula that Walgreens was
    19   your report: Walgreens modified its             19   using when it received the 2006 letter from
    20   reporting of suspicious orders to the DEA to    20   the DEA is the same or different from the
    21   use a version of the formula described in       21   formula it changed to use afterwards?
    22   Appendix E(3) to the Chemical Handler's         22        A. There's no customer grouping in
    23   Manual.                                         23   the subsequent years --
    24             Correct?                              24        Q. Thank you.
    25       A. That's what my report says,              25        A. -- starting in 2007.

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     1       Q.   You didn't do -- well, strike               1   statement.
     2   that.                                                2   BY MS. SWIFT:
     3             You don't say in your report               3       Q. You testified yesterday that
     4   that you or anyone else at the DEA ever told         4   you endorsed Flagging Method A, which you can
     5   Walgreens not to use the formula found in            5   see at the top of page 41 of your report.
     6   Appendix E(3) of the Chemical Handler's              6   Because it -- is that correct?
     7   Manual, correct, sir?                                7       A. I think that's an accurate
     8        A. Appendix E(3) was never                      8   statement. It was -- I endorsed it because
     9   discussed in my presence with Walgreens.             9   it was utilized by the Masters
    10        Q. The DEA's 2006 letter to                    10   Pharmaceutical.
    11   Walgreens doesn't say not to use the E(3)           11       Q. Is that the only reason you
    12   formula, correct?                                   12   endorsed Flagging Method A?
    13        A. I still stand by my previous                13       A. No, that wouldn't be the only
    14   statement. The E(3) appendix was never              14   reason, no, ma'am.
    15   discussed by me or anyone in my presence the        15       Q. Did any of the plaintiffs'
    16   whole time I was at Walgreens.                      16   lawyers instruct or suggest to you that you
    17        Q. And it's not mentioned in this              17   use Flagging Method A?
    18   letter either?                                      18       A. No.
    19        A. It is not mentioned in that                 19       Q. What other reasons did you
    20   letter.                                             20   endorse Flagging Method A?
    21        Q. All right. I'd like you to                  21       A. One, it was part of one of the
    22   turn to page 40 of your report, please. Is          22   investigations I conducted, so I was familiar
    23   that 40?                                            23   with it. I believe it was discussed at an
    24        A. I'm sorry.                                  24   administrative hearing with the DEA,
    25        Q. I believe you testified                     25   subsequently reviewed by the D.C. Court, and
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     1   yesterday that you did not review any of the         1   there was a ruling on it from the D.C. Court
     2   flagged orders from Dr. McCann's analysis; is        2   and also the one ruling that it was part of
     3   that correct?                                        3   this litigation, I think...
     4       A. I think my testimony in that                  4       Q. Discovery Ruling 12?
     5   area was any specific orders. That would be          5       A. Yes, Discovery Ruling 12. So I
     6   correct of what my testimony was, yes.               6   think it's had some scrutiny. I think it
     7       Q. You did not do any analysis to                7   would be the proper one. And that's...
     8   see whether any specific suspicious order            8       Q. What analysis, if any, did you
     9   caused the diversion of any specific pills           9   undertake to test each of the five flagging
    10   for nonmedical use, correct?                        10   methodologies and their ability to identify
    11       A. In regards to Dr. McCann's --                11   suspicious orders?
    12       Q. Correct.                                     12       A. Could you say that one more
    13       A. That would be a correct                      13   time, please?
    14   statement. I didn't do a specific order of a        14       Q. Sure.
    15   specific drug, if I understand your question        15             What analysis, if any, did you
    16   properly.                                           16   do to test the five flagging methodologies in
    17       Q. Well, you asked for a                        17   your report and their ability to identify
    18   clarification of whether I was speaking about       18   suspicious orders?
    19   Dr. McCann's analysis.                              19       A. I didn't personally do any
    20            You didn't do any analysis to              20   tests. I'm aware that they could have been
    21   see whether any specific suspicious order           21   done by Dr. McCann, but I didn't personally
    22   caused the diversion of any specific pills,         22   do them.
    23   correct?                                            23       Q. Do you know whether Dr. McCann
    24            MR. FULLER: Object to form.                24   conducted any analysis at all to test the
    25       A. I think that's an accurate                   25   five flagging methodologies and their ability
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     1   to identify suspicious orders?                   1       A. Sure. Yes, ma'am.
     2            MR. FULLER: Object to form.             2       Q. Flagging Methodology A flagged
     3       A. He had an extensive report.               3   95% of all Walgreens orders by dosage unit of
     4   I'm not sure on that. I believe he did, but      4   oxycodone and hydrocodone, correct, sir?
     5   I'm not sure.                                    5       A. Yes, ma'am.
     6   BY MS. SWIFT:                                    6       Q. Is it your professional opinion
     7       Q. Why do you believe Dr. McCann             7   to a reasonable degree of certainty that 95%
     8   did any analysis at all to test the five         8   of Walgreens orders should not have been
     9   flagging methodologies and their ability to      9   shipped?
    10   identify suspicious orders?                     10       A. Based on the conduct of
    11            MR. FULLER: Object to form.            11   Walgreens and the failure to do due diligence
    12       A. Well, I think that's what this           12   on suspicious orders, yes, ma'am.
    13   does.                                           13       Q. Is it your opinion to a
    14   BY MS. SWIFT:                                   14   reasonable degree of certainty that only 5%
    15       Q. You think that's what what               15   of orders from Walgreens stores should have
    16   does?                                           16   been shipped and available to fill
    17       A. I think the methodology of A             17   prescriptions for Walgreens patients?
    18   identifies suspicious orders based on that      18       A. Well, that would be the
    19   methodology, and then it provides them in       19   converse of this statement, but based on
    20   dosage units. So I think ultimately, for        20   their conduct -- I'll go back again, based on
    21   these dosage units to appear on this page,      21   their conduct and their failure to do
    22   there had to be flagged suspicious orders.      22   diligence after identification of suspicious
    23       Q. You're pointing to a page of             23   orders, the only conclusion I can draw is
    24   your report, not Dr. McCann's report,           24   that subsequent to that act, all of the
    25   correct, sir?                                   25   controlled substances were diverted.
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     1        A. Right. But -- yes. But for me            1        Q. So that's a yes, your opinion
     2   to see this --                                   2   is that only 5% of orders from Walgreens
     3             MR. FULLER: Form.                      3   stores should have been shipped and available
     4        A. -- I would have to know that             4   to fill prescriptions for Walgreens patients?
     5   this methodology had flagged suspicious          5             MR. FULLER: Object to form.
     6   orders because that's the only way the dosage    6        A. I really don't know because
     7   units could appear on this chart.                7   Walgreens didn't conduct the proper due
     8   BY MS. SWIFT:                                    8   diligence. But based on the methodology and
     9        Q. Did you read Dr. McCann's                9   how I applied it, that's the results of the
    10   report?                                         10   methodology.
    11        A. I did.                                  11   BY MS. SWIFT:
    12        Q. When did you read Dr. McCann's          12        Q. You don't know whether it's
    13   report?                                         13   true that only 5% of orders from Walgreens
    14        A. Sometime after he had submitted         14   stores should have been shipped and available
    15   it and reviewed his charts resulting from his   15   for prescriptions to be filled for Walgreens
    16   analysis.                                       16   patients?
    17        Q. Did you read Dr. McCann's               17        A. I guess you would draw that
    18   report before you put together this section     18   conclusion based on 95.3% based on the
    19   of your report that appears at page 41?         19   conduct of Walgreens, yes, ma'am.
    20        A. No.                                     20        Q. You would draw the
    21        Q. Flagging Methodology A -- I'm           21   conclusion --
    22   still at page 41 of your report. I'm going      22        A. I would draw the conclusion
    23   to focus on the rows of these tables that       23   based on --
    24   we've got here that relate to my client,        24        Q. Let me ask the question so the
    25   which is Walgreens, okay?                       25   record is clear.
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     1            You would draw the conclusion           1   methodology of two times. I don't recall --
     2   that only 5% of Walgreens orders should have     2   or I'm pretty confident that the two times
     3   been shipped so that prescriptions could be      3   wasn't used by any of the distributors
     4   filled for Walgreens patients?                   4   listed. I used the two times as just a
     5            MR. FULLER: Object to form,             5   stepdown from the three times to provide that
     6        asked and answered. You've asked it         6   for the -- for the Court.
     7        twice now or three times, probably.         7   BY MS. SWIFT:
     8        A. Same as my previous statement.           8        Q. Let me see if I understand what
     9   Based on Walgreens' conduct in regards to        9   you're saying.
    10   applying this methodology, that would be a      10            When you say throughout your
    11   correct statement, yes, ma'am.                  11   report you provided criticisms of each of the
    12   BY MS. SWIFT:                                   12   five flagging methodologies, do you mean in
    13        Q. You didn't do any analysis of           13   the separate sections about the defendants?
    14   how many people would not have gotten their     14        A. Yes, ma'am.
    15   medication if 95% of Walgreens orders had not   15        Q. And I take it you mean when you
    16   shipped, correct, sir?                          16   offered criticisms about whatever system each
    17        A. I did not.                              17   defendant was using, that's what you mean by
    18        Q. You didn't do any analysis of           18   criticizing these five flagging methodologies
    19   how many legitimate prescriptions would have    19   that are discussed at page 41 through 46?
    20   gone unfilled if 95% of Walgreens orders had    20        A. Well, yes, but I'd like to
    21   not been shipped, correct, sir?                 21   clarify "criticism." I think my opinion is
    22        A. I did not do that analysis, no,         22   steady throughout my report that using a
    23   ma'am.                                          23   three-time methodology or three-time
    24        Q. In your report, you don't offer         24   threshold as a trigger point for suspicious
    25   an opinion on the legitimacy of any of the      25   order is ineffective as part of a suspicious
                                              Page 477                                              Page 479
     1   other flagging methods you talk about,           1   order system.
     2   correct?                                         2       Q. You never told anybody that
     3       A. That's correct.                           3   when you were working as a diversion
     4       Q. You didn't offer any criticisms           4   investigator at the DEA, correct, sir?
     5   of any of the five flagging methods in your      5           MR. FULLER: Object to form.
     6   report, correct, sir?                            6   BY MS. SWIFT:
     7       A. Oh, I think I did.                        7       Q. You don't say you did in your
     8       Q. Where did you offer criticisms            8   report.
     9   of any of the five flagging methods in your      9           MR. FULLER: You can answer
    10   report?                                         10       based on your report.
    11       A. You're saying the                        11       A. Can I check something, one
    12   methodology --                                  12   second?
    13       Q. Correct.                                 13   BY MS. SWIFT:
    14       A. -- for example, the three                14       Q. If you can do it quickly.
    15   times?                                          15       A. I'll do it as quick as I can.
    16       Q. There are five methodologies --          16           (Document review.)
    17            MR. FULLER: Go ahead and               17       A. I'm concerned about the Touhy
    18       finish your answer, Raf.                    18   authorization, so I think I could answer that
    19            MS. SWIFT: Yes, I was                  19   question, but I think it would be something
    20       answering his question. There was no        20   that wouldn't be readily available, so I'm
    21       pending question.                           21   concerned about answering, so...
    22       A. Yes. Throughout my report, I             22   BY MS. SWIFT:
    23   think there's reviews of these methodologies,   23       Q. So if I understand you, sir,
    24   and I think I'm critical of each of the         24   you are refusing to answer the question
    25   methodologies, with the exception of            25   whether you ever told anyone, any
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     1   distributor, when you were working as a           1       A. Just the trigger of the
     2   diversion investigator -- strike the              2   six-month threshold, maximum monthly, just
     3   question. Hold on a second.                       3   the trigger that would identify the
     4         A. Can I speak to my counsel about          4   suspicious order, that was, I believe, the
     5   the --                                            5   question I answered. That methodology, not
     6         Q. No, that's okay. We can move             6   the subsequent failure to do due diligence
     7   on.                                               7   and the identification of orders that
     8         A. -- Touhy authorization --                8   resulted from that.
     9         Q. We can move on.                          9       Q. My question was whether it's
    10         A. -- that I have a question, with         10   your testimony that the Masters method, the
    11   him?                                             11   one that identified 95% of Walgreens orders
    12         Q. I don't have a lot of time, so          12   as suspicious, is the only one of your five
    13   I'll just withdraw the last partial question     13   flagging methods that you believe is suitable
    14   that I was just trying to ask --                 14   for identifying suspicious orders, yes or no,
    15         A. Okay.                                   15   please?
    16         Q. -- and we'll move on.                   16            MR. FULLER: Object to form,
    17             Yesterday I believe you                17       vague.
    18   testified that none of the five flagging         18       A. As a trigger mechanism or
    19   methods identified in your report are            19   threshold to establish that, an order as
    20   suitable for suspicious order monitoring         20   being potentially suspicious, I would answer
    21   systems.                                         21   yes to that question.
    22             Do you remember using the word         22   BY MS. SWIFT:
    23   "suitable"?                                      23       Q. You've referred a couple of
    24         A. I do. And I thought about that          24   times to this trigger mechanism, and I take
    25   testimony after I left yesterday, and I'd        25   from your testimony that you're referring to
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     1   like to maybe correct it or make a statement      1   the aspect of your methodology whereby after
     2   in regards to it.                                 2   the first order is flagged as suspicious, it
     3       Q. Well, let me just ask you.                 3   triggers every subsequent order to be flagged
     4   What did you mean when you said none of the       4   as suspicious; is that correct, sir?
     5   five flagging methods that you identify in        5             MR. FULLER: Form, misstates
     6   your report are suitable for suspicious order     6       his report.
     7   monitoring systems?                               7       A. No.
     8       A. Well, specifically how they                8   BY MS. SWIFT:
     9   would identify a suspicious order, two times,     9       Q. What do you mean by a trigger
    10   three times, the 8,000 and the pickers and       10   mechanism?
    11   packers program or the -- I think I don't use    11       A. A threshold event. Every
    12   that particular name -- the one -- the one       12   suspicious order system has to identify an
    13   that I think that statement would indicate       13   order, so that would be -- and I'm sorry if
    14   that I would say that the Masters was not        14   that terminology is unfamiliar to you. That
    15   suitable, and I -- I would disagree.             15   would be a trigger event or a threshold event
    16             If I made that statement and           16   or something that stops the distribution of
    17   said that one was, I'd like to correct that      17   an order and requires the registrant to take
    18   and say that I -- this would be a suitable --    18   some action; the unusual size, the unusual
    19   potentially suitable suspicious order            19   frequency or deviating from a --
    20   program.                                         20   substantially from a pattern.
    21       Q. The Masters method that                   21       Q. Besides the five flagging
    22   identified 95% of Walgreens orders as            22   methods that you identify in your report,
    23   suspicious, that one is suitable? Is that        23   there may be other methods of identifying
    24   your testimony, sir? But none of the other       24   suspicious orders that registrants use in the
    25   ones?                                            25   real world, correct, sir?
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     1       A. Yes, there could be.                      1       A. Yes.
     2       Q. And those other methods that              2       Q. You show aggregated numbers for
     3   are not identified in your report might be       3   each defendant for oxycodone and hydrocodone,
     4   perfectly sufficient for identifying             4   correct?
     5   suspicious orders, correct, sir?                 5       A. Yes, I do.
     6       A. I hope for the sake of                    6       Q. All right. I'm going to focus
     7   diversion they are perfect and they do exist,    7   on Walgreens. You provide one number for
     8   but yes, that's a possibility.                   8   flagged orders of oxycodone into Cuyahoga
     9       Q. And, in fact, you testified               9   County, right?
    10   yesterday, I believe, that it's up to the       10            MR. FULLER: Are you looking at
    11   registrant to design a system that makes        11       the first methodology?
    12   sense for that registrant's business,           12            MS. SWIFT: Yeah, the
    13   correct, sir?                                   13       40 million and some odd.
    14       A. That's correct.                          14       A. Yes, ma'am.
    15       Q. When you were at the DEA, you            15   BY MS. SWIFT:
    16   never advised a registrant to follow any of     16       Q. Then you do the same thing for
    17   the five flagging methods that are addressed    17   Summit County below, correct, sir?
    18   in your report, correct, sir?                   18       A. Yes, ma'am.
    19            MR. FULLER: Same instruction           19       Q. You provide one number for
    20       on Touhy.                                   20   Walgreens shipments of oxycodone into Summit,
    21            MS. SWIFT: Are you going to            21   right?
    22       follow your counsel's instruction not       22       A. Yes, ma'am.
    23       to answer that question, sir?               23       Q. You provide one number for
    24            THE WITNESS: I'd like to think         24   Walgreens shipments of hydrocodone into
    25       about it first. Is that okay?               25   Summit, correct?
                                              Page 485                                            Page 487
     1             MS. SWIFT: Depends on how long         1       A. Yes, ma'am.
     2       it takes.                                    2       Q. And then you do the same thing
     3             THE WITNESS: Yeah, I think             3   for all five of the flagging methods,
     4       I'll use the Touhy letter and not            4   correct?
     5       answer that question.                        5       A. That's correct.
     6   BY MS. SWIFT:                                    6       Q. You don't break down the
     7       Q. Did you analyze any other                 7   numbers by any individual pharmacy in your
     8   flagging methods for identifying suspicious      8   report, correct?
     9   orders besides the five that are discussed in    9       A. I do not.
    10   your report?                                    10       Q. You did not perform any
    11       A. No, ma'am, I didn't provide any          11   analysis to show how many orders were flagged
    12   other methodologies to Mr. McCann if that's     12   at any individual Walgreens pharmacy,
    13   the question.                                   13   correct?
    14       Q. Turning back to page 41 of your          14       A. I do not show that in my
    15   report, we've got these tables showing a        15   report, but I know that that has to exist
    16   number and a percentage of flagged orders of    16   because it's obviously part of the analysis
    17   both oxycodone and hydrocodone by dosage        17   done by Dr. McCann.
    18   unit, correct, sir?                             18       Q. Have you seen it?
    19       A. Yes, ma'am.                              19       A. I have not.
    20       Q. These tables are broken out by           20       Q. Do you know for a fact whether
    21   county, correct, sir?                           21   McCann did any flagging analysis on a
    22       A. Yes, they are.                           22   pharmacy-by-pharmacy basis?
    23       Q. These tables are further broken          23       A. So I'd like to answer that by
    24   out for five of the defendants in this case,    24   saying -- when you say I know by a fact, I
    25   right?                                          25   would know through the analysis of the ARCOS

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     1   data that it would have to indicate specific     1   anything that would indicate that that had
     2   orders which would identify those pharmacies.    2   occurred.
     3            Now, whether he looked at them          3       Q. Did you consider whether any of
     4   specifically to that pharmacy, but based on      4   the five flagging methods that you talk about
     5   your question, just the analysis of the ARCOS    5   could flag an order for a store before the
     6   data, that -- that actually would occur          6   store even opened for business, just based on
     7   because each order would be specific to a        7   the stocking of the store's shelves? Do you
     8   pharmacy.                                        8   know whether that happened?
     9            He didn't -- if I understand            9       A. I'm not aware that that had
    10   your question, he didn't look at them in        10   happened.
    11   terms of each specific pharmacy, but the        11       Q. Did you read Dr. McCann's
    12   nature of the analysis, it is by the pharmacy   12   testimony from this past Friday that using at
    13   by the orders.                                  13   least some of these five flagging methods, an
    14       Q. You did not perform an analysis          14   order to stock a new store's shelves could be
    15   to see whether Walgreens performed diligence    15   flagged?
    16   on any of the actual orders that flagged on     16       A. I don't recall reading that in
    17   any of your five methodologies in               17   his testimony, no, ma'am.
    18   Mr. McCann's analysis, correct?                 18       Q. Did you read his testimony yet?
    19       A. Well, my investigation and               19   I know it was just the other day.
    20   opinion of Walgreens does state that in         20       A. I've read so many. I don't
    21   regards to the due diligence topic.             21   believe so.
    22       Q. Listen to my question. That's            22       Q. I will represent to you, and
    23   not what I'm asking about.                      23   you can check the transcript, that Dr. McCann
    24       A. Okay.                                    24   testified that for low-volume stores, the
    25       Q. We'll get to the stuff you say           25   store might never have another order as big
                                              Page 489                                             Page 491
     1   in your report about the due diligence that      1   as the first order to stock the shelves
     2   Walgreens did.                                   2   again; but under all of the flagging methods,
     3           You didn't perform an analysis           3   once the first order is flagged, every single
     4   to see whether Walgreens performed diligence     4   order after that is also flagged, correct,
     5   on any of the specific orders that flagged on    5   sir?
     6   any of these five methodologies, correct,        6             MR. FULLER: Form, compound.
     7   sir?                                             7             MS. SWIFT: Do you understand
     8        A. I'm not aware of any due                 8        the question?
     9   diligence for those orders, that's correct.      9             THE WITNESS: Yeah, I
    10        Q. That's not what I asked.                10        understand the question.
    11        A. I didn't -- I didn't                    11        A. And I think that possible
    12   specifically go to McCann's report and look     12   scenario exists, but the issue would be that
    13   at each order of Dr. McCann's and try to find   13   if that was to occur and it would trigger a
    14   due diligence. I just looked at the scope of    14   suspicious order, there would be a sufficient
    15   the due diligence by Walgreens.                 15   due diligence to dispel that suspicion. And
    16        Q. You didn't go to Dr. McCann's           16   if I didn't see that, it couldn't be taken
    17   report and look at any order of -- that         17   into account by the methodology.
    18   flagged on any of the analyses.                 18   BY MS. SWIFT:
    19        A. That's a correct statement.             19        Q. If it your opinion that due
    20        Q. For any of the five flagging            20   diligence is required on orders that are
    21   methods that you talk about, did you consider   21   needed to stock a new Walgreens store's
    22   the impact of stocking a new store's shelves?   22   shelves?
    23        A. I did not take that specific            23        A. Only if it triggers a
    24   incident into consideration, but in my review   24   suspicious order.
    25   of due diligence records, I didn't find         25        Q. Now, this is going to
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     1   admittedly be a hypothetical question, but       1   correct, sir?
     2   I'd like you to assume with me -- we're going    2       A. I did not, but I also don't
     3   to talk about a new Walgreens store.             3   recall in looking -- finding any due
     4            Assume with me, please, sir,            4   diligence that would indicate that that
     5   that Walgreens had made sure the new store       5   occurred.
     6   was registered with the DEA and Walgreens        6             Is that a hypothetical question
     7   understood the customer base of the new store    7   or --
     8   because Walgreens' real estate department had    8       Q. No. Maybe you didn't
     9   picked the location, and Walgreens' inventory    9   understand my question.
    10   management system had figured out that the      10             I just want to know whether you
    11   new store needed 8500 dosage units of oxy 30    11   did any analysis of Dr. McCann's results to
    12   to stock its shelves, and that's how many       12   see how often a store's very first order to
    13   dosage units the store ordered to stock its     13   stock its shelves flagged on one of the five
    14   shelves.                                        14   flagging methods?
    15            Are you with me?                       15       A. It would be impossible to know
    16        A. I'm following your scenario so          16   that by just looking at the ARCOS data.
    17   far.                                            17       Q. It's your testimony that it
    18        Q. In that case, would it be               18   would be impossible to figure out how often a
    19   appropriate to flag that first order under      19   store's first order to stock its shelves
    20   any of the five flagging methods that you       20   flagged on one of the five flagging methods?
    21   have discussed in your report?                  21       A. I believe your question was a
    22        A. If the order would have                 22   new store.
    23   triggered the methodology, then it would be     23       Q. Fair. Let me reask it.
    24   appropriate to be flagged.                      24             You didn't do any analysis of
    25        Q. And in that case, if that first         25   Dr. McCann's results to see how often the
                                              Page 493                                             Page 495
     1   order was flagged when the store was stocking    1   first order placed by a store that appears in
     2   its shelves, is it your opinion that all of      2   the ARCOS data flagged under one of the five
     3   the store's later orders should also be          3   methodologies, correct?
     4   flagged after the first order, even if they      4        A. You have to ask that one more
     5   never exceeded 8,000 units again or any --       5   time.
     6   they never flagged on any methodology ever       6        Q. You didn't do any analysis of
     7   again?                                           7   Dr. McCann's results to see how often a
     8        A. Well, the hypothetical that you          8   store's first order that appears in the ARCOS
     9   provided to me would be one instance, and the    9   database flagged on one of the five flagging
    10   methodology and the resulting all orders for    10   methods?
    11   lack of due diligence, that's based on the      11        A. Well, I'm aware under the
    12   systematic failure by the registrants. So       12   flagging mechanisms, a first order wouldn't
    13   just one incident, I don't believe would        13   trigger Methodology A, Methodology B,
    14   change the numbers or the methodology.          14   Methodology C. If it was over 8,000, it
    15             For example, as I discussed           15   would trigger Methodology D. And I'd have to
    16   yesterday, there's a possibility, I guess,      16   go back to the maximum daily dosage units,
    17   that there was one due diligence                17   but I don't think it would trigger an order
    18   investigation that might be suitable, but if    18   there. Because a first order hasn't
    19   it was a systematic failure to do due           19   established the 6- or 12-month average.
    20   diligence, then, no, it would not change        20             So I believe under those
    21   these numbers.                                  21   methodologies, it would not trigger under
    22        Q. You did not do any analysis of          22   Dr. McCann's analysis.
    23   Dr. McCann's charts to see how often a          23        Q. You did not do any analysis of
    24   store's first order to stock its shelves        24   Dr. McCann's results to see how often a
    25   flagged under one of the flagging methods,      25   store's first order that appears in the ARCOS

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     1   database flagged under one of the flagging       1   an economist or I've never talked to anyone
     2   methods, correct? Not whether it's possible,     2   with the purpose of giving these things to an
     3   just how often that happened?                    3   economist. So I don't want to imply my
     4       A. No, I did not.                            4   testimony is I've never talked to an
     5       Q. Okay.                                     5   economist. I'm not aware of it, but I'm just
     6       A. Because as my previous answer,            6   kind of protecting the fact that if I did, I
     7   under those methodologies, it wouldn't           7   wasn't even aware of it.
     8   matter.                                          8        Q. You never explained the data in
     9       Q. Let's go to page 46 of your               9   your report to anyone for the purpose of them
    10   report, please, sir. You say on page 46 that    10   taking that data and using it to calculate
    11   you only presented data to an economist for     11   damages in this litigation?
    12   Flagging Method A, the Masters method,          12        A. I have never done that.
    13   correct?                                        13        Q. You testified yesterday that
    14            MR. FULLER: Where are you              14   you provided the five flagging methods
    15       reading from, Counsel?                      15   discussed in your report -- you provided
    16       A. I don't think I said that. I             16   those to plaintiffs' counsel by phone I
    17   think this statement is in relation to the      17   believe, you said to -- provided them to
    18   correction of my testimony that this is the     18   Mr. Farrell.
    19   one system that I provide an opinion on that    19             Do you remember that testimony?
    20   has a reasonable degree of certainty that...    20        A. I think that question was the
    21   BY MS. SWIFT:                                   21   first time that I talked to somebody about
    22       Q. Did you provide any of the data          22   it. So --
    23   that appears in your report to an economist?    23        Q. I'm trying to get at how the --
    24            MR. FULLER: Object to form.            24             MR. FULLER: Object to the form
    25       A. I don't recall doing that. I             25        of the last question. I'm sorry.
                                             Page 497                                              Page 499
     1   do not believe so, no.                           1   BY MS. SWIFT:
     2   BY MS. SWIFT:                                    2       Q. I'm trying to get at how the
     3        Q. Do you have any understanding            3   five flagging methods made their way from you
     4   about whether any of the data that appears in    4   to Dr. McCann.
     5   your report was going to be passed on by the     5            Do you have any idea how that
     6   plaintiffs' lawyers to some economist to make    6   happened?
     7   use of that data?                                7       A. There was a couple of different
     8        A. I believe there's a statement            8   discussions with the plaintiff attorneys.
     9   of that in my report somewhere, that it could    9   I'm not sure who relayed it to Dr. McCann. I
    10   be used.                                        10   discussed it with Paul Farrell, Mr. Farrell a
    11        Q. Do you know whether that ever           11   couple of times; also with Mr. Fuller. I'm
    12   happened?                                       12   not sure who relayed it to him, but I
    13        A. I don't believe it's happened.          13   discussed the methodologies and how I wanted
    14   If it has happened, no one's advised me.        14   them applied.
    15        Q. Have you ever had a                     15       Q. All of those conversations were
    16   conversation with any economist working for     16   verbal, is that correct, not in writing?
    17   the plaintiffs' lawyers about the data that     17       A. There was nothing in writing,
    18   appears in your report?                         18   and they were verbal, either in person or on
    19        A. No, ma'am.                              19   a telephone.
    20        Q. You testified --                        20       Q. I'm going to hand you what I'll
    21        A. Can I just correct that a               21   mark as Exhibit 20.
    22   little bit?                                     22            MS. SWIFT: And, Counsel, I
    23             So in the course of meetings,         23       apologize, I only have one extra copy.
    24   I've talked to a lot of people. No one ever     24       Blame the hotel. I'm not even going
    25   I've talked to has identified themselves as     25       to have a copy for myself.

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     1            (Whereupon, Deposition Exhibit           1       Q. Okay. All right. Turning back
     2       Rafalski-20, Plaintiffs' Responses to         2   to your report -- you can set that aside,
     3       the Amended and Clarified Discovery           3   we're done with it -- page 42, I'd like to
     4       Ruling 12 Supplemental Interrogatory          4   take a look at, please.
     5       Issued to Plaintiffs, was marked for          5            MR. FULLER: I'm sorry,
     6       identification.)                              6       Counsel, what page?
     7   BY MS. SWIFT:                                     7            MS. SWIFT: 42.
     8       Q. Do you have that in front of               8   BY MS. SWIFT:
     9   you, sir?                                         9       Q. If you had picked Flagging
    10       A. I do.                                     10   Method B that's identified at the top of
    11            THE WITNESS: Trade you.                 11   page 42, instead of Method A, the Masters
    12       Sorry.                                       12   method, what data would you have presented
    13   BY MS. SWIFT:                                    13   for Walgreens?
    14       Q. Well, first of all, have you              14            MR. FULLER: Object to form.
    15   ever seen the document that I've marked as       15       A. I don't understand that
    16   Exhibit 20?                                      16   question.
    17       A. I have, yes, ma'am.                       17   BY MS. SWIFT:
    18       Q. The document I marked as                  18       Q. Fair enough.
    19   Exhibit 20 is a set of interrogatory             19       A. I think I did pick
    20   responses served by the plaintiffs on            20   Methodology B, but so I don't understand.
    21   January 25th, 2019, and if you go to -- I        21       Q. Well, you said you endorsed
    22   believe it's the sixth page -- there's a list    22   Method A and that's the only method you
    23   of flagging methodologies prepared at the        23   endorsed, correct, because of the Masters
    24   very end of the written interrogatory            24   case and some other reasons?
    25   response. Keep going.                            25       A. Well, I think I make that
                                               Page 501                                             Page 503
     1           MR. FULLER: It's not page                 1   statement at the conclusion that we had
     2       numbered.                                     2   discussed --
     3           MS. SWIFT: I noticed that,                3       Q. Right.
     4       Mike.                                         4       A. -- in regards to the Masters.
     5           MR. FULLER: We'll blame                   5       Q. Right. On page 46 you endorse
     6       Mr. Moody or Mr. Farrell.                     6   the Masters method, Method A, correct, sir?
     7   BY MS. SWIFT:                                     7       A. Well, I don't know that I
     8       Q. Do you have a list in front of             8   endorse the system. I say that applying the
     9   you, Mr. Rafalski, that lists five flagging       9   tests set forth in the Masters provides a
    10   methodologies in the plaintiffs'                 10   reasonable estimate and initial trigger. I
    11   interrogatory response from January 25th?        11   say there's a reasonable. I don't know that
    12       A. I do.                                     12   I would say that it's an endorsement. I say
    13       Q. Are these your five flagging              13   that because in my -- extensively in my
    14   methodologies?                                   14   training and in publications, DEA doesn't
    15       A. Yes, ma'am.                               15   endorse suspicious order systems.
    16       Q. Which one is based on the                 16       Q. You say in your report that you
    17   Masters case?                                    17   are selecting Methodology A because of your
    18       A. 4.                                        18   understanding that this litigation will be
    19       Q. Am I correct based on your                19   advanced by selecting a methodology
    20   testimony today and yesterday that you're not    20   quantifying a volume of pills that entered
    21   planning to come to trial and offer testimony    21   CT1 jurisdictions, that's Summit and Cuyahoga
    22   about any of the flagging methods except the     22   County, unlawfully and providing this data to
    23   Masters method?                                  23   an economist to measure the harm caused by
    24       A. No, I don't think that's my               24   this volume.
    25   testimony.                                       25            Correct, sir?

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     1       A. Yes.                                     1       Q. Understood.
     2       Q. If you had picked Method B               2       A. Okay. All right.
     3   instead of Method A, the data you would have    3       Q. You didn't pick Method B. You
     4   presented would have been very different,       4   picked Method A, that it flagged 95% of
     5   correct, sir?                                   5   Walgreens orders.
     6       A. I wouldn't have picked that              6       A. I didn't pick it because of the
     7   method because it wouldn't be a reasonable      7   percentage --
     8   degree -- or it wouldn't have been a            8       Q. Okay.
     9   suspicious order system that I would have       9       A. -- the percentage of how many
    10   ever approved or not made comment on.          10   they flagged was not the factor that I used
    11            My opinion is that a fixed two        11   to pick that. It was because of the review
    12   times a 12-month average would not be a        12   by the D.C. Court and my familiarity with the
    13   methodology that I would ever say to move      13   case, and the fact that I would see that that
    14   forward to be considered by the Court.         14   could be a viable suspicious order trigger.
    15       Q. I'm going to ask you with               15       Q. If you had picked Method C,
    16   respect, sir, to please listen to my           16   which you can see on page 43 of your report,
    17   questions.                                     17   you would have identified just 1.5% of
    18       A. Okay.                                   18   Walgreens orders for oxycodone in Cuyahoga
    19       Q. You picked --                           19   County as suspicious, correct, sir?
    20       A. Can I just --                           20       A. I do agree that that's the
    21       Q. Go ahead.                               21   number that it would have identified, but I
    22       A. It would be different results.          22   also would like to state it would be expected
    23   I would -- if that's the answer you want,      23   that it would decrease because that's -- as
    24   then the methodology of the A -- obviously,    24   my opinion states, is ineffective three
    25   it would be different results.                 25   times --
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     1       Q. Method A, the Masters method,            1        Q. You didn't --
     2   identified 95% of Walgreens orders for          2        A. -- trigger.
     3   oxycodone and hydrocodone as suspicious,        3        Q. You can't vouch for the
     4   correct, sir?                                   4   accuracy of any of the numbers that appear in
     5       A. Yes, that's what the chart               5   these tables at pages 41 to 45 of your
     6   says.                                           6   report, correct, sir?
     7       Q. If you had picked Method B,              7        A. Mr. McCann would have to
     8   that method identified just 49% of Walgreens    8   testify to the accuracy. He did the
     9   orders for oxycodone into Cuyahoga County as    9   analysis.
    10   suspicious, correct, sir?                      10        Q. You just relied on what
    11       A. That's what the information             11   Mr. McCann provided, correct, sir?
    12   says in the analysis.                          12        A. Yes, I did.
    13       Q. The number is different for             13        Q. You were -- strike that.
    14   hydrocodone. If you had picked Method B,       14            You don't have an opinion about
    15   that method identified 23% -- 23.7% of         15   whether any particular order that you
    16   Walgreens hydrocodone orders as suspicious,    16   identified or that Dr. McCann identified as
    17   correct, sir?                                  17   suspicious was diverted to an illicit
    18       A. Yes. But again, I'm going               18   channel, correct, sir?
    19   to restate. I would not have picked -- I       19        A. Well, I think based on the
    20   mean, I'm not going to disagree that the       20   methodologies and the lack of due diligence,
    21   figures are different, but I would not have    21   I think my -- these say that those were
    22   picked that.                                   22   diverted.
    23       Q. I get it.                               23        Q. My question was a little bit
    24       A. But if I would have picked it,          24   different.
    25   they would be different.                       25        A. Okay.
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     1        Q. You don't have an opinion about          1        A. Based on my experience in
     2   whether any particular order -- you didn't       2   having discussions with pharmacists, I
     3   look at any particular order to see whether      3   believe its possible for a pharmacist to
     4   it was diverted to an illicit channel?           4   refuse to fill a prescription.
     5        A. I did not --                             5        Q. You don't offer any opinions in
     6        Q. Okay.                                    6   your report about a pharmacist's professional
     7        A. -- analyze all the orders and            7   obligations, correct, sir?
     8   try to find one or locate one that was           8        A. That's correct.
     9   diverted.                                        9        Q. You are not a pharmacist?
    10        Q. You didn't analyze any of the           10        A. I'm not a pharmacist.
    11   orders, correct, sir?                           11        Q. Have you ever worked at a
    12        A. That's correct.                         12   pharmacy?
    13        Q. You have no opinion about               13        A. I have not.
    14   whether any particular order that was flagged   14        Q. Turn to page 114, please. This
    15   as suspicious led to someone's addiction,       15   is the start of the section of your report on
    16   overdose or death, correct, sir?                16   Walgreens, correct?
    17        A. As of today, I have no opinion          17        A. Okay. Yes.
    18   on that matter.                                 18        Q. Do you see that table about
    19        Q. Do you plan on coming up with           19   halfway down the page?
    20   that opinion at some point after today?         20        A. Yes.
    21        A. I can't rule that out if I'm            21        Q. That table shows your
    22   asked to look at that or I'm provided some      22   understanding of the overall volume of
    23   information I could review that would -- that   23   shipments of oxycodone and hydrocodone from
    24   would indicate that. So I can't rule out        24   Walgreens distribution centers to Walgreens
    25   that that would occur.                          25   pharmacies, correct?
                                             Page 509                                              Page 511
     1        Q. If a prescription was                    1       A. Yes, it does.
     2   legitimate, the pharmacist was obligated to      2       Q. Do you see footnotes 489 and
     3   fill it, correct, sir?                           3   490?
     4              MR. FULLER: Form.                     4       A. Yes, I do.
     5        A. I don't think the DEA speaks to          5       Q. You cite in those footnotes to
     6   that, whether they're obligated to fill a        6   Dr. McCann's Appendix 10 for Walgreens'
     7   prescription.                                    7   volume numbers, correct?
     8   BY MS. SWIFT:                                    8       A. Yes.
     9        Q. Do you know one way or the               9       Q. I'm going to hand you what I'll
    10   other whether --                                10   mark as Exhibit 21.
    11        A. If the DEA speaks to that               11            (Whereupon, Deposition Exhibit
    12   topic?                                          12       Rafalski-21, Excerpt from McCann
    13        Q. No, sorry.                              13       Appendix 10, was marked for
    14              Do you know whether pharmacists      14       identification.)
    15   are obligated by their professional             15   BY MS. SWIFT:
    16   responsibilities to fill prescriptions that     16       Q. And I've put a Post-it on the
    17   they have determined are legitimate? Maybe      17   front of the exhibit version of this that
    18   you don't know one way or the other.            18   says what it is. It's an excerpt of McCann's
    19        A. Let me think. I don't know              19   Appendix 10, because his appendices are
    20   that, the answer to that question.              20   giant.
    21        Q. All right. Turn, if you would,          21       A. They are.
    22   please, to page 114 of your report.             22       Q. What we did was we pulled out
    23        A. Can I qualify my last answer,           23   the pages that relate to Walgreens. Okay.
    24   quickly?                                        24            You cite in your report to
    25        Q. Sure.                                   25   pages 226 of Appendix 10 and page 856 of
    Golkow Litigation Services                                               Page 26 (508 - 511)
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                                              Page 512                                             Page 514
     1   Appendix 10, correct?                            1   2018, correct?
     2       A. Yes, I do.                                2       A. Yes.
     3       Q. And you can see the first page            3       Q. And it's a table that shows
     4   of what I just handed you is page 226 of         4   numbers broken out by drug and by
     5   1260. Is that the page that you were citing      5   transaction, dosage units, MME, and base
     6   in footnote 489?                                 6   weight, correct?
     7       A. Yes.                                      7       A. Yes.
     8       Q. And then if you'll turn to                8       Q. After the table on page 1 of
     9   page 46 of what I just handed you, can you       9   Appendix 10, there's a series of bar graphs
    10   confirm for me that that is page 856 that you   10   showing, in the aggregate, Walgreens
    11   cited in your report?                           11   shipments of oxy and hydro to its pharmacies
    12       A. Page 46. You mean page -- I'm            12   in the aggregate, correct?
    13   sorry, page 856?                                13       A. Yes, ma'am.
    14       Q. I'm sorry. To make this                  14       Q. None of these charts shows any
    15   easier -- this was the theory, anyway -- we     15   data for any individual Walgreens pharmacy,
    16   added page numbers at the bottom right.         16   correct?
    17       A. Okay.                                    17            MR. FULLER: Object to form.
    18       Q. So turn to page 46, and it's             18       A. That's an accurate statement,
    19   double sided.                                   19   but they're all built upon individual orders.
    20       A. Oh, all right. I was confused            20   BY MS. SWIFT:
    21   when you said -- I was looking for the...       21       Q. I understand.
    22   okay.                                           22       A. Okay.
    23       Q. Is page 46 also page 856 of              23       Q. I'm just saying, when you're
    24   1260?                                           24   flipping through Dr. McCann's charts that
    25       A. Yes, ma'am.                              25   display the results of his flagging
                                              Page 513                                             Page 515
     1       Q. Is that the page 856 that you             1   methodologies, you can't tell anything about
     2   cite in your report at page 114?                 2   any individual pharmacy, correct?
     3       A. Yes, ma'am.                               3       A. I cannot by looking at these
     4       Q. Okay. This Appendix 10 from               4   charts.
     5   McCann's report is what you relied on to         5       Q. Do you know how many Walgreens
     6   determine total volume of oxycodone and          6   stores there are in Cuyahoga County?
     7   hydrocodone that Walgreens shipped into          7       A. I do not.
     8   Cuyahoga and Summit Counties; is that right?     8       Q. How about Summit County?
     9       A. Yes, ma'am.                               9       A. I do not.
    10       Q. You only talk about oxycodone            10       Q. Do you know anything about the
    11   and hydrocodone in your report, correct?        11   geographic locations of any of Walgreens'
    12       A. Yes, ma'am.                              12   pharmacies in Summit or Cuyahoga County,
    13       Q. Am I right that you don't have           13   other than the fact that they're in those
    14   any opinions about any other opioid pain        14   counties?
    15   medications besides oxy and hydro?              15       A. It doesn't appear in my
    16       A. As of today I do not because I           16   opinion, but during my review of data, I did
    17   was not requested to do any analysis on those   17   at one point take a look by just using the
    18   other drugs.                                    18   Internet, Googling and looking at some of the
    19       Q. After -- turn back to page 1 of          19   locations, but I didn't formulate a report on
    20   Exhibit 21. The page 1 of Exhibit 21 is a       20   that.
    21   table that shows overall numbers, Total         21            So I won't say that I never did
    22   Shipments to Cuyahoga identified by             22   that, but I don't have any records or
    23   Methodology, Common Sense Method, Maximum       23   documents that would record exactly the
    24   Monthly Trailing Six-Month Pharmacy Specific    24   distances and the locations.
    25   Threshold, Walgreens to All Buyers, 1996 to     25       Q. You also didn't include in your
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                                              Page 516                                                    Page 518
     1   report anything about the specific customer      1   Walgreens depositions where Walgreens
     2   base for any individual Walgreens pharmacy,      2   witnesses talked about the kind of due
     3   correct, sir?                                    3   diligence that had been done?
     4        A. I did not.                               4        A. I read depositions or specific
     5        Q. Do you know how many of the              5   parts of depositions relating to my report.
     6   Walgreens pharmacies in Cuyahoga and Summit      6   I -- you know, my training and experience has
     7   County are on corner lots?                       7   said that if it's not written down, it
     8        A. I do not.                                8   doesn't exist. It needs to be documented.
     9        Q. Do you know how many of the              9            So how I would look at that
    10   Walgreens pharmacy in Summit and Cuyahoga       10   kind of due diligence, if it was not a
    11   Counties are freestanding locations with        11   recorded due diligence and there wasn't a
    12   their own dedicated parking and a               12   historical record, and it's not available for
    13   drive-through window?                           13   future review for other incidences, I
    14        A. I do not.                               14   wouldn't consider -- I mean, I'm not going to
    15        Q. Do you know how much oxycodone          15   deny that it would have occurred or would not
    16   or hydrocodone Walgreens distribution centers   16   have occurred, but it's really not due
    17   shipped to any one of those Walgreens           17   diligence if it's not recorded in a due
    18   pharmacies?                                     18   diligence file.
    19        A. I do not. I had not done that           19        Q. Well, there's a couple of
    20   analysis up to today.                           20   things going on in that answer.
    21        Q. You can't tell any of that from         21        A. Sure.
    22   the charts that are in Appendix 10, correct,    22        Q. I take from your testimony that
    23   sir?                                            23   you are assuming, if Walgreens no longer
    24        A. That's correct.                         24   retains a document today, that that means
    25        Q. All right. You can set that             25   that document never existed, correct?
                                              Page 517                                                      Page 519
     1   one aside.                                       1       A. In my experience as a diversion
     2            Turn, if you would, please,             2   investigator, in conducting an investigation
     3   sir, to page 117 of your report. This is a       3   or forming an opinion, yes, it doesn't exist.
     4   section within the Walgreens section about       4       Q. Are you basing your opinion
     5   the due diligence that you believe Walgreens     5   that Walgreens did limited due diligence on
     6   conducted, correct?                              6   the documents cited in your report at
     7        A. Yes, ma'am.                              7   footnotes 499 and 500?
     8        Q. Now, as I understand it, it's            8            MR. FULLER: Object to form.
     9   your opinion that because you only saw a         9       A. I believe I also cite 501, but
    10   limited number of e-mails about due diligence   10   yes, ma'am.
    11   that Walgreens performed 10, 12, 13 years       11   BY MS. SWIFT:
    12   ago, that that means Walgreens performed no     12       Q. Is that it, though, in terms of
    13   other due diligence; is that correct?           13   the support you have for your opinion that
    14        A. Not that was brought to my              14   Walgreens performed limited due diligence is
    15   attention in trying to formulate my opinion.    15   based on the documents cited in notes 499,
    16        Q. And in formulating your                 16   500 and 501?
    17   opinion, you determined that Walgreens had      17       A. Yeah, and the fact that they
    18   only conducted limited due diligence because    18   didn't produce any prior to 2011, yes, ma'am.
    19   you only saw documentation of limited due       19       Q. I'll hand you one of those
    20   diligence, correct?                             20   documents that we'll mark as Exhibit 22.
    21        A. That's the only basis I could           21            (Whereupon, Deposition Exhibit
    22   use to form my opinion.                         22       Rafalski-22, E-mail(s),
    23        Q. You based your -- well, let me          23       WAGFLDEA00000459 - WAGFLDEA00000460,
    24   ask you this.                                   24       was marked for identification.)
    25            Did you read any of the                25            ///

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                                             Page 520                                              Page 522
     1   BY MS. SWIFT:                                    1   the Marion County Sheriff's Office here, as
     2       Q. All right. I've handed you a              2   well as the Broward County Sheriff's Office,
     3   July 8th, 2010 e-mail from -- the one I want     3   the DEA, and to be quite honest, no one
     4   to focus on is from Angela Parlato at            4   really seems to take my reports that
     5   Walgreens.                                       5   seriously, except for this last week when the
     6            Do you see that?                        6   fake Rx man was arrested. They promise to
     7       A. To Angela Parlato, yes, ma'am.            7   come and interview me and look at the data I
     8       Q. And this is WAGFLDEA00000459,             8   have collected, but thus far, no follow-up.
     9   which you have cited at note 499 of your         9            The bottom line is I want to
    10   report, correct, sir?                           10   make sure I'm covering myself so no one
    11       A. Yes.                                     11   thinks I or Brandon are doing anything
    12       Q. You can see from Ms. Parlato's           12   unethical or illegal.
    13   signature line that she was a Pharm.D., a       13            Did I read all that correctly?
    14   registered pharmacist --                        14        A. You did.
    15       A. Yes.                                     15        Q. The pharmacist here is telling
    16       Q. -- and pharmacy manager,                 16   her supervisor that she's checking
    17   correct, sir?                                   17   prescriptions that have red flags. Would you
    18       A. Yes.                                     18   agree with that?
    19       Q. You see that she -- it says              19        A. I do.
    20   that she's the pharmacy manager at the          20        Q. She says that she's only
    21   bottom? It's at the bottom of the back page.    21   filling prescriptions for patients who
    22       A. It does say that on the back             22   produce a driver's license matching the name
    23   page.                                           23   on the prescription?
    24       Q. She's e-mailing a pharmacy               24        A. Yes, ma'am.
    25   supervisor in Orlando, Florida, correct, sir?   25        Q. She says she's verifying
                                             Page 521                                              Page 523
     1        A. Yes.                                     1   prescriptions with doctors' offices?
     2        Q. Do you understand that there             2       A. Yes, ma'am.
     3   was a known issue with pill mills in Florida     3       Q. She says she's caught a total
     4   in this time frame, summer 2010?                 4   of seven fraudulent prescriptions from three
     5        A. Yes, I do.                               5   patients in the past two months, correct?
     6        Q. And Ms. Parlato is writing to            6       A. She does.
     7   the pharmacy supervisor about concerns she       7       Q. She doesn't say she's filling
     8   has had at her pharmacy, correct?                8   those fraudulent prescriptions, right?
     9        A. Yes, she is.                             9       A. She does not.
    10        Q. All right. I'm going to focus           10       Q. From this e-mail, it's pretty
    11   your attention on the second paragraph of       11   clear she's not filling the fraudulent
    12   Ms. Parlato's e-mail. I'm just going to read    12   prescriptions, right?
    13   it so we're on the same page.                   13       A. You could draw that conclusion
    14             Ms. Parlato writes: Brandon           14   from this e-mail.
    15   and I have agreed that we will only fill if     15       Q. She says she's called the Ocala
    16   they produce a driver's license matching name   16   police, the Marion County Sheriff's Office,
    17   on Rx, write down the diagnosis of patient on   17   and Broward County Sheriff's Office and the
    18   Rx, and verify Rx with doctor office. Every     18   DEA, correct, sir?
    19   week I increase my order of oxy 30 and every    19       A. Yes.
    20   week I run out as more and more people are      20       Q. She's calling law enforcement
    21   coming. I have caught a total of seven          21   whenever she sees something wrong, at least
    22   fraudulent Rx's from three patients in the      22   by her own description, correct, sir?
    23   last two months. The last patient was           23       A. She is.
    24   arrested and had a bail set at $50,000.         24       Q. She says no one is taking her
    25             I have called the Ocala police,       25   reports all that seriously?
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     1        A. Yes, ma'am.                              1   I'm a little concerned about the statement
     2        Q. And she wants to make sure               2   that no one did anything. That's troublesome
     3   there's not something else that she should be    3   to me.
     4   doing, correct?                                  4   BY MS. SWIFT:
     5        A. I think she's reaching out for           5        Q. She found it troublesome too,
     6   that type of advice, yes, ma'am.                 6   didn't she, sir, at least based on the
     7        Q. When you worked at the DEA,              7   e-mail?
     8   isn't this exactly the type of thing that you    8        A. Yeah. Yes, you know, anytime
     9   wanted pharmacists to be doing?                  9   diversion is not acted upon, I find it
    10        A. To call me in this manner?              10   troubling. So I probably would have did a
    11   Yes, ma'am.                                     11   little more than what's in here, but that's
    12        Q. This is not the type of                 12   just me personally.
    13   pharmacist you would accuse of not doing her    13             There's -- when I used this,
    14   job, is it, sir?                                14   there was other things that troubled me in
    15             MR. FULLER: Object to form,           15   this e-mail, but I'm going to answer your
    16        lack of information.                       16   question just specific to that. Yeah, I
    17        A. I'm sorry, I'm thinking a               17   don't think she did anything wrong.
    18   second about that Touhy. I have that Touhy      18             But I think she didn't get
    19   issue in mind.                                  19   sufficient guidance that potentially what she
    20   BY MS. SWIFT:                                   20   was doing wasn't enough.
    21        Q. I'm not asking based on any             21        Q. Wasn't for lack of trying,
    22   investigation you worked on at the DEA. I'm     22   though, correct, sir?
    23   basing on this --                               23        A. Understood. But just reading
    24        A. No, I'd like to --                      24   what she wrote, there is still a potential
    25        Q. -- this document that was               25   that filling those prescriptions with the
                                              Page 525                                             Page 527
     1   produced in litigation, whether this is the      1   situation that was going on in Florida, which
     2   kind of pharmacist you would say she's not       2   she obviously has knowledge of and the people
     3   doing her job.                                   3   coming from Ohio, I'm a little concerned that
     4        A. I would not say she's not doing          4   maybe she could have probably done a little
     5   her job.                                         5   more as a pharmacist.
     6        Q. You don't have an opinion in             6       Q. You don't offer any opinions in
     7   this case that there was anything else this      7   your report about any of that, correct, sir?
     8   pharmacist should have been doing, correct,      8       A. About her actions?
     9   sir?                                             9       Q. Correct.
    10            MR. FULLER: Object to form.            10            MR. FULLER: Object to form.
    11        A. Well, if I would -- if I would          11       A. No, I do not.
    12   have received this information that's           12   BY MS. SWIFT:
    13   described in here and she called me and I was   13       Q. Let's take a look at the next
    14   working as a DEA investigation -- DEA           14   paragraph of Ms. Parlato's e-mail. Are you
    15   investigator, I would probably have a little    15   with me?
    16   more of an extensive conversation with her in   16       A. I am.
    17   regards to the content of the prescriptions,    17       Q. It says: This past week, the
    18   confirm that she's actually doing these         18   warehouse called me to inquire about the
    19   things that she's doing.                        19   growing orders of oxy 30 I have been placing
    20            I may have some questions for          20   and said that it is a red flag of sorts when
    21   her in regards to the doctors and the           21   a store orders more than 30 bottles per
    22   location, how far the patients are traveling    22   order. I ordered 55 this week and have no
    23   within Florida. I might give her a little --    23   doubt I will sell them all before my next
    24   I might ask some questions that might end up    24   order comes in.
    25   being guidance, and I'm not so sure that --     25            Did I read that correctly?

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                                              Page 528                                             Page 530
     1       A. You did.                                  1   Ms. Parlato's pharmacy other than reading
     2       Q. Do you think that the DC                  2   this e-mail, correct, sir?
     3   personnel was doing something wrong here         3       A. As we sit here today, no,
     4   based on this one paragraph?                     4   ma'am.
     5       A. Well, I don't have complete               5       Q. You haven't done an ARCOS
     6   information to make a real firm judgment, but    6   analysis of the volume of oxy shipped to this
     7   I would say the tone of this and the content     7   pharmacy, anything like that?
     8   would make me question about how quickly the     8       A. I have not.
     9   orders increased or the escalation and why it    9       Q. And you have no opinion on how
    10   got to such a problem in the previous -- the    10   many of the prescriptions that this
    11   paragraph above it and now is being called      11   pharmacist saw were legitimate, correct?
    12   and why it maybe should have been triggered     12            MR. FULLER: Form.
    13   earlier.                                        13       A. No, but I don't have access to
    14       Q. But you don't know about any             14   the information to be able to form that
    15   other communications that this person at the    15   opinion.
    16   distribution center may have had with           16   BY MS. SWIFT:
    17   Ms. Parlato, correct?                           17       Q. Is it your opinion that the
    18       A. No, I don't, but I'm just                18   distribution center should have cut and
    19   answering your question based on just that      19   reported all orders above 30 bottles of
    20   paragraph.                                      20   oxycodone?
    21       Q. The distribution center person           21            MR. FULLER: Form, improper
    22   who Ms. Parlato spoke with is also checking     22       hypothetical.
    23   on red flags, correct, sir? That's what it      23       A. Well, that kind of goes to the
    24   says in the paragraph?                          24   heart of the failure of due diligence,
    25       A. Well, that's the part that               25   because -- and I'm just speaking based on
                                              Page 529                                             Page 531
     1   concerns me. I'm not so sure it's a red flag     1   this and your term of using 30 bottles.
     2   more than a suspicious order.                    2            I don't know what due diligence
     3        Q. Okay. You don't know what else           3   existed that they would establish a threshold
     4   the distribution center did to investigate       4   or what pattern of purchase previously, so
     5   this order, correct, sir?                        5   just to give me an arbitrary number, I can't
     6        A. I do not, but it's concerning            6   make comment on that.
     7   to me because in a suspicious order system,      7   BY MS. SWIFT:
     8   there are no -- I've never seen the term "red    8       Q. Okay.
     9   flag." The pharmacy conduct would be --          9       A. But that's the essential
    10   those are red flags, so I -- that's why         10   purpose of the due diligence, is to be able
    11   there's some concern with that paragraph.       11   to know what the usual order is.
    12        Q. You don't know whether this             12       Q. But you don't have an opinion
    13   particular order that is being discussed in     13   that this particular distribution center
    14   Ms. Parlato's e-mail ever shipped, correct,     14   should have done something to cut off
    15   sir?                                            15   shipments beyond 30 bottles or anything like
    16        A. Well, this doesn't say whether          16   that?
    17   or not it shipped, but that paragraph would     17            MR. FULLER: Object to form,
    18   lead you to the assumption that she believes    18       insufficient evidence or facts.
    19   it's going to be shipped and she could buy      19       A. I don't have an opinion because
    20   more.                                           20   I don't have the due diligence or records to
    21        Q. You didn't do anything to               21   make an opinion on that right now.
    22   confirm that?                                   22   BY MS. SWIFT:
    23        A. I did not.                              23       Q. All right. Turn to page 121,
    24        Q. And you haven't done any                24   please. Getting close.
    25   further inquiry into what was going on at       25            The top of page 121 says --
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     1   I'll wait until you're there.                     1   Appendix 9 to Dr. McCann's report, correct?
     2        A. Go ahead.                                 2   Or do you know?
     3        Q. The top of page 121 says: The             3        A. No, I don't believe I included
     4   bar graphs identified as Figures 45 to 56 in      4   all of the results, no, ma'am.
     5   Schedule II of this report demonstrate a          5        Q. Who selected the charts that
     6   clear escalation of prescription opioids into     6   are included in Schedule II of your report?
     7   Cuyahoga County and Summit County by dose,        7        A. I believe I gave a description
     8   base weight and MME. The massive increase in      8   of what I wanted the charts to indicate, and
     9   prescription opioids without a documented         9   they were provided to me.
    10   basis is indicative of a failure to maintain     10        Q. By plaintiffs' lawyers?
    11   effective control.                               11        A. I believe they were forwarded
    12             Did I read that correctly?             12   to me electronically. I don't know who gave
    13        A. You did.                                 13   them to me. So -- but I believe so. I
    14        Q. The charts and figures in                14   believe they're the ones who would
    15   Schedule II of your report come from             15   communicate back and forth with Mr. McCann.
    16   Dr. McCann, the other plaintiffs' expert,        16        Q. You have no idea who provided
    17   correct?                                         17   you the charts that you included in the
    18        A. Yes, ma'am.                              18   Schedule II?
    19        Q. They come from Appendix 9 of             19        A. I have a reasonable idea that
    20   Dr. McCann's report; is that right? You can      20   it would be Mr. Elkins, A.J. Elkins, because
    21   see that if you look at Schedule II.             21   that's who I dealt with on a regular basis,
    22             MR. FULLER: I don't know the           22   but I guess I don't want to be literal with
    23        answer.                                     23   like who actually did it. It's like how do
    24        A. I don't.                                 24   you really know anything? So yes,
    25             ///                                    25   Mr. Elkins.
                                               Page 533                                            Page 535
     1   BY MS. SWIFT:                                     1       Q. Mr. Elkins is one of the
     2       Q. Oh, you don't have the                     2   plaintiffs' lawyers, correct, sir?
     3   schedules? Okay.                                  3       A. Yes.
     4       A. I mean I --                                4       Q. Did you review all of
     5            MR. FULLER: Somewhere.                   5   Appendix 9 to Dr. McCann's report?
     6            MS. SWIFT: I've got them.                6       A. I don't recall if I did or not.
     7            THE WITNESS: It will take me a           7       Q. You relied on the charts that
     8       while. I don't want to use your time.         8   are in Schedule II of your report,
     9            MS. SWIFT: I'm going to mark             9   Dr. McCann's charts, to conclude that several
    10       as Exhibit 23 Schedule II to your            10   of the defendants in this case had a, quote,
    11       report.                                      11   massive increase or, quote, escalation of
    12            (Whereupon, Deposition Exhibit          12   opioids distribution, correct?
    13       Rafalski-23, Rafalski Report                 13       A. Yes, ma'am.
    14       Schedule II, was marked for                  14       Q. The charts in Schedule II show
    15       identification.)                             15   the volume of shipments of opioids over time,
    16            MR. FULLER: Thank you. You              16   correct?
    17       said Exhibit 23?                             17       A. Yes, ma'am.
    18            MS. SWIFT: Yep.                         18       Q. The charts in Schedule II do
    19            MR. FULLER: Thanks.                     19   not show the results of Dr. McCann's
    20   BY MS. SWIFT:                                    20   application of the five flagging
    21       Q. You can see that Schedule II,             21   methodologies to any of those defendants,
    22   if you flip through it, these are all charts     22   correct? It just shows volume?
    23   from Appendix 9 of Dr. McCann's report?          23       A. It shows volume, distribution,
    24       A. Yes, ma'am.                               24   as the report indicates.
    25       Q. You didn't include all of                 25       Q. And it doesn't show which of
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     1   those orders were flagged as suspicious?         1       hoping to wrap up at around two hours.
     2        A. It does not.                             2            MR. FULLER: We've been going
     3        Q. Okay. The charts in Schedule             3       two hours.
     4   II don't say anything about which orders         4            MS. SWIFT: I don't know if I'm
     5   shipped by these defendants were suspicious,     5       going to quite make it. But I'm going
     6   correct?                                         6       to be close.
     7        A. These charts don't say that,             7            Do you want to take a break,
     8   no, ma'am.                                       8       Mr. Rafalski?
     9        Q. The charts in Schedule II also           9            MR. FULLER: I do. I have to
    10   do not show distribution of any particular      10       pee. I'm just being honest.
    11   drug to any particular pharmacy, correct,       11            THE VIDEOGRAPHER: We're going
    12   sir?                                            12       off the record at 10:19 a.m.
    13        A. Well, as I stated previously,           13            (Recess taken, 10:19 a.m. to
    14   it contains that data but it doesn't            14       10:29 a.m.)
    15   specifically show it. I mean, it's built        15            THE VIDEOGRAPHER: We're back
    16   upon those orders to those pharmacies.          16       on record, 10:29 a.m.
    17        Q. Right. But if you wanted to             17   BY MS. SWIFT:
    18   know how much oxy was shipped to any            18       Q. Welcome, Mr. Rafalski.
    19   particular pharmacy, you could not tell that    19       A. Thank you.
    20   from your charts in Schedule II?                20            (Interruption by the reporter.)
    21        A. That's a correct statement.             21   BY MS. SWIFT:
    22        Q. When did you receive the charts         22       Q. I believe that we agreed off
    23   in Schedule II?                                 23   the record that you are going to make or your
    24        A. I don't recall.                         24   counsel is going to make a copy of your
    25        Q. Did you ever speak to                   25   binder that has your report in it and that's
                                             Page 537                                              Page 539
     1   Dr. McCann about the charts in Schedule II?      1   going to be marked as Exhibit 16; is that
     2       A. I did not.                                2   correct?
     3       Q. All right. Other than the                 3        A. Yeah, it's -- well, it's
     4   charts included in Schedule II and the -- I      4   already marked as Exhibit 16, and I
     5   think there are a few pages of your report       5   understand that they're going to do that at
     6   where you also cite to Appendix 9 of McCann's    6   lunchtime.
     7   report.                                          7        Q. That sounds great, thank you.
     8       A. Yes.                                      8             Okay. Now, if you would,
     9       Q. Did you review any other part             9   please, take a look at page 36 of --
    10   of Appendix 9 that is not cited in your         10        A. I'm open to 36.
    11   report or attached in Schedule II?              11        Q. -- Exhibit 24. Before I ask
    12       A. I'm sure I reviewed it. I                12   you questions about Exhibit 24, I just want
    13   don't have direct recollection of that.         13   to tell you what it is.
    14       Q. I'm going to show you what I'm           14             Exhibit 24 is, if you can
    15   marking as Exhibit 24. Might be the last        15   believe it, an excerpt of Dr. McCann's
    16   one.                                            16   Appendix 9.
    17            (Whereupon, Deposition Exhibit         17        A. I think it's like 900 pages
    18       Rafalski-24, Excerpt from McCann            18   long.
    19       Appendix 9, was marked for                  19        Q. Something like that. I think
    20       identification.)                            20   it's actually 3877 pages long.
    21            MR. FULLER: Counsel, I'm going         21             MR. FULLER: It says that at
    22       to ask how much more you've got.            22        the bottom.
    23       We've been going two hours.                 23   BY MS. SWIFT:
    24            MS. SWIFT: I don't think we've         24        Q. As with the other appendices
    25       been going quite two hours. I'm             25   from Dr. McCann's report, what we did was to

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     1   pull out the pages that relate to Walgreens,     1   distribution chart. I hope that makes sense.
     2   okay?                                            2             So there isn't anything in here
     3       A. Sure.                                     3   that would change my opinion. I have not
     4            MR. FULLER: I'm sorry, so this          4   reviewed a chart that changed my opinion, but
     5       is just all of Walgreens?                    5   they're not all commented on in my report.
     6            MS. SWIFT: Yeah, I think so.            6        Q. Well, to be fair, though, sir,
     7       That's what I was told.                      7   I believe you testified you didn't review all
     8            MR. FULLER: Okay.                       8   of Appendix 9.
     9   BY MS. SWIFT:                                    9        A. That's correct.
    10       Q. Did you look at all 3877 pages           10        Q. Okay.
    11   of Appendix 9 to Dr. McCann's report?           11        A. Of those I reviewed.
    12       A. No.                                      12        Q. All right. And just ballpark
    13       Q. How much of Appendix 9 did you           13   it for me. Did you review half of the charts
    14   look at?                                        14   in Appendix 9?
    15       A. I'm not really sure exactly how          15        A. I wouldn't say probably half.
    16   many, but nowhere near 3,877 pages. I might     16        Q. 10%?
    17   look at specific charts related to what I       17        A. I would say 300.
    18   cited -- obviously, the ones that I've cited    18        Q. So 10%?
    19   in my report, but I did not review them all.    19        A. It could be around that or even
    20   I'm confident of that.                          20   a little less. That's 387. I would say
    21       Q. Are you confident that you               21   2- to 300 charts.
    22   reviewed anything within Appendix 9 that does   22        Q. Okay. Let's take a look at the
    23   not appear in your report?                      23   chart that appears on page 36 of Exhibit 24.
    24       A. Yes, I believe I've looked at            24   This chart is also page 250 of 3,877.
    25   some of these charts and they're not            25             Do you see that?
                                              Page 541                                             Page 543
     1   commented on in my report. Yes, I'm sure         1        A. Yes.
     2   that I did that.                                 2        Q. This chart is a chart for
     3       Q. Are they not included in your             3   Walgreens Store No. 12444 at 3415 Clark
     4   report because they didn't bear on your          4   Avenue.
     5   opinions?                                        5            Do you see that at the top
     6            MR. FULLER: Object to form.             6   left?
     7       That's not what his testimony was.           7        A. I do.
     8       A. No, I don't think that's an               8        Q. The chart shows oxycodone
     9   accurate statement. I -- you know, I guess       9   distribution to Walgreens Store No. 12444,
    10   the question was did I look at some of the      10   correct?
    11   charts. I did.                                  11        A. Yes.
    12   BY MS. SWIFT:                                   12        Q. And you can see that it
    13       Q. And then the follow-up question          13   purports to show distribution to this
    14   was with respect to the parts of Appendix 9     14   Walgreens store at 3415 Clark Avenue from
    15   that you did not include in your report, is     15   AmerisourceBergen Drug, Cardinal Health and
    16   that because they did not bear on your          16   Walgreens' own distribution centers, correct,
    17   opinions?                                       17   sir?
    18       A. I'm not sure how to answer that          18        A. Yes.
    19   because I think all of the charts in here       19        Q. Did you review this chart in
    20   are -- in some way bear on my opinion because   20   preparing for your report?
    21   they're all cumulative of other charts. So,     21        A. I don't have any recollection
    22   for example, if I look at just one chart, I     22   if I saw this specific chart.
    23   don't have a specific opinion of that chart,    23        Q. Is it your understanding that
    24   but I know that that analysis is probably       24   this chart is specifically showing
    25   contained or part of a maybe total              25   distribution of oxycodone to the Walgreens

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     1   pharmacy at 3415 Clark Avenue in Cleveland?      1       A. I did not.
     2       A. Of oxycodone?                             2       Q. Do you know that there are
     3       Q. Yes.                                      3   other experts in this litigation who disagree
     4       A. The entire family, yes, ma'am.            4   with many of the things presented in
     5       Q. Do you read this chart to be              5   Dr. McCann's report?
     6   showing the volume of distribution of            6       A. I'm not aware of that.
     7   oxycodone to this Walgreens at 3415 Clark        7       Q. Have you had a chance to look
     8   Avenue from 1996 to 2018? Is that what that      8   at any of the other expert reports produced
     9   appears to show?                                 9   by the defendants in this case?
    10       A. It does appear to show that.             10       A. Can I get a -- ask a
    11       Q. Do you know whether this chart           11   clarification?
    12   for the Walgreens at 3415 Clark Avenue leaves   12       Q. Sure.
    13   out any shipments of oxycodone for any of       13       A. Are you asking whether they're
    14   these time periods?                             14   available to me? Because I don't know if
    15       A. I'm not aware if it does.                15   they were provided. I have not done that,
    16       Q. Did you ask anyone about that?           16   but I don't know if they may be accessible to
    17       A. No, ma'am.                               17   me. But I have not reviewed them.
    18       Q. Do you know whether all of the           18       Q. Okay. One more set of charts.
    19   data on this chart for the Walgreens at 3415    19   Sorry.
    20   Clark Avenue is related to the Walgreens at     20       A. That's all right.
    21   3415 Clark Avenue?                              21            (Whereupon, Deposition Exhibit
    22       A. I didn't do this analysis. It            22       Rafalski-25, Excerpt from McCann
    23   was done by Dr. McCann and it was provided to   23       Appendix 11, was marked for
    24   me, and I would take it as being accurate.      24       identification.)
    25   And that's what it displays. So that's --       25            THE WITNESS: Are we done with
                                             Page 545                                              Page 547
     1   that's what it indicates to me.                  1       this one?
     2       Q. Okay.                                     2            MS. SWIFT: Yep.
     3       A. I did nothing independent to              3            (Comments off the stenographic
     4   verify any of this information. I relied on      4       record.)
     5   Dr. McCann's evaluation.                         5   BY MS. SWIFT:
     6       Q. To create the charts like the             6       Q. I'm marking as Exhibit 25 an
     7   ones that are in your Schedule II and that       7   excerpt of McCann's Appendix 11, and like
     8   also appear in Appendix 9, do you understand     8   with the others today, what we've done is
     9   that Dr. McCann combined data from the DEA's     9   pulled out the pages that relate to
    10   ARCOS database with some of the defendants'     10   Walgreens, okay?
    11   own transactional data?                         11       A. Okay.
    12            Did you know that?                     12       Q. Have you ever seen the charts
    13       A. Yes, I remember reviewing that           13   that appear in Exhibit 25?
    14   in a document or somewhere. I don't know the    14       A. I believe I looked at these
    15   source, but yes, I am aware of that.            15   because they were part of the methodology
    16       Q. Do you understand that the               16   analysis.
    17   Walgreens data that Dr. McCann used covers      17       Q. Who shared them with you?
    18   one time period and the ARCOS data covers       18       A. I believe Mr. Elkins would have
    19   another?                                        19   provided them to me.
    20       A. I believe -- I have a                    20       Q. The plaintiffs' lawyer,
    21   recollection that I did read or was advised     21   Mr. Elkins?
    22   of that, yes, ma'am.                            22       A. Yes.
    23       Q. Did you review the computer              23       Q. When did Mr. Elkins share the
    24   code underlying Dr. McCann's charts in his      24   charts in Exhibit 25 with you?
    25   report?                                         25       A. I don't recall.
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     1       Q. You didn't cite or attach any             1   "Despite having raised."
     2   of these charts to your report, correct, sir?    2           Do you see that?
     3       A. No, I don't believe I did.                3       A. Yes, ma'am.
     4       Q. You've never talked to                    4       Q. This is still in the section
     5   Dr. McCann about any of the charts in his        5   talking about what you learned from the Order
     6   report; am I right about that?                   6   to Show Cause in the Jupiter matter, correct?
     7       A. That's correct.                           7       A. Yes.
     8       Q. Okay. All right. You can set              8       Q. And you talk in this last
     9   those aside. That's all I was going to do        9   paragraph on 118 about Store No. 3836.
    10   with that one.                                  10           Do you see that?
    11            Turn, if you would, please, to         11       A. Yes.
    12   page 115 of your report. Page 115 is within     12       Q. That's one of the stores that's
    13   the Walgreens section and talks about an        13   discussed in the Florida Order to Show Cause?
    14   investigation of the Jupiter distribution       14       A. Okay.
    15   center in Florida, correct, sir?                15       Q. Do you recall that that's the
    16       A. It does at the bottom of the             16   case?
    17   page.                                           17       A. Do you have the memorandum of
    18       Q. You didn't have any personal             18   agreement I could review? Or I could get it
    19   involvement in the Jupiter, Florida             19   out.
    20   investigation of Walgreens, correct?            20       Q. That's okay. I'll withdraw the
    21       A. No, ma'am, I don't believe so.           21   question.
    22       Q. To the extent that you have              22           The statements in that last
    23   opinions about the Jupiter, Florida             23   paragraph on Store No. 3836 about the volume
    24   investigation, you're relying entirely on the   24   of shipments of oxycodone to that pharmacy,
    25   Order to Show Cause and related documents       25   are you relying exclusively on the documents
                                              Page 549                                            Page 551
     1   attached to Walgreens' 2013 settlement           1   cited in notes 509 and 510 for those numbers?
     2   agreement with the DEA -- is that right --       2             MR. FULLER: Form, same
     3   cited in note 493?                               3       objection as earlier.
     4       A. Yes, ma'am.                               4       A. You're talking about the
     5       Q. Okay. Did you -- in preparing             5   statements in the last paragraph?
     6   for your -- to write your report, did you        6   BY MS. SWIFT:
     7   review any of the documents showing              7       Q. Correct, and in particular the
     8   Walgreens' efforts to cooperate with Florida     8   statements about the volume of oxycodone
     9   DEA and local law enforcement in 2010 and        9   shipments to that store.
    10   2011?                                           10             MR. FULLER: Same objection.
    11            Do you remember anything like          11       A. No, I believe it's also in
    12   that?                                           12   regards to some deposition information and
    13       A. I don't remember reviewing any           13   some other documents.
    14   records or communications in regards to that,   14   BY MS. SWIFT:
    15   no, ma'am.                                      15       Q. You're talking about stuff
    16       Q. In preparing your report, did            16   that's cited in your report though?
    17   you review any of the documents produced by     17       A. In a general nature, yes,
    18   the plaintiffs, Cuyahoga and Summit County,     18   ma'am. It's cited.
    19   showing Walgreens' pharmacists notifying        19       Q. Just not cited here on the page
    20   local law enforcement when they suspected       20   where you're talking about Store 3836?
    21   diversion?                                      21       A. Yes. Yes.
    22       A. No, ma'am.                               22       Q. You didn't do an ARCOS analysis
    23       Q. Turn, if you would, please, to           23   or request an ARCOS analysis to verify the
    24   page 118. I'll direct your attention to the     24   volume numbers with respect to Store 3836,
    25   last paragraph on the page that starts          25   correct, sir?
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     1        A. As I sit here today, I did not           1   theory?
     2   do that.                                         2            MR. FULLER: Same objection and
     3        Q. Okay. Turn to page --                    3       basis.
     4        A. I'm -- there's probably a chart          4       A. Same answer. I think by this
     5   in here related to that that Dr. McCann --       5   time period, everybody knew there was a
     6   but it would be an overall volume chart.         6   problem in Florida.
     7        Q. But you don't know one way or            7   BY MS. SWIFT:
     8   the other?                                       8       Q. Did you check the documents
     9        A. Well, I'm pretty confident               9   that you cite here to see if any of them
    10   there is one there.                             10   actually talk about pills migrating from a
    11        Q. Okay.                                   11   Florida Walgreens to people in Ohio?
    12        A. But I don't positively know.            12       A. I checked the documents. I
    13        Q. Turn to page 121, please. The           13   don't have a direct recollection if it said
    14   second full paragraph on page 121 talks about   14   out of state or Ohio.
    15   the Florida migration phenomenon.               15       Q. You would agree with me, sir,
    16             Do you see that?                      16   that based on everything you've reviewed,
    17        A. Yes, ma'am.                             17   Walgreens only ever distributed controlled
    18        Q. And that's the idea that                18   substances to its own pharmacies, correct?
    19   prescription opioids dispensed in Florida       19       A. I'm not aware of any records
    20   were then transported north to other states;    20   which have indicated they distribute anything
    21   is that right?                                  21   to other than their own registrants, but I
    22        A. Yes, ma'am.                             22   didn't look at some transactions where that
    23        Q. Do you rely on anything other           23   may occur, for example, destruction --
    24   than the documents cited in notes 518, '19      24   destruction of drugs may have went to a
    25   and '20 to support your statements that         25   reverse distributor. So in my experience,
                                             Page 553                                              Page 555
     1   Walgreens knew about the Florida migration       1   there would be some other types of
     2   theory?                                          2   distributions --
     3            MR. FULLER: Same objection and          3        Q. You're not offering --
     4       basis as earlier.                            4        A. -- but not -- but I'm not
     5            MS. SWIFT: Yes or no, please.           5   disagreeing with the question. Generally,
     6            THE WITNESS: Okay. I'm                  6   yes, would be the question, but I'm leaving
     7       thinking about it.                           7   open that there's other distributions that
     8       A. I think I also relied on my               8   may have occurred.
     9   experience and my knowledge of what was going    9        Q. You're not offering any
    10   on at this time period and the media coverage   10   opinions in this case about suspicious orders
    11   and the newspaper coverage in Florida. So I     11   connected to destruction of drugs and reverse
    12   would say that that would also have an impact   12   distribution, correct, sir?
    13   on that decision.                               13        A. No, I don't think -- not to be
    14   BY MS. SWIFT:                                   14   argumentative, I don't think your question
    15       Q. And my question was --                   15   was in regards to suspicious orders. It was
    16       A. But I can't cite you a specific          16   just distribution.
    17   article or specific news show, but it was       17        Q. And then I asked another
    18   pretty common in the media at the time.         18   question.
    19       Q. And my question was                      19        A. Oh, I was still answering the
    20   specifically with respect to Walgreens'         20   first question.
    21   knowledge.                                      21        Q. Understood.
    22            Do you rely on anything other          22            You're not offering any
    23   than the documents cited in notes 518, '19      23   opinions about orders that were shipped by
    24   and '20 to support your statements that         24   reverse distributors, correct?
    25   Walgreens knew about the Florida migration      25        A. No, I'm not.
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     1       Q. Okay. You haven't offered an              1   system, which I don't think was adequate. If
     2   opinion in this case about how long it was       2   they were developing a new system, if they
     3   supposed to take for a registrant to get a       3   were beta testing it at the same time, I
     4   new suspicious order monitoring system up and    4   don't think there would be ever a period of
     5   running, have you, sir?                          5   time where, whether it's an approved or not
     6       A. I think I've made a lot of                6   suspicious order system, there was one in
     7   comments within my report. I don't think         7   place.
     8   there's a provable time period to not have       8            I don't think I alleged that
     9   one.                                             9   there never was one in place, and I'm not
    10       Q. We talked --                             10   saying that they should abandon one and not
    11       A. It's -- it's a requirement of            11   test the other, but certainly, to put one in
    12   the registration to have a suspicious order     12   place that's not beta tested and to work
    13   monitoring system, so there's no time period    13   diligently to verify whether it's operating
    14   where I'd say they -- I would ever approve      14   properly would be better than just not to put
    15   where they just couldn't have one.              15   it in place.
    16       Q. But you didn't offer an opinion          16        Q. You understand that Walgreens
    17   about how long it's supposed to take to get a   17   had a system, the E(3) system, and was
    18   suspicious order monitoring system up and       18   reporting based on that system for a number
    19   running?                                        19   of years, correct?
    20       A. No, because that hypothetically          20        A. I do, but as my opinion says, I
    21   doesn't exist. They should have one. They       21   don't think that that was a sufficient
    22   should have one upon registration. There --     22   suspicious order system.
    23   I would never -- or the DEA -- or speaking      23        Q. You don't like that system, but
    24   for myself, I would never approve a             24   you understand that Walgreens had that
    25   registrant that didn't have one in place.       25   suspicious order monitoring system in place?
                                             Page 557                                             Page 559
     1       Q. We talked earlier about the               1        A. They had that system in place.
     2   fact that Walgreens was reporting for a          2   And it's not what I like or not; it's what
     3   certain time period using the E(3) formula       3   meets the regulatory requirements.
     4   that's found in the Chemical Handler's           4        Q. You understand that Walgreens
     5   Manual.                                          5   had the E(3) system in place and continued
     6            Do you remember that testimony?         6   reporting based on that system while it
     7       A. Yes, I do.                                7   developed its new suspicious order monitoring
     8       Q. And then Walgreens switched               8   system, correct?
     9   over at a certain point to using a new,          9        A. I believe that possibly
    10   different type of suspicious order monitoring   10   occurred, yes.
    11   system, correct, sir?                           11        Q. At page 128 of your report, you
    12       A. Yes, ma'am.                              12   talk about a number of what you refer to as
    13       Q. You don't offer an opinion               13   either gaps or loopholes in the Walgreens
    14   about -- well, strike that.                     14   suspicious order monitoring system, correct?
    15            Is it your opinion that                15        A. Yes.
    16   Walgreens was required to stop reporting        16        Q. You did not perform an analysis
    17   using the E(3) formula and start reporting      17   to determine whether any of these so-called
    18   based on the new suspicious order monitoring    18   gaps or loopholes in the Walgreens system
    19   system as soon as that algorithm was            19   actually led to a suspicious order, correct,
    20   developed, like before any testing had          20   sir?
    21   happened or anything like that?                 21        A. So is your question in regards
    22       A. Well, typically, my experience           22   to a specific order?
    23   would indicate that if there's a system in      23        Q. Yes.
    24   place, I'm not saying I'm approving that        24        A. I did not do an analysis of a
    25   particular system, the E(3) suspicious order    25   specific order, but the failure to monitor

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     1   distributions from an outside source, an         1             THE VIDEOGRAPHER: Off the
     2   outside distributor and account that into        2       record, 10:53 a.m.
     3   your system, that was what the -- what some      3             (Recess taken, 10:53 a.m. to
     4   of the gaps and loopholes were in the system,    4       10:56 a.m.)
     5   I believe.                                       5             THE VIDEOGRAPHER: Back on the
     6        Q. But the answer to my question            6       record at 10:56 a.m.
     7   is that you did not do an analysis of any        7                EXAMINATION
     8   specific order to see whether any of the gaps    8   BY MR. BUSH:
     9   or loopholes you identified in the Walgreens     9       Q. So, good morning, Mr. Rafalski.
    10   systems actually led to that suspicious         10   I'm Graeme Bush, and I'm representing CVS in
    11   order?                                          11   this litigation.
    12        A. As of today, I did not do that          12       A. Good morning, Mr. Bush.
    13   analysis.                                       13       Q. So I want to ask a couple of
    14        Q. At page 132 of your report,             14   general questions to just get a few
    15   right before Section 3, do you see the -- are   15   housekeeping matters out of the way.
    16   you with me?                                    16             First of all, are the opinions
    17        A. I am.                                   17   that are expressed in your report the same
    18        Q. You agree with me that                  18   opinions that you hold today?
    19   Walgreens' last Schedule II shipment as a       19       A. They are.
    20   distributor to Cuyahoga and/or Summit County    20       Q. And are there any additional
    21   was on March 4th, 2013?                         21   opinions that you've developed since your
    22        A. As cited in the footnote, in            22   report was delivered to us? And actually,
    23   review of the ARCOS, I believe, but as cited    23   let me limit that because I think you've
    24   in the footnote excluding the codeine drug      24   already been asked that question generally.
    25   code 9050.                                      25             Are there any additional
                                              Page 561                                            Page 563
     1        Q. You don't have any opinions in           1   opinions relating to CVS that you've reached
     2   your report about Walgreens' suspicious order    2   since the time that your report was
     3   monitoring program after Walgreens stopped       3   delivered?
     4   distributing controlled substances, correct,     4       A. No, sir.
     5   sir?                                             5       Q. And have you reviewed -- your
     6        A. I don't believe I offer an               6   report refers to a number of documents and
     7   opinion after that point.                        7   depositions in footnotes throughout the
     8             MS. SWIFT: All right. I                8   report.
     9        have -- I'm not going to ask you any        9            Is there any material that is
    10        other questions at this time, but as       10   not -- that is not referred to in the report
    11        my colleagues have done, I'm going to      11   that you've reviewed or come into possession
    12        reserve the right to come back and ask     12   of that bears on your opinions to CVS since
    13        you additional questions later, both       13   the time that your report was provided to us?
    14        because we have not had time to ask        14       A. No, sir.
    15        you everything we needed to ask you        15       Q. Okay. Now, you testified
    16        and because I understand from your         16   yesterday about the process of drafting the
    17        testimony today and yesterday that you     17   report?
    18        may be supplementing your opinions at      18       A. Yes.
    19        some later point. We reserve the           19       Q. And in part of your testimony
    20        right to ask you about those questions     20   you referred to the interaction between you
    21        later. Thank you very much, sir.           21   and the attorneys for plaintiffs.
    22             THE WITNESS: Thank you very           22       A. Yes, sir.
    23        much. If my attorney approves, I'd be      23       Q. Did you receive any input
    24        more than happy to sit down again with     24   from -- actually, let me withdraw that
    25        you.                                       25   question.
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     1            Did you receive drafts of the           1   writing or another.
     2   section of your report relating to CVS from      2            How did you receive it?
     3   any of plaintiffs' attorneys?                    3       A. Yes.
     4       A. I'm not sure I would call it a            4       Q. By e-mail?
     5   draft of my report. I would receive some         5       A. No, not by e-mail. It would
     6   analysis of some documents or reference me to    6   be -- I would do my report in a Google Drive,
     7   certain documents, but I'm not so sure I         7   so it would be a redlined or if something got
     8   would call it a draft.                           8   inserted, you know, I would know that it
     9            There were some communications          9   wasn't part of my original report. And I may
    10   in regards to the -- I recall in the CVS,       10   get a notification that it's been updated,
    11   there was the period of time where the 1.5      11   but I pretty much was looking at it all the
    12   and 6.5 [sic] and there was some, you know,     12   time, so...
    13   brief summaries of that which I, in turn,       13       Q. You testified yesterday about
    14   redrafted into my report. So I received         14   how much time you spent on each of the
    15   things of that nature. But it's not like I      15   defendants in preparing your opinion with
    16   took apart and just pasted it in there. This    16   respect to them.
    17   was all my report.                              17            Do you remember that general
    18       Q. From whom did you receive that           18   subject matter?
    19   kind of work product?                           19       A. I remember I kind of gave a
    20       A. That communication either came           20   general answer to that time.
    21   through Mr. Fuller or Mr. Elkins, so            21       Q. And you said, I think in
    22   sometimes I don't know who the original         22   response to questions from Mr. Pyser, that
    23   author was.                                     23   you estimated it was maybe 50 or 60 hours per
    24       Q. And were some parts of what you          24   distributor and you made a distinction
    25   received from Mr. Elkins or Mr. Fuller          25   between distributors and some other of the
                                             Page 565                                              Page 567
     1   describing -- for example, you just gave the     1   defendants.
     2   example of the 1.5/1.6 scoring issue -- I'm      2            Do you recall that?
     3   sorry, 1.5/.65 scoring issue.                    3        A. Generally, yes. I don't know
     4            Did you incorporate pieces of           4   if that was exactly what I said, but
     5   that into your report?                           5   generally, I did do the distinction.
     6        A. I can't say that if there was a          6        Q. And do you include -- well, let
     7   sentence in that part that I totally agreed      7   me just ask it this way: How much time do
     8   with and it was verified by the record, then     8   you estimate you spent on CVS?
     9   it's a possibility that would have occurred.     9        A. I don't really have a specific
    10   But again, it's my report.                      10   hour I could give you. If I broke them up in
    11        Q. How about if there was a whole          11   50 and 60, I would say in just a general
    12   paragraph that described what happened with     12   statement, I probably spent more time on CVS
    13   the 1.5/.65 scoring issue?                      13   than I did on some of the other distributors.
    14        A. I don't recall that occurring           14        Q. Okay.
    15   in the CVS. I'm not going to say it didn't      15        A. It's just a generalized. If
    16   happen, but again, if it did, I would read it   16   you were to say did you spend more or less
    17   and make sure that that was consistent with     17   time on CVS, I would say more. I spent a lot
    18   what the document said.                         18   of time trying to understand the Buzzeo
    19            It wasn't provided -- it wasn't        19   complicated suspicious order system. I spent
    20   my opinions that were provided to me, but if    20   a considerable time trying to work on that,
    21   there was an analysis of a certain document     21   and then the .15/.65 [sic] scoring, a lot of
    22   and I found it to be accurate, I would not      22   review of documents there.
    23   change that.                                    23            So probably more than -- it
    24        Q. Did -- I take it you received           24   would be 60 -- at the upper range of what I
    25   this kind of input in the form of some          25   spent on all the other distributors.

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     1      Q.     All right. Thank you.                  1       A. But it's a different -- I know
     2            During your time at DEA, did            2   law enforcement --
     3   you have any personal involvement with CVS?      3       Q. But your answer is the same,
     4        A. So in response to your                   4   correct?
     5   question, when you say "personal                 5       A. My answer is the same, but I
     6   involvement," I'm sure that on several           6   couldn't come as an agent to do it either
     7   occasions I would have went into a               7   because I'm too old to do that, but I
     8   CVS Pharmacy, and on a professional basis        8   appreciate it.
     9   first --                                         9       Q. If you take a look at page 41
    10        Q. Okay.                                   10   of your opinion, Ms. Swift asked you some
    11        A. -- and a personal basis, but --         11   questions about the way those numbers were
    12   and pulled documents related to                 12   put together and your involvement of them --
    13   investigations I was conducting, if I was       13   with them?
    14   doing -- I know for sure in some of the         14            Do you recall that?
    15   physicians I investigated, I may go in and      15       A. Yes.
    16   pull original prescriptions, I may ask for      16       Q. And at some point she started
    17   profiling reports.                              17   to ask you questions that were focused on
    18            So, yes, I would have had              18   Walgreens, but would it be true that your
    19   contact with CVS Pharmacies.                    19   answers would be the same if I asked you the
    20        Q. Did you have -- were you                20   same questions about CVS, you put the numbers
    21   involved in any inspection of a CVS             21   together the same way for CVS as you did for
    22   distribution center?                            22   Walgreens?
    23        A. I was not.                              23            MR. FULLER: Form.
    24        Q. Were you involved in any other          24       A. Yes. If you were to ask the
    25   kind of enforcement action with respect to a    25   questions the same way -- I can't remember
                                             Page 569                                              Page 571
     1   CVS distribution center?                         1   her name.
     2        A. Not that I can recall at this            2   BY MR. BUSH:
     3   time, no, sir.                                   3       Q. Ms. Swift.
     4        Q. Would it be accurate to say              4            MR. FULLER: Ms. Swift. But he
     5   that you are not going to be able to come to     5       has to speak in her same voice too.
     6   the trial and testify about any personal         6       A. Then my answers would be the
     7   experiences you've had as a DEA agent with       7   same, except I would insert the CVS data.
     8   regard to investigations of CVS? And I'm not     8   BY MR. BUSH:
     9   talking about Touhy here, I'm just talking       9       Q. Okay.
    10   about you didn't have any personal experience   10       A. And of course, CVS didn't have
    11   so even if --                                   11   the Schedule II, so we wouldn't discuss that.
    12        A. As I sit here today, I don't            12   That would be zero.
    13   have any recollection of anything that would    13       Q. Right. Now, you also -- I want
    14   change my opinion or that I could add to my     14   to just touch briefly on the methods. I
    15   opinion based on my employment and              15   think others have covered most of what I
    16   investigations or information.                  16   would want to ask, but there are a couple of
    17             Could I just make one minor           17   things I want to ask about the five
    18   correction? So in -- not that it's a huge       18   methodologies.
    19   deal. I'm not an agent, because that's --       19       A. Yes.
    20   I'm a diversion investigator. Not to be         20       Q. And I think you clarified one
    21   critical of you calling me --                   21   thing that was unclear to me until this
    22        Q. No, sure.                               22   morning, that the five methodologies were
    23        A. Because I get called that all           23   used by -- as you understood it, in some
    24   the time.                                       24   form, by other registrants, except for one,
    25        Q. Fair enough. Fair enough.               25   which was the, what, two times national
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     1   average?                                           1   reported by Dr. McCann.
     2        A. Two times. It was actually                 2   BY MR. BUSH:
     3   used by another registrant, but it was a           3       Q. And that feature of the way you
     4   manufacturer, so -- so I'm aware it's -- it        4   apply Masters is not a feature of the actual
     5   had been used in the industry, but not used        5   Masters system. That's something you've
     6   in the group that I'd formed an opinion on.        6   added to it, right?
     7        Q. All right. And the Method A, I             7       A. That's a confusing question
     8   think is the way you've labeled it in your         8   because it would never be part of the Masters
     9   report, which is the six-month trailing            9   system.
    10   average?                                          10       Q. Okay. So it's not part of the
    11        A. Yes.                                      11   Masters system and you've added it because of
    12        Q. Sometimes referred to as the              12   your interpretation of the way the law would
    13   Masters method here?                              13   work, right?
    14        A. Yes.                                      14       A. The regulation would work and
    15        Q. That's the one that you're                15   the law, the maintenance of effective
    16   endorsing as a -- for the purposes that           16   controls and the Court's opinion and the
    17   you've used it in your opinion; is that           17   training and distributor briefings. Yes, all
    18   right?                                            18   of those things.
    19        A. Well, I think that's fairly               19       Q. Is there anything in a
    20   accurate, but I think I pointed out that it's     20   distributor briefing that says that if a
    21   not just my endorsement; it's the fact that       21   trigger is -- how do you put it, a trigger is
    22   it's been litigated and went up to the D.C.       22   missed? What do you -- what is it that
    23   Court and there was opinion published on          23   triggers everything afterwards flagging?
    24   that.                                             24       A. So the trigger isn't -- if I
    25        Q. And that methodology did not              25   understand your question, it's not just the
                                                Page 573                                             Page 575
     1   have as a part of it that if you missed an         1   trigger. The trigger or the threshold that
     2   order that should have been flagged,               2   gets breached which creates the suspicious
     3   everything after that would be flagged?            3   order. That's what the Masters six months
     4             MR. FULLER: Object to form,              4   trailing. There's an order that goes back to
     5        misstates his testimony.                      5   previous six months greater than the highest
     6        A. I don't understand the                     6   monthly order.
     7   question.                                          7        Q. Right.
     8   BY MR. BUSH:                                       8        A. That triggers a stop for a
     9        Q. Well, the way you have applied             9   suspicious order. Then subsequent to that
    10   all of these methodologies -- but let's focus     10   suspicious order, before it's shipped, there
    11   on the Masters methodology for a moment.          11   should be sufficient due diligence to dispel
    12        A. Sure.                                     12   the suspicion.
    13        Q. If an order that should have              13            I'm saying if the due diligence
    14   been flagged as a suspicious order is missed,     14   doesn't occur, based on my training, guidance
    15   you're saying every order after that is a         15   and experience, everything subsequent to that
    16   suspicious order; that's the way your             16   also becomes a suspicious order, and that's
    17   methodology is applied here, right?               17   reported by Dr. McCann.
    18             MR. FULLER: Form, misstates             18        Q. Right. And is that in -- or
    19        his report.                                  19   was that part of any distributor briefing,
    20        A. I don't say "missed." I say if            20   that particular feature of how you look at
    21   a trigger -- if the Masters algorithm is          21   the world here?
    22   applied and a suspicious order report is          22        A. I don't know if it's just how I
    23   triggered or identified, and then there's no      23   look at the world, but I believe every
    24   due diligence subsequent to that, then all        24   distributor briefing, there is a comment on
    25   orders after that point are flagged and           25   that when you identify a suspicious order,
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     1   you should conduct due diligence prior to        1   that's what happens? That's not the same as
     2   shipping that order --                           2   what you said that you have an inadequate
     3        Q. And if --                                3   system of -- to control for diversion or --
     4        A. -- or it's a failure of                  4   I'm not talking about that.
     5   maintenance of effective controls.               5             I'm just saying: The concept
     6        Q. And is there a comment that if           6   that everything after an inadequate due
     7   you don't conduct adequate due diligence,        7   diligence is flagged as a suspicious order,
     8   that every order after that flags?               8   is that ever said anywhere by DEA to
     9        A. No. But that's not typically             9   distributors?
    10   anything that would ever be part of a           10        A. I want to review something in
    11   distributor briefing. That's just outside       11   my report. Just a second, please.
    12   of, you know, any kind of discussion related    12        Q. Sure.
    13   to that matter.                                 13             MR. FULLER: If you want to
    14        Q. Has that been part of any               14        pull the Rannazzisi letters like he
    15   discussion that you know of that DEA has had    15        suggested, you can.
    16   with any distributor?                           16             MR. BUSH: I didn't actually
    17            MR. FULLER: Objection.                 17        suggest that.
    18            If you know.                           18             MR. FULLER: You said in the
    19            MR. BUSH: If you know. Sure.           19        Rannazzisi letters. He'd have to look
    20        Of course it's if you know.                20        at them.
    21        A. I think it's touched on in the          21             MR. BUSH: I said including.
    22   letters by Mr. Rannazzisi. I think it says      22        He's mentioned them already.
    23   if you continue to distribute controlled        23             (Document review.)
    24   substance prescriptions and you don't dispel    24        A. So the Rannazzisi letter, the
    25   those prescriptions, I think it could lead up   25   first one in 2006, he doesn't specifically
                                              Page 577                                             Page 579
     1   to revocation of your DEA registration.          1   state the same thing as you have stated.
     2            So I think there's comments             2   BY MR. BUSH:
     3   that would apply to that same topic or issue     3       Q. Right.
     4   minimally in his letters.                        4       A. But he does make the statement
     5            I know they're discussed in             5   that in addition to reporting all suspicious
     6   distributor briefings. I'm also aware of         6   orders, a distributor has a statutory
     7   some industry presentations where it makes       7   responsibility to exercise due diligence to
     8   that same statement. It was a pretty             8   avoid filling suspicious orders that may be
     9   consistent statement that the DEA was putting    9   diverted into other than legitimate medical,
    10   out, for sure after 2005 -- or 2006 letters.    10   scientific and industrial channels. Failure
    11   BY MR. BUSH:                                    11   to exercise due diligence could, as
    12       Q. I want to be really specific             12   circumstances warrant, provide a statutory
    13   about this because I think you've mushed        13   basis for revocation or suspensions of a
    14   together a whole lot of concepts here. I'm      14   distributor's registration.
    15   focused very specifically on if you do          15       Q. Right.
    16   inadequate due diligence, everything else       16       A. And although it's not exactly
    17   after that is a suspicious order. That's an     17   the same statement, I think it addresses the
    18   assumption of your application of these         18   same concept as we're discussing.
    19   methodologies. Was that --                      19       Q. It's not even close to the same
    20       A. Did you say inadequate? I'm              20   statement, is it, Mister --
    21   sorry.                                          21       A. Well, I think it is.
    22       Q. Yes, I said inadequate.                  22            MR. FULLER: Form.
    23       A. Yes, that's my assumption.               23   BY MR. BUSH:
    24       Q. And is there anyplace where              24       Q. It doesn't say anything about
    25   DEA, including the Rannazzisi letters, says     25   what flags, if you don't do adequate due
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     1   diligence on an order. That -- what you just     1   reviewed any particular orders, and I think
     2   read says nothing about that, right?             2   your answer in substance is no, you didn't
     3       A. It does not say --                        3   review any particular orders that might or
     4       Q. Okay.                                     4   might not have been suspicious.
     5       A. -- that it would flag all                 5            Is that generally true?
     6   subsequent orders, but it does say if you        6       A. That's generally true, that's
     7   don't do the due diligence, you could lose       7   my recollection is I answered that way
     8   your DEA registration.                           8   previously, too, yes, sir.
     9       Q. Have you done any calculation             9       Q. And with respect to any of the
    10   of what the impact is of the assumption that    10   orders that are flagged by these
    11   everything flags after one failure to do due    11   methodologies under your and Mr. McCann's
    12   diligence?                                      12   analysis, you don't know what happened to any
    13       A. I have not. You mean in terms            13   of the drugs that were actually shipped and
    14   of denial of controlled substances to the two   14   delivered to CVS Pharmacies?
    15   counties? Is that --                            15       A. I don't have any direct
    16       Q. Well, in terms of the number of          16   knowledge of what happened to any of the
    17   orders that are -- or the percentage of         17   drugs that were distributed to each of the
    18   orders that are flagged for each one of the     18   pharmacies. I didn't conduct any analysis as
    19   distributor defendants in this case.            19   of today that would give me that knowledge.
    20       A. In regards to?                           20       Q. And you don't know whether -- I
    21       Q. Well, say -- take a look at              21   understand that your opinion is that the due
    22   page 41.                                        22   diligence was insufficient by CVS, and we'll
    23       A. Okay.                                    23   get to that in a minute.
    24       Q. This is by dosage units, I               24            But you don't know whether any
    25   understand.                                     25   of these orders would have cleared a due
                                              Page 581                                             Page 583
     1       A. Yes.                                      1   diligence investigation that does meet your
     2       Q. But if you look at the CVS line           2   exacting standards, do you?
     3   for Cuyahoga County on page 41, you've got       3        A. Could you say that one more
     4   95.7% of the total dosage units are flagged      4   time, I'm sorry?
     5   using the trailing six-month threshold?          5        Q. I'm just saying you don't know
     6       A. I do.                                     6   whether any of the orders that are flagged
     7       Q. And you have 94% of the total             7   using your and Mr. McCann's methodologies for
     8   dosage units in Summit County that are           8   CVS would have been cleared using what you
     9   flagging, right?                                 9   would say is an adequate due diligence
    10       A. I do.                                    10   process. You haven't done that analysis.
    11       Q. And if you remove the                    11        A. So I think what you're asking,
    12   assumption that everything after one failed     12   is it a hypothetical question?
    13   due diligence effort flags, do you know what    13        Q. Yes.
    14   those numbers go down to?                       14        A. Okay.
    15       A. I do not.                                15        Q. Well, no, actually it's not.
    16       Q. You have no clue?                        16   You don't know. I'm asking you. You don't
    17       A. I have no clue.                          17   know?
    18       Q. If I told you that in Summit             18        A. Well, I guess you're asking me
    19   County they go down to 4.3% rather than 94%,    19   to assume that if CVS had an adequate due
    20   and they go down to 4.6% rather than 95% in     20   diligence system in place and they conducted
    21   Cuyahoga, would that surprise you?              21   it? Is that the question? Maybe I don't
    22       A. I wouldn't have a comment on             22   understand the question.
    23   those figures.                                  23        Q. Let's -- if you took your
    24       Q. Now, you also have testified             24   standards for a due diligence system --
    25   already a little bit about whether or not you   25        A. Okay.

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     1       Q. -- and you personally, as part            1   conclusion, but that's hypothetical, and it
     2   of your expert assignment -- I know you          2   didn't occur in this situation.
     3   weren't asked to do it -- went and looked at     3       Q. You didn't do it. You didn't
     4   each one of the orders that flagged, you         4   go try to do it?
     5   don't know today whether it would have passed    5       A. No, I couldn't do it.
     6   your own due diligence standards?                6            MR. FULLER: Hey, Mr. Court
     7       A. I didn't review any records               7       Reporter, I think all of our little --
     8   that I -- on a consistent application by CVS     8       aren't working.
     9   that would have caused that to occur.            9            MS. SWIFT: Mine is working.
    10       Q. That's a different question.             10            MR. BUSH: This one is working.
    11             I'm asking if you take your           11            (Comments off the stenographic
    12   standards and you apply it -- and you went in   12       record.)
    13   and you went back in time and you started to    13            THE VIDEOGRAPHER: Going off
    14   look at all these orders, you don't have any    14       the record, 11:21 a.m.
    15   idea whether any of these orders would have     15            (Recess taken, 11:21 a.m. to
    16   passed your exacting standards and you would    16       11:23 a.m.)
    17   have determined that they weren't suspicious?   17            THE VIDEOGRAPHER: We're back
    18             MR. FULLER: Object to the             18       on the record at 11:23 a.m.
    19       question. It is a hypothetical.             19   BY MR. BUSH:
    20       A. Yeah, I'm not sure I can answer          20       Q. Mr. Rafalski, let me ask you to
    21   that.                                           21   turn to page 96 of your report.
    22   BY MR. BUSH:                                    22            MR. FULLER: I'm sorry,
    23       Q. Well, isn't the answer no, you           23       Counsel, what page?
    24   don't know?                                     24            MR. BUSH: 96.
    25       A. No, it's not no. It's just so            25            MR. FULLER: Thank you.
                                              Page 585                                             Page 587
     1   hypothetical, I'm just not going to answer on    1   BY MR. BUSH:
     2   a hypothetical whether if I went back in time    2        Q. You got -- are you there?
     3   and applied any standards of due diligence to    3        A. Yes, sir, I am.
     4   the orders, whether or not they would be         4        Q. You see the sentence that says:
     5   cleared.                                         5   Although denied by Vernazza, it appears that
     6             I -- I don't know all of the           6   the August 25th, 2010 SOM section in the
     7   criteria necessary to make that decision. I      7   standard operating procedures was rushed into
     8   just -- it's a hypothetical question. I'm        8   place to comply with a DEA request.
     9   not going to answer it.                          9            Do you see that?
    10        Q. Haven't you just spent your             10        A. Yes, sir.
    11   report and a bunch of your testimony telling    11        Q. Who is Mr. Vernazza?
    12   us what the criteria are? What do you mean      12        A. You know, I reviewed that.
    13   you don't know what the criteria are?           13   It -- CVS employee. I don't remember his
    14        A. No, the criteria -- the                 14   exact title.
    15   information -- the distribution information,    15        Q. Were you present at his
    16   looking at the due diligence -- or the due      16   deposition?
    17   diligence files that establish the customer.    17        A. I was not.
    18   I mean, there's a whole lot of information      18        Q. What was his testimony?
    19   other than to just look at an order and apply   19        A. I don't recall.
    20   a due diligence and make a decision on it.      20        Q. Did you --
    21   It's a more complex analysis than that.         21            (Telephone interruption.)
    22             So hypothetically, in a               22   BY MR. BUSH:
    23   hypothetical world, if I went back and I did    23        Q. Did you review the testimony of
    24   all of those things, I guess there's always     24   Mr. Mortelliti on the subject of the document
    25   the possibility there could be a different      25   that you're referring to here, the

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     1   August 25th, 2010 SOM section of the standard    1   in that position?
     2   operating procedures?                            2        A. I reviewed the deposition. I
     3       A. His testimony? I'm sorry.                 3   don't have any independent recollection of
     4       Q. Yeah. Did you review his                  4   all of the -- of what you just said, but I
     5   testimony?                                       5   did review it.
     6       A. I don't -- I don't recall that.           6        Q. And do you know what the
     7   I don't think I cited it.                        7   definition of a coordinator is?
     8       Q. Did you review the testimony of           8        A. Generally speaking, yes.
     9   Mr. Devlin on that subject?                      9        Q. Give me your definition.
    10       A. I don't believe so.                      10        A. Someone that would oversee
    11       Q. So you're contradicting or               11   or -- I don't want to use the same word,
    12   expressing an opinion on the veracity of        12   coordinate, but it would oversee and direct
    13   Mr. Vernazza's testimony and you haven't        13   individuals or operations.
    14   actually read the testimony of people about     14        Q. Did you read the testimony of
    15   the same subject and you don't recall who he    15   Ms. Propatier who said that her job was to be
    16   is?                                             16   a central point of contact and keep a
    17       A. I recall the name. Exactly who           17   consolidated point of contact for all our
    18   he is, I don't recall.                          18   DCs, meaning distribution centers, to get
    19       Q. Okay.                                    19   information to support them? Did you read
    20       A. And my opinion is also based on          20   that testimony? It's not referred to in your
    21   the document, but your correct statement on     21   report.
    22   the -- I don't cite the deposition testimony,   22        A. I know it's not referred to.
    23   and I don't have an independent recollection    23   I'm trying to have -- I don't have an
    24   I reviewed it.                                  24   independent recollection that I did.
    25       Q. Let me ask you -- let me find            25        Q. And did you read the testimony
                                              Page 589                                            Page 591
     1   this here. Give me a sec.                        1   of any of the people -- let's say Dean
     2             So take a look at the top of           2   Vanelli who worked with her about what he
     3   page 97, where you refer to the testimony of     3   thought she was doing?
     4   Amy Propatier. You see where I'm reading?        4       A. If I didn't cite it, I'm not
     5   You see where it's referred to, the very top     5   sure that I reviewed it.
     6   of page 97?                                      6       Q. Okay. And that would be true
     7        A. Yes.                                     7   of any of the other CVS employees who
     8        Q. It says: The testimony of Amy            8   testified about what they thought Amy
     9   Propatier who admitted that she was listed as    9   Propatier's job was?
    10   the CVS DEA compliance coordinator in the       10       A. I did not review every
    11   Controlled Drug - DEA Standard Operating        11   deposition from CVS.
    12   Procedures Manuals, but that title was only     12       Q. Do you remember any other
    13   for reference in the standard operating         13   deposition that you reviewed from a CVS
    14   procedures and was not her real job position.   14   person on the subject of Amy Propatier's job
    15             Do you see that?                      15   functions?
    16        A. Yes.                                    16       A. I do not have any independent
    17        Q. Why was -- first of all, why is         17   recollection of that.
    18   that important to you?                          18       Q. Do you think that it is
    19        A. Well, I think it's indicative           19   inevitable that every distributor will have
    20   of the overall compliance program in place,     20   some suspicious orders that should be
    21   if she's just in an important position just     21   reported to DEA?
    22   in title and she's not functioning in that      22       A. No, I don't think it's
    23   position.                                       23   inevitable.
    24        Q. Did you read any of the                 24       Q. Okay.
    25   testimony about what she was actually doing     25       A. I draw that conclusion from my
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     1   experience, and again, it's -- I think it's      1   they had thrown them out because they were
     2   highly dependent on the vetting of customers     2   way more than three years old?
     3   before you come on, the scope of your            3       A. I have a recollection of that
     4   business and the type of your business.          4   general testimony --
     5            So I could easily see some              5       Q. Okay.
     6   business scenarios where it would be a low,      6       A. -- that they couldn't be
     7   very low possibility a suspicious order would    7   produced, but he said that that -- not
     8   occur.                                           8   agreeing exactly that's what he said, but he
     9        Q. So let me ask you to take a              9   did say that he reviewed them, initialled
    10   look at your page -- I think it's 104. Let's    10   them and then sent them out, and none of them
    11   go there together. Maybe it's not. Hold on.     11   could be disclosed. I do have a recollection
    12   I'm just going to move on with this, except,    12   of that.
    13   I think you may remember it yourself, but at    13       Q. Okay. So the inability to
    14   some point you say that the increase in the     14   disclose the due diligence records, at least
    15   prescription opioids without any due            15   during the time that he was there, is because
    16   diligence documentary basis is indicative of    16   they were being asked for, let's see, some
    17   a failure to maintain effective control         17   times in 2018, which is nine or ten years
    18   against diversion.                              18   after he was actually creating them?
    19            Is that --                             19       A. Okay.
    20        A. Read that one more time, I'm            20       Q. Okay. And that's the basis for
    21   sorry.                                          21   your conclusion that he actually didn't
    22        Q. Yeah. The increase in                   22   conduct adequate due diligence?
    23   prescription opioids without any due            23       A. That's one of the actions. I
    24   diligence documentary basis is indicative of    24   think it was the -- my opinion is also based
    25   a failure to maintain effective control         25   on the fact that -- I don't think there's any
                                              Page 593                                             Page 595
     1   against diversion.                               1   kind of documentation that would indicate
     2            That was -- I'm sorry, it's not         2   that occurred independent of what he said.
     3   where I thought it was in here, which is why     3       Q. So let's talk a little bit
     4   I'm not showing it to you.                       4   about the .15 to .65, the subject that you've
     5       A. I don't think I would make that           5   already mentioned once.
     6   statement, but if it's in my report, if you      6       A. Okay. Yes.
     7   could point it out to me.                        7       Q. In that context, didn't
     8       Q. Yeah. Well, here's -- I'm not             8   Mr. Mortelliti testify that he consulted with
     9   going to do that just because of the             9   field loss prevention people who were being
    10   shortness of time, but what I do want to talk   10   asked to review orders that he was sending
    11   about is documentary basis, which you've        11   out for further investigation?
    12   talked about with some other people.            12       A. I believe there was a -- some
    13            But did you read the testimony         13   limited communication.
    14   of John Mortelliti about his explanation for    14       Q. How do you know it was limited?
    15   the absence of his due diligence records?       15   What's the basis for that conclusion?
    16       A. Yes, I believe, but can I --             16       A. All that I could find was
    17       Q. Let me refresh your                      17   limited. It wasn't extensive. I believe I
    18   recollection if --                              18   have a recollection that there was a
    19       A. Well, let me look -- go ahead.           19   communication or there was some
    20       Q. Do you recall that he testified          20   communication, but not to the level of the
    21   that he kept notes on the IRRs for each IRR     21   number of IRRs that were distributed out to
    22   that he reviewed, and that he kept them in      22   the field.
    23   his office, and then when people asked for      23       Q. But the fact that
    24   them in this case, he went to try and find      24   Mr. Mortelliti was consulting with them in
    25   them, and people at his facility said that      25   connection with trying to calibrate the score
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     1   suggests, does it not, that there was active     1   the main concern in regards to my opinion.
     2   communication because they didn't want to        2   It's the fact that they would be distributed
     3   have to review orders that were false            3   to CVS pharmacies and the accountability or
     4   positives?                                       4   the suspicious order system doesn't account
     5       A. I don't remember the                      5   for them.
     6   conversation exactly on that context.            6             And CVS is aware that their
     7       Q. Okay. I'm going to ask you                7   pharmacies are receiving those additional
     8   about another subject here.                      8   same controlled substances, and my opinion
     9            You remember that you've                9   says that they have a responsibility to
    10   expressed an opinion about outside vendor       10   account for those controlled substances.
    11   orders in the CVS SOM system?                   11        Q. And my question is whether you
    12       A. I did. Any particular page               12   know what the order of magnitude was of the
    13   that --                                         13   shipments that came from Cardinal and whether
    14       Q. Yeah. I'm going to ask you to            14   it made a difference.
    15   take a look at page 106, assuming my            15        A. Well, that's, I think, a double
    16   references here are better than they were       16   question.
    17   before.                                         17        Q. It is.
    18            So if you take a look at the           18             MR. FULLER: Object to form
    19   second full paragraph, you say that the IRRs    19        then.
    20   had some specific problems that fit within      20        A. The first answer I would say
    21   the time periods below, but it also had one     21   is -- I don't know the answer to the first
    22   overarching issue that continued from           22   part of your question, but the second part of
    23   mid-2009 to March 2014 - when performing the    23   your question, if it was one bottle, it would
    24   calculation of whether the order was            24   be of concern to me. Because it just
    25   suspicious, the IRRs did not consider orders    25   fails -- so -- if they could receive one
                                              Page 597                                             Page 599
     1   delivered to CVS pharmacies by outside           1   bottle, they could receive a thousand
     2   vendors.                                         2   bottles, and if you don't monitor that or
     3       A. That's correct.                           3   incorporate that in your suspicious order
     4       Q. Okay. And an outside vendor in            4   system, the amount of what they receive
     5   this context is some distributor other than      5   doesn't matter to me. It's just that they
     6   CVS?                                             6   receive them and they're unaccounted for.
     7       A. That's correct.                           7   BY MR. BUSH:
     8       Q. And do you know who that                  8       Q. But if you receive -- you don't
     9   distributor was in the Track 1 jurisdictions?    9   know whether they ever received a thousand
    10       A. I believe I -- it's in my                10   bottles from Cardinal?
    11   report somewhere.                               11       A. No, that was just a
    12       Q. Well, let me suggest to you              12   hypothetical or just to show the differences,
    13   that it's Cardinal.                             13   the amount doesn't matter. It's the fact
    14       A. I believe it is, but I didn't            14   that they weren't monitoring that.
    15   want to guess.                                  15       Q. And if the amounts were trivial
    16       Q. All right. And do you have any           16   or were consistent over time, it wouldn't
    17   information whatsoever about what the amount    17   have made any difference in the SOM system,
    18   of the orders was that was received by CVS      18   would it?
    19   pharmacies in the Track 1 jurisdictions from    19       A. I think it does make a
    20   Cardinal?                                       20   difference because you don't account for it.
    21       A. Well, the amounts wouldn't be            21   And the possibility that it could be a
    22   of any concern -- well, I shouldn't say of      22   thousand exists and you wouldn't account for
    23   any concern.                                    23   it. So I don't agree with that statement.
    24             The amounts or the total              24       Q. But if the possibility that it
    25   amounts distributed to each pharmacy isn't      25   could be a thousand never occurred, then it
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     1   wouldn't have mattered in your hypothetical.     1        A. Based on the conflicts with his
     2            Would you agree with me on              2   testimony compared to other witnesses.
     3   that?                                            3        Q. And one of the items you cite
     4            It's a risk of -- maybe we can          4   is that he testified he'd contact the loss
     5   grant you that, but if the risk never came       5   prevention manager and pharmacy manager of
     6   home to roost, then it doesn't matter, but       6   the distribution center and freeze all orders
     7   you don't know that.                             7   for HCP that flagged.
     8       A. Well, that's it. The concept              8            Do you see that?
     9   of why we're not agreeing on this is the         9        A. Yes, sir.
    10   suspicious order system and the effectiveness   10        Q. And you then say that one of
    11   of it and the due diligence is all based on     11   the loss prevention managers at the
    12   the risk of diversion. It doesn't mean that     12   Indianapolis distribution center told the DEA
    13   diversion is going to occur. Just based on      13   that he had never received a call from John
    14   the serious risk, and that's what makes it a    14   Mortelliti, right?
    15   maintenance of effective controls requirement   15        A. That's correct.
    16   by the law.                                     16        Q. But we don't know whether or
    17       Q. All right. Take a look at                17   not John Mortelliti called the pharmacy
    18   page 108. So this -- I want to direct your      18   manager or someone else, do we?
    19   attention to the top of page 108. You say:      19        A. We don't.
    20   Mortelliti testified that while he was          20        Q. You don't know that.
    21   reviewing the IRR, every HCP order that         21            And you don't know whether or
    22   appeared on the IRR was referred out for        22   not the orders were, in fact, frozen until
    23   additional investigation which he believed      23   they were evaluated, do you?
    24   was necessary.                                  24        A. I don't know that.
    25            With me so far?                        25        Q. You also, second, say that
                                             Page 601                                              Page 603
     1       A. I do. That was part of his                1   there are no documents that support this, and
     2   deposition, yes, sir.                            2   further, that I have been informed that the
     3       Q. And then down a couple of                 3   only documents that indicate any
     4   sentences later, it begins: Significant          4   investigation was ever done by VIPER analysts
     5   evidence exists that calls into question the     5   are the IRR.
     6   accuracy of Mortelliti's statement.              6            You see that?
     7            Do you see that?                        7        A. Yes, sir.
     8       A. Yes, sir.                                 8        Q. Who informed you?
     9       Q. So, first of all, you are, as             9        A. Well, the documents informed
    10   an expert here, expressing an opinion on what   10   me, but I think that's one of the areas where
    11   the evidence shows in the case.                 11   I was provided the information and I reviewed
    12            Do you agree with me?                  12   it and confirmed it.
    13       A. I just think it says the                 13        Q. Do you remember what the
    14   evidence exists that calls into question. I     14   information was that you were provided that
    15   think it questions the evidence because         15   led you to that conclusion?
    16   there's conflicting statements.                 16            (Telephone interruption.)
    17       Q. So you're evaluating the                 17        A. I believe I was verbally
    18   evidence?                                       18   informed, and then I believe, if my
    19       A. I'm not evaluating the                   19   recollection is correct, I reviewed some IRR
    20   evidence. I'm evaluating the veracity of        20   recaps, and there's only a small number of
    21   Mr. Mortelliti's statement --                   21   IRR recaps. I believe that's the basis for
    22       Q. Mortelliti.                              22   that statement.
    23       A. Okay. Mortelliti.                        23        Q. And you don't cite anything in
    24       Q. You're evaluating the veracity           24   a footnote to support that particular
    25   of his statement?                               25   sentence that I just --

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     1        A. There is no cite here, no, sir.          1   well, did you understand from what you
     2        Q. Okay. Now, you mentioned the             2   reviewed that CVS was addressing that issue?
     3   IRR recaps. Do you remember the time period      3        A. Well, I believe Mr. Mortelliti
     4   that the IRR recaps existed that you're          4   said that he was going back and researching
     5   referring to?                                    5   records and entering the data, but the
     6        A. I do not, but I could review my          6   question I would have is why they still were
     7   report. It may indicate to you.                  7   all zeros in the records that I reviewed, if
     8        Q. Well, let me suggest to you              8   that answers your question.
     9   it's in the first three months of 2011.          9        Q. No, that doesn't exactly answer
    10             Did you review any of the             10   my question.
    11   testimony to determine whether Mr. Mortelliti   11            Do you understand that steps
    12   was, in fact, reviewing IRRs in the first       12   were being taken to include or to report
    13   three months of 2011?                           13   shipments on the IRR by active ingredient to
    14        A. I believe there was testimony           14   change the Buzzeo system so that it worked by
    15   that that is a true statement.                  15   active ingredient?
    16        Q. Do you remember what it was?            16        A. I don't have a direct
    17        A. That he was reviewing the IRRs.         17   recollection of that.
    18        Q. Whose testimony?                        18        Q. Okay. Now, you did refer to
    19        A. I believe it might have been            19   what Mr. Mortelliti said he was able to do,
    20   his, but just from recollection of reviewing    20   but it don't sound like you have the clearest
    21   his deposition.                                 21   recollection of what he said he was able to
    22        Q. Did you review -- I'm sorry.            22   do.
    23             Did you review anybody else's         23            You want to try and --
    24   testimony on the subject?                       24        A. Well, I think he was going back
    25        A. I don't believe so, no, sir.            25   and re -- he was reentering the data or --
                                             Page 605                                              Page 607
     1       Q. Did you review any of the                 1   that's my recollection. There was some -- he
     2   documents that showed that there were some       2   was taking some action to try to correct the
     3   analysts who were hired at the beginning of      3   missing data.
     4   the year who were reviewing -- beginning of      4       Q. Okay. Do you recall that he
     5   2011 who were reviewing IRRs?                    5   went back and reviewed all the IRR reports
     6       A. At this time, I don't have a              6   that he had that had the data on them so that
     7   direct recollection of that.                     7   he could fill in the blanks?
     8       Q. Okay. So let's take a look at             8       A. I do, and that's what I thought
     9   the -- on the same page, 108, Algorithm Not      9   I said, but then when I looked at all of
    10   Functioning Correctly - Loses Historical        10   these forms and they all had zeros, the
    11   Data - Active Ingredient, that subject?         11   blanks weren't filled in, so I'm not sure why
    12       A. Yes.                                     12   the zeros would appear. But I didn't have a
    13       Q. Now, that's part of your                 13   chance to ask Mr. Mortelliti why that would
    14   opinion that the CVS SOM system was -- I        14   be.
    15   don't want to put words in your mouth, but      15       Q. Well, I don't think he said
    16   inadequate?                                     16   that they were filled in, but even if they
    17       A. Yes. So I actually looked at a           17   were, it would be on the records that he
    18   considerable volume of those IRRs and           18   kept, which no longer exist.
    19   observed that the data for the last three to    19       A. Well, I can't speak to that.
    20   four months was wiped off and it was only       20   But all I --
    21   zeros, which would affect the calculation or    21       Q. All right.
    22   the scoring that would be done. I started to    22       A. All my opinion was based on was
    23   actually do a list of them, but they're so      23   that it was -- that there were decisions
    24   extensive, I didn't conclude.                   24   being made on those specific IRRs and the
    25       Q. And you understand from --               25   algorithm was -- had zeros in there. So I
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     1   couldn't draw a conclusion that there would      1            MR. BUSH: 26, yeah.
     2   be a recalculation if the proper data was        2            MR. FULLER: Thank you.
     3   entered in them.                                 3   BY MR. BUSH:
     4       Q. What was the effect of the loss           4       Q. Is this at least part of an IRR
     5   of order history? More flags or fewer flags?     5   that's similar to ones that you reviewed?
     6       A. I believe that -- and it's a              6       A. Yes, sir.
     7   very complex -- before I make a comment on       7       Q. Can you take a look at the last
     8   that, it's a pretty complex algorithm, and it    8   page of the document?
     9   takes into effect some binary calculations       9       A. Yes, sir.
    10   and different ratios and odds. But I would      10       Q. Okay. Can you tell me -- let's
    11   say if the zeros appeared, it would probably    11   walk through this.
    12   increase the score of the system, just based    12       A. Which particular order?
    13   on my attempted analysis of it.                 13       Q. Let's pick the first one,
    14       Q. And do you recall that that's            14   store, what's that?
    15   what Mr. Mortelliti testified, that it          15       A. That's the store number, 3306.
    16   actually increased the number of flags that     16       Q. And what is that?
    17   he had to review and the loss prevention        17       A. That's the store number of the
    18   people had to review?                           18   CVS store, store number 3306.
    19       A. Yes, but I went in and tried to          19       Q. That's doing what?
    20   see if that was actually accurate, and I        20       A. It's telling CVS which physical
    21   believe by looking at the algorithm, that is    21   location it is.
    22   probably an accurate statement.                 22       Q. This is the store that's
    23       Q. An accurate or inaccurate?               23   ordered the drugs, right?
    24       A. An accurate.                             24       A. Well, yes. I thought you meant
    25       Q. Okay.                                    25   like --
                                             Page 609                                              Page 611
     1       A. I could explain to you why I              1      Q.      What's the next number?
     2   drew that conclusion, or...                      2      A.      I don't know.
     3       Q. No.                                       3            MR. FULLER: Form.
     4       A. Okay.                                     4   BY MR. BUSH:
     5       Q. That's fine. What are we up to            5       Q. What's the SOM key?
     6   here, 26?                                        6       A. So there's a combination of
     7           (Whereupon, Deposition Exhibit           7   numbers here, just so I can make a
     8       Rafalski-26, Consumer Value Stores IRR       8   clarification. So there's a number, a
     9       Report, CVS-MDLT1-000100763 -                9   six-digit number that's -- I don't know what
    10       CVS-MDLT1-000100768, was marked for         10   that would be. It's possible it's an order
    11       identification.)                            11   number. But the last number is a 7, and the
    12   BY MR. BUSH:                                    12   7.5/200-milligram, that's the strength of the
    13       Q. Let me show you what's been              13   drug.
    14   marked as Exhibit 26.                           14       Q. Okay.
    15           MR. BUSH: My apologies, I gave          15       A. It's kind of under the SOM key
    16       you -- actually, give that to him. I        16   field.
    17       need this.                                  17       Q. Uh-huh.
    18           MR. FULLER: Indian giver.               18       A. Okay.
    19   BY MR. BUSH:                                    19       Q. It's hydrocodone?
    20       Q. I gave you one that has a                20       A. Yes.
    21   highlight or two on it, but I put that on       21       Q. What's the item number?
    22   there.                                          22       A. 353756, and my experience would
    23       A. Okay.                                    23   indicate to me that that's an item number
    24           MR. FULLER: I'm sorry, what             24   that's assigned to it by the CVS corporation.
    25       number is this, 26?                         25       Q. Okay. Let's skip over a little
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     1   bit to bill quantity. What's that?                1   opinion on whether or not this algorithm was
     2        A. That's the billing quantity.              2   an adequate or an inadequate algorithm for
     3   That's the order that -- or the amount that's     3   purposes of flagging orders that might be
     4   billed internally to CVS and the quantity is      4   suspicious?
     5   five, so it would be five bottles.                5       A. I have an opinion that it's
     6        Q. Okay. And the unit of measure             6   inadequate.
     7   is what?                                          7       Q. And -- okay. What's the basis
     8        A. A hundred dosage units in a               8   for that opinion?
     9   bottle.                                           9       A. Because according to
    10        Q. Okay. And the extended                   10   Mr. Mortelliti, it isn't working.
    11   quantity is?                                     11       Q. You're talking about because of
    12        A. 500.                                     12   the loss of order history?
    13        Q. Which is the --                          13       A. No, I'm talking about there
    14        A. That's the total number of               14   seems to be a problem because it's generating
    15   dosage units. It calculates the five bottles     15   so many orders. There's not a confirmation
    16   at 100 a bottle.                                 16   that I was able to find if it's generating
    17        Q. All right. What is -- going              17   too many suspicious orders that are
    18   down to the next line, what does Drug 1          18   suspicious, but it would indicate that this
    19   signify?                                         19   system is generating so many orders that
    20        A. Well, we would have to go back           20   Mortelliti, in his testimony, is asking for
    21   to the chart, but I believe that signifies a     21   help because he doesn't believe it's working
    22   hydrocodone product, but I'm not exactly         22   effectively.
    23   sure. I don't think that information is          23            So the issue why that would be
    24   provided here.                                   24   bad as far as for a suspicious order system
    25        Q. All right. And what's binary             25   or maintenance of effective controls is when
                                               Page 613                                             Page 615
     1   day?                                              1   it's defective and it generates a high volume
     2        A. If I look back at the sheet               2   of orders, there is the potential among those
     3   prior, it describes binary day, it's an           3   that there are real suspicious orders.
     4   indicator that detects if the GNC is subject      4        Q. So you agree that it was a good
     5   to frequent ordering. Possible values,            5   thing for CVS to be trying to recalibrate the
     6   one -- this is a binary calculation. One, if      6   scoring system so that it was not generating
     7   five days or less has passed since the last       7   so many false positives?
     8   order. Zero for orders six days or more.          8        A. So I'm going to say that
     9             And then the interpretation,            9   something definitely needed -- had to be done
    10   the frequent ordering of a controlled            10   to fix the system, but I'm not going to agree
    11   substance could indicate suspicious behavior.    11   that just recalibrate it in the manner that
    12   And then the model weight, I believe that        12   occurred was the proper thing to do.
    13   that's an assignment that was -- or a value      13        Q. All right. Are you a
    14   that was assigned in doing a calculation in      14   statistician?
    15   looking at the probability of diversion.         15        A. I am not.
    16        Q. So if I take you through all             16        Q. Do you have any idea how an
    17   the rest of the headings on this line, would     17   algorithm works?
    18   it be fair to say that you're going to look      18        A. Somewhat. I've -- I used -- I
    19   at the front page and read what it says on it    19   was a math major for a while, so...
    20   for what that factor is and how it was used?     20        Q. Can you go in and -- could you
    21        A. I think that's a good                    21   have gone in and evaluated the algorithm that
    22   assumption. I haven't memorized these, but I     22   was used by Buzzeo and reached an opinion on
    23   have spent some time trying to understand and    23   whether or not it was adequate to flag orders
    24   analyze this system.                             24   for review?
    25        Q. And you've not reached an                25        A. Not without a system --

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     1   assistance from a computer programmer,           1   retunement where the factors were adjusted?
     2   because I think it would take a -- I tried to    2   You've made no calculations along those
     3   do it longhand and I could not, so I think it    3   lines, have you?
     4   would take a computer programmer. But if I       4       A. Well, in forming my opinion, I
     5   had one with me and I could tell him exactly     5   saw some communications where
     6   what I wanted to do, I think it's possible I     6   Mr. Mortelliti -- I'm going to say his name
     7   could recreate it.                               7   wrong, I'm sorry -- where he was advised by
     8       Q. In any event, you haven't done            8   Buzzeo that if he was to adjust the score, he
     9   it?                                              9   should run some analysis and do some
    10       A. I have not. I have not been              10   documentation to show that by just raising
    11   able to do it and I tried.                      11   the score it didn't change the results or
    12       Q. And you have no opinion on               12   stop the identification of suspicious orders.
    13   whether or not -- well, I guess you said you    13   And I failed. I looked and I failed to find
    14   do have an opinion.                             14   any of that documentation that that actually
    15            So why do you have an opinion          15   occurred.
    16   other than that it was flagging too many        16       Q. You saw that in the e-mails
    17   orders? Is there any other basis for your       17   where he was actually running -- or asking IT
    18   opinion that the algorithm itself didn't        18   to run the recalibrations, right?
    19   work?                                           19       A. I saw that.
    20       A. Well, when I -- I think it was           20       Q. Right.
    21   confusing to the employees. I think when        21       A. But that doesn't answer the
    22   they look at an IRR, I don't think they         22   question on whether or not the system is
    23   understood it, and I also think they relied     23   effective. So when the system would generate
    24   on just the data on the IRR, and I think this   24   suspicious orders, it would be the subsequent
    25   was only just the trigger for a suspicious      25   due diligence that would indicate, yes, we
                                              Page 617                                             Page 619
     1   order, and I don't think that they even          1   have it right because this is a suspicious
     2   understood what the trigger was, what was        2   order, or it's still generating orders that
     3   causing it, when they -- when this system put    3   aren't suspicious.
     4   the three different size, frequency and          4             And the other potential problem
     5   pattern into one calculation, my recollection    5   is that with -- because all of this
     6   is, is that was confusing to the employees.      6   algorithm, complex algorithm, is based on
     7        Q. That seems to me to be talking           7   model weights that by raising the score, it
     8   about what the employees did with the IRR,       8   doesn't fix the problem because if it's
     9   and I'm asking you whether or not the IRR        9   generating too many suspicious orders,
    10   itself, the algorithm that produces the IRR,    10   there's a problem in the design.
    11   was inadequate for -- in any basis -- for any   11             I think there was one -- I
    12   basis other than the period when it was         12   remember reading either a deposition or a
    13   flagging too many orders.                       13   communication where there was a -- one of the
    14        A. I think it was inadequate when          14   issues that they believe was the problem was
    15   the score was raised without taking into        15   the first order of a new drug might cause a
    16   consideration the model weights, and I know     16   trigger, and I think that's one of the things
    17   that there was a subsequent change that         17   that Mr. Buzzeo corrected on subsequent
    18   eventually Buzzeo did where he added some       18   system.
    19   attributes and he adjusted the model weights.   19             MR. BUSH: When did I start?
    20   So there was some attempt at correction,        20             MR. FULLER: Plenty of time.
    21   so...                                           21             (Comments off the stenographic
    22        Q. And you've done no -- made no           22        record.)
    23   effort to calculate how many orders were        23   BY MR. BUSH:
    24   flagged before it was recalibrated, how many    24        Q. I'm going to jump to another
    25   orders were flagged after the so-called         25   page here, if I can ask you to take a look at

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     1   PDF 111 -- I'm sorry, 111.                       1      Rafalski-27, Consumer Value Stores IRR
     2            MR. FULLER: Are we done with            2      Report, CVS-MDLT1-000100672 -
     3       that exhibit?                                3      CVS-MDLT1-000100757, was marked for
     4            MR. BUSH: Maybe. Maybe.                 4      identification.)
     5            MR. FULLER: Okay.                       5   BY MR. BUSH:
     6       A. I'm on page 111, sir.                     6      Q. So I'm going to show you what's
     7   BY MR. BUSH:                                     7   been marked as Exhibit 27, which is an IRR
     8       Q. Yeah. And I direct your                   8   from -- I can't even read the damn thing.
     9   attention to sub -- or paragraph (c), less       9           MR. FULLER: Wrong glasses.
    10   than 5%?                                        10           MR. BUSH: Yeah, wrong glasses.
    11       A. Okay.                                    11   BY MR. BUSH:
    12       Q. And here you're talking about            12      Q. From August 30th, 2013.
    13   Gary Millikan and you say that he said he       13           MR. FULLER: Glad you're not
    14   probably reviewed less than 5% of all flagged   14      showing it to me then.
    15   orders. That's generally the subject matter     15           MR. BUSH: Look over his
    16   of that paragraph, right?                       16      shoulder. Better than I can do.
    17       A. It is, based on his deposition.          17           MR. FULLER: You don't have any
    18       Q. And by the way, the IRR                  18      other copies, right?
    19   includes more than just hydrocodone, right?     19           MR. BUSH: No, I don't, sorry.
    20       A. Yes, sir.                                20      A. August 30th, 2013, yes, sir.
    21       Q. Hydrocodone products?                    21   BY MR. BUSH:
    22       A. Yes, sir.                                22      Q. Okay. And I'd like to direct
    23       Q. And did you review his                   23   your attention to the -- I guess it's the
    24   testimony? You cite some of his testimony on    24   Bates page 10693. It's probably where that
    25   footnote 476 and 477, but do you recall         25   blue tab is, I'm just guessing.
                                              Page 621                                            Page 623
     1   reviewing his testimony about reviewing 5% of    1       A. It is. Back side.
     2   the orders, estimating that he reviewed 5% of    2       Q. All right. And there is an
     3   the orders?                                      3   order on there that Mr. Millikan said he
     4        A. Yes, sir.                                4   could look at that order and look at the data
     5        Q. Okay. Do you also recall his             5   on the IRR and determine that it did not need
     6   testimony looking at specific IRRs about why     6   any further investigation. He could
     7   he could determine from the IRR that no          7   determine it was not a suspicious order and
     8   further investigation was necessary?             8   did not need to be reported to the DEA.
     9        A. I have a recollection of that            9            And -- let me look over your
    10   being in his deposition, but --                 10   shoulder here. Right. That's it.
    11        Q. Do you recall what he said?             11            Do you have --
    12        A. No, I do not.                           12            (Interruption by the
    13        Q. But you disagreed with him,             13       videographer.)
    14   right?                                          14            MR. FULLER: He was just
    15        A. Well, I think that was one of           15       telling me I'm in the shot, but since
    16   the concerns that -- just looking at the data   16       we only have one copy.
    17   contained in the IRR and being that it was      17            MR. BUSH: That's fine.
    18   a -- combined with all three, I'm not really    18            MR. FULLER: Thanks.
    19   sure that it was sufficient to just look at     19   BY MR. BUSH:
    20   the IRR and make a decision on a suspicious     20       Q. Do you disagree with that?
    21   order.                                          21            MR. FULLER: Form. If you want
    22        Q. Apologies, but I only have one          22       to show him the testimony.
    23   of these, so I'm going to show it to you and    23            MR. BUSH: I'm trying to get
    24   ask you some questions about it.                24       through.
    25            (Whereupon, Deposition Exhibit         25            MR. FULLER: I understand.
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     1        A. I really don't have sufficient            1            THE VIDEOGRAPHER: Back on the
     2   information to make an opinion on that.           2       record at 12:07 p.m.
     3   BY MR. BUSH:                                      3   BY MR. BUSH:
     4        Q. All right. Take a look at                 4       Q. Just one or maybe two
     5   page 10696, and there's an order there.           5   questions.
     6   Mr. Millikan testified similarly that he          6            Going back to your testimony
     7   could look at that and see that there was no      7   when I was asking you about any basis you had
     8   need for any further investigation beyond         8   for concluding that -- withdrawn.
     9   looking at the data on the IRR.                   9            I was asking you about whether
    10             Do you disagree with that?             10   any of the methodologies that you have used
    11             MR. FULLER: Same objection.            11   here, as they were actually used by any
    12        A. Well, the score is below the             12   registrant, had the feature that once a --
    13   reporting amount so I don't think it's a         13   once an order was triggered, if there was
    14   suspicious order.                                14   inadequate due diligence, that everything
    15   BY MR. BUSH:                                     15   else after that flagged.
    16        Q. What's the score?                        16            And specifically I was asking
    17        A. .06.                                     17   you whether there was anything that you could
    18        Q. Okay. Why was it reported on             18   point to that DEA had ever said that
    19   the IRR?                                         19   suggested that was the way it works.
    20        A. Could be a problem why the               20            And the only thing you pointed
    21   system was flawed.                               21   me to is one of the Rannazzisi letters. Is
    22        Q. Got it. But you don't disagree           22   there anything else?
    23   with him that he could tell from -- it was on    23       A. I stopped there. I'm pretty
    24   the IRR. He looked at it, said that he could     24   confident if I looked -- if you'd like me to,
    25   tell that it didn't need to be further           25   I could look up the 2007 letter and I believe
                                               Page 625                                             Page 627
     1   investigated because, from the data on it, it     1   it also will make the same statement.
     2   was not a suspicious order?                       2        Q. Anything else? I'm not going
     3        A. Maybe he just looked at the               3   to ask you to do that, but I know what that
     4   score.                                            4   letter says.
     5        Q. Actually, what he said was that           5        A. I believe it was consistently
     6   it's one bottle. What am I supposed to do,        6   provided to registrants in training. I'm
     7   call the pharmacy and say you've ordered one      7   confident without having it in front, I could
     8   bottle? It's too much?                            8   get it out, the Houston training conference
     9        A. No, I agree with that                     9   that we had discussed earlier for Mr. Mapes,
    10   statement. But the score didn't -- shouldn't     10   I believe there was a statement in regards to
    11   have even triggered it for a review, so I        11   continuing to ship suspicious orders. So
    12   don't -- I don't know if that was his            12   those are a few of the instances.
    13   testimony that you characterized, but...         13            If CVS had a distributor
    14        Q. Okay.                                    14   briefing, and I don't have a direct
    15             MS. SWIFT: I'm sorry to                15   recollection if they did or not, they would
    16        interrupt, but I'll just note that the      16   have had that same information provided to
    17        phone has been disconnected again.          17   them.
    18             MR. BUSH: Let's go off the             18        Q. And just to be clear, because I
    19        record for a second, and I may be           19   just want to make sure I understand what
    20        pretty much done so that I don't            20   you're saying, that the information that
    21        offend any of my colleagues.                21   registrants would have gotten was that if
    22             THE VIDEOGRAPHER: Going off            22   they did not have an effective system, SOM
    23        the record, 12:05 p.m.                      23   system, in place, they could lose their
    24             (Recess taken, 12:05 p.m. to           24   license?
    25        12:07 p.m.)                                 25            MR. FULLER: Object to form,
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     1       misstates prior testimony.                    1       12:52 p.m.)
     2   BY MR. BUSH:                                      2            THE VIDEOGRAPHER: We're back
     3       Q. Or was it something else?                  3       on the record at 12:52 p.m.
     4       A. Yes.                                       4              EXAMINATION
     5       Q. I'm just asking, what is the               5   BY MR. O'CONNOR:
     6   something else?                                   6       Q. Mr. Rafalski, good afternoon.
     7       A. I think it -- I think -- and I             7   I'm Andrew O'Connor.
     8   could read this statement again for you out       8       A. Good afternoon, Mr. O'Connor.
     9   of the 2006.                                      9       Q. I represent Mallinckrodt in
    10       Q. No, you don't need to do that.            10   this case. I'll be asking you some questions
    11       A. I believe it said if a system             11   on behalf of manufacturers as well as
    12   identifies a suspicious order and you            12   Mallinckrodt in particular.
    13   continue to ship that order without              13            Mr. Rafalski, would you agree
    14   dispelling the potential for diversion, then     14   that manufacturers primarily sell to
    15   that act could lead to the removal of your       15   wholesale distributors?
    16   DEA registration.                                16       A. My experience as a DEA
    17       Q. All right.                                17   investigator would agree to that statement,
    18       A. So --                                     18   but I would add that there's nothing that
    19       Q. That's the same -- sorry.                 19   would restrict a distributor from
    20       A. -- under -- and so that removal           20   distributing any of their products to other
    21   would be as a result of maintenance to           21   registrants based on their corresponding --
    22   maintain effective controls to prevent           22   I'm drawing a blank on the name of it --
    23   diversion.                                       23   coincidental activities in the CFR, so they
    24            Then the conclusion would be if         24   could be a distributor.
    25   you don't dispel diversion, all the              25            So, yes, that's predominantly
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     1   subsequent orders could also be diversion         1   what they distribute, but that doesn't mean
     2   because you have no knowledge because you did     2   exclusively, just...
     3   no due diligence.                                 3       Q. Fair enough.
     4       Q. But none of the letters or any             4            So in that situation that you
     5   of the other references that you just gave me     5   described was the predominant situation, when
     6   actually have that last piece in it, right?       6   a manufacturer is selling to a distributor,
     7       A. They don't specifically say                7   the distributor places an order with the
     8   that.                                             8   manufacturer in those circumstances, right?
     9            MR. BUSH: Okay. I am going to            9       A. Yes, sir.
    10       conclude. I'm going to make the same         10       Q. Okay. And the manufacturer
    11       statement that others have made that I       11   ships product to the distributor?
    12       was not able to get through everything       12       A. That's correct.
    13       that I would like to have covered with       13       Q. Now, in your report you
    14       you. You have extensive opinions and         14   describe five suspicious order methodologies,
    15       have covered a lot of different ground       15   correct?
    16       related to CVS's SOM system, but in          16       A. I do.
    17       light of the shortness of time, I'm          17       Q. But your report does not apply
    18       going to conclude here, but I'm              18   any of those five methodologies to orders
    19       reserving my right to come back and          19   submitted by distributors to manufacturers,
    20       ask further questions.                       20   correct?
    21            THE WITNESS: It's been a                21       A. That's correct.
    22       pleasure. Nice to meet you.                  22       Q. And so your report doesn't
    23            THE VIDEOGRAPHER: Going off             23   identify any orders received by a
    24       the record at 12:10 p.m.                     24   manufacturer that were suspicious, correct?
    25            (Recess taken, 12:10 p.m. to            25       A. I don't think that it says

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     1   that. It's just that I wasn't tasked to          1            (Document review.)
     2   provide that methodology in regards to           2       A. I don't believe so, no, sir.
     3   manufacturers at this time.                      3   BY MR. O'CONNOR:
     4       Q. I understand. But your report             4       Q. Okay. And at trial, do you
     5   doesn't identify any suspicious orders that      5   intend to offer any opinion regarding whether
     6   were submitted by distributors to                6   any particular order submitted to a
     7   manufacturers.                                   7   manufacturer was suspicious?
     8       A. My report would only identify             8       A. If I'm requested to do that
     9   those orders that the manufacturers have         9   analysis by counsel, I guess that would be a
    10   identified. I don't make any independent        10   possibility. I haven't done the analysis as
    11   calculations or apply any algorithms to         11   today, so I couldn't offer that opinion.
    12   identify it outside of what's in my report      12       Q. So as you sit here today, you
    13   stated as I've discovered as part of this       13   do not have an opinion on whether any
    14   discovery.                                      14   particular order that was shipped by a
    15       Q. Okay. So other than the                  15   manufacturer was suspicious?
    16   reports that the manufacturers themselves       16       A. I think I have an opinion.
    17   reported to DEA, you have not identified any    17       Q. But you haven't identified any
    18   suspicious orders submitted by distributors     18   order, correct?
    19   to manufacturers, correct?                      19       A. I have not identified a
    20       A. Can I ask a clarification? Are           20   specific order, but I have an opinion on the
    21   you talking about an individual order or are    21   conduct.
    22   you talking about conduct?                      22       Q. And are you offering any
    23       Q. I'm talking about individual             23   opinion in this litigation that any
    24   orders.                                         24   particular order that was shipped into Summit
    25       A. I have not done that as we sit           25   or Cuyahoga Counties was suspicious?
                                              Page 633                                             Page 635
     1   here today, no, sir.                             1        A. Yes.
     2       Q. Okay. So your report does not             2        Q. Okay. And are you offering any
     3   identify any shipments by manufacturers to       3   opinion in this litigation that any
     4   distributors that you claim should have been     4   particular order shipped by a manufacturer
     5   reported as suspicious?                          5   into Summit or Cuyahoga County was
     6       A. My opinion goes to whether or             6   suspicious?
     7   not there were effective -- or suspicious        7        A. I'm sorry, shipped by a
     8   orders, effective suspicious order systems in    8   manufacturer --
     9   place and/or the maintenance of effective        9        Q. Correct.
    10   controls, the due diligence. I do not do any    10        A. -- to a distributor?
    11   calculations that would identify any specific   11        Q. That's right. To -- to someone
    12   orders.                                         12   in Cuyahoga or Summit County.
    13       Q. Okay. So just to be clear, in            13        A. No, sir.
    14   response to my question, your report does not   14        Q. Okay. With respect to a
    15   identify any shipments by manufacturers to      15   manufacturer, what is a suspicious order?
    16   distributors that you claim should have been    16        A. Well, if a manufacturer has
    17   reported as suspicious, correct?                17   conducted a sufficient due diligence or
    18       A. I think there's some instances           18   onboarding process and they've evaluated the
    19   in my report, there was -- there may be a       19   scope of their customers' business and the
    20   description of a relationship or some           20   needs, they would establish a pattern, and
    21   transactions between a -- let me think a        21   that pattern would give them an idea of
    22   second.                                         22   initially the volume of drugs they need to
    23       Q. Uh-huh.                                  23   purchase.
    24       A. Because I have all of the                24             Now, if it's brand-new
    25   different companies.                            25   customer -- yours is kind of a hypothetical.
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     1   If it's a brand-new customer, there's not a      1   baseline information to get a gauge on how
     2   pattern or a frequency, but they would start     2   much product you'd want to send to them. I
     3   out with what they assess as a legitimate        3   don't think you would just send them an
     4   volume, and they would monitor that volume,      4   amount of product and hope they distribute
     5   and if a customer exceeded that, that should     5   it. I think there should be some kind of a
     6   trigger as an unusual size.                      6   relationship and identification of a
     7              But to give you just a general        7   legitimate total.
     8   definition, it's kind of a broad topic           8   BY MR. O'CONNOR:
     9   because it depends on the scope of business      9        Q. Besides understanding what type
    10   of the manufacturer, of the customer, the       10   of pharmacy -- or what type of customer or
    11   type of products, the needs, so the -- prior    11   the number of customers a distributor had,
    12   to ever shipping an order, the importance is    12   what other information would you say a
    13   to understand what the legitimate needs is of   13   manufacturer needs to know in order to
    14   a customer.                                     14   establish a baseline?
    15        Q. Yesterday you testified that it         15        A. A baseline in regards to size?
    16   was important to understand what a usual        16        Q. Correct.
    17   order was so that you could determine what a    17        A. Well, I think there would be
    18   suspicious order was.                           18   some other factors that they should minimally
    19              Do you generally recall that         19   look at. That would be the ability for the
    20   testimony?                                      20   company to actually handle the volume of
    21        A. I think that's a general                21   product on a security aspect, they had
    22   description. I think we were discussing the     22   sufficient cage or vault depending on the
    23   size, so I think before you would know an       23   schedule of controlled substance they were
    24   unusual size, you would need to know the        24   purchasing.
    25   usual size.                                     25             I think they may want to do
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     1             And I think that's kind of the         1   some analysis of the identifications of the
     2   simpler way of what I just said, is that if      2   pharmacies, if possible, because it's a
     3   you don't really have a comprehension of what    3   potential that in the case of Mallinckrodt,
     4   is the legitimate needs of your customer,        4   they might already have information about the
     5   then you couldn't know an unusual order --       5   distribution amounts or the purchase amounts
     6   unusual size of an order, I'm sorry.             6   for those pharmacies and some trends.
     7        Q. What information would you need          7            Might do some comparison to
     8   to determine what a usual order looked like      8   like customers. Might look into the
     9   for a manufacturer?                              9   geographic location of where the product is
    10             MR. FULLER: Form.                     10   intended to be distributed. At least for the
    11             THE WITNESS: I'm sorry, you           11   Mallinckrodt products, to confirm or deny
    12        said something?                            12   there might be an issue of a distribution by
    13             MR. FULLER: Object to form.           13   volume to those specific areas.
    14             THE WITNESS: Oh. Sorry.               14            I think the essential thing is
    15        A. I think that's dependent on the         15   what I said initially. I think you need to
    16   skill of your compliance employees. I think     16   get an idea of how many customers that that
    17   you go in and evaluate the distributor. I       17   distributor intends to distribute.
    18   don't think the distributor would purchase a    18            And I think if we're talking
    19   manufacturer's product with an idea on how      19   about the onboarding or the initial amounts
    20   they were going to sell it and market it, and   20   that they'll be distributing, I think that a
    21   I think you would evaluate what their scope     21   registrant should follow those pretty closely
    22   of business is and the type of customers they   22   because my experience would indicate that
    23   were; how many pharmacies they could            23   sometimes other registrants aren't that
    24   distribute to.                                  24   truthful, and not just because they want to
    25             I think you'd have to get some        25   divert, although that's one of the

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     1   indicators.                                      1       A. They wouldn't have inquired
     2            Sometimes distributors have, in         2   about it, and I wouldn't force those opinions
     3   my experience of doing the pre-regs, that        3   on a distributor. If they had a viable
     4   they have goals or ideas that they possibly      4   system, I may ask some questions to trigger
     5   can't meet or are not feasible. In other         5   some areas that I think maybe needed to be
     6   words, that they may request a volume of         6   cleaned up.
     7   drugs and anticipate ordering -- or I mean,      7            But I wouldn't go in and
     8   hiring a bunch of new people or they want to     8   already do a geographic -- well, there
     9   order a large volume of drugs and with an        9   wouldn't be one because the registrant's not
    10   intention of shipping it to a new geographic    10   registered. They wouldn't have handled
    11   area. Those would be all things I would         11   controlled substances. So really, their
    12   consider in deciding on the volume to           12   distribution trends couldn't be considered
    13   distribute.                                     13   because they don't have product.
    14        Q. You mentioned pre-reg. Is that          14       Q. But you'd ask about their
    15   a preregistration inspection by the DEA?        15   intended geographic distributions?
    16        A. Yeah, I'm sorry, that's kind of         16       A. That would be one of the
    17   a term. Yes, sir, that's going on-site and      17   questions. I'd probably be mostly concerned
    18   prior to issuing the DEA registration, making   18   about just their business model, what they
    19   sure that you're confident that the             19   intend to do with the drugs, how they -- who
    20   registrant is in compliance with the            20   they intend to ship them to.
    21   regulations and has an understanding before     21            I try to be alert if there were
    22   you issue the DEA registration.                 22   some areas that were more prone for diversion
    23        Q. And during one of these                 23   as far as at the current time based on my
    24   preregistration visits, would you consider      24   knowledge. I'll give you one example. There
    25   all the factors that you just listed that       25   was a lengthy period of time where
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     1   manufacturers ought to consider?                 1   hydrocodone was a big issue in Houston, so if
     2        A. I don't know that I would -- I           2   I was going to approve a registrant that said
     3   wouldn't do that specific analysis, but I        3   I'm going to distribute hydrocodone products
     4   would -- I would obviously dig into how          4   exclusive to Houston, that would kind of be a
     5   they -- the registrant plans to set up their     5   trigger to me to maybe do some deeper
     6   suspicious order monitoring system.              6   analysis about it.
     7            So what typically -- typically          7       Q. All right. So I do want to get
     8   would happen in this situation, at least with    8   back to specifically what you claim
     9   me and the people that I would have worked       9   manufacturers should be looking at to
    10   with in my last career, although I won't tell   10   determine whether an order is unusual.
    11   them how to do a suspicious order system, I     11            You mentioned a few things.
    12   might ask them questions and expect             12   I'm going to name them, and tell me if I've
    13   responses, and those questions sometimes are    13   missed anything, okay?
    14   teaching moments.                               14            You mentioned the number of
    15            So if I ask them the question          15   customers, the ability to handle the volume
    16   if they're going to monitor the geographic      16   ordered, the composition of the customers,
    17   description of their drugs, I would hope that   17   the geographic location, and that's all I
    18   they would -- that would trigger them to say,   18   have.
    19   wow, we might have to think about it, but I     19            Were there any other factors
    20   would never tell them of things they had to     20   that you think manufacturers --
    21   do.                                             21       A. I think there were some others.
    22        Q. So before the distributor even          22   I should have probably wrote them down.
    23   gets the registration, DEA has inquired about   23       Q. As you sit here now, can you
    24   things like the geographic distribution of      24   think of any others?
    25   the products, correct?                          25       A. I could, but could I just get a
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     1   clarification? So I believed that our            1   of effective controls under -- both in law
     2   discussion was about setting that initial        2   and the regulation I think could be
     3   threshold just for size.                         3   interpreted that -- now, I'm not going to say
     4       Q. Okay.                                     4   under my opinion that it would force a
     5       A. And I don't -- I believe we               5   manufacturer to do that, but I think the
     6   were speaking about a new customer, so just      6   knowledge that that information exists and is
     7   for clarification.                               7   available should be a consideration for a
     8       Q. Okay. What I'm looking for,               8   manufacturer.
     9   though, is a list of all the factors that you    9        Q. So your opinion is that the
    10   claim in your opinion manufacturers should      10   effective controls regulation does not
    11   consider when determining whether an order is   11   require manufacturers to use IQVIA or
    12   suspicious.                                     12   prescribing information, correct?
    13       A. Let me ask you a couple of               13        A. I would say no, and my answer
    14   questions if I could.                           14   would be based on the fact, in my experience,
    15       Q. I'd just like an answer to my            15   I couldn't take probably an administrative
    16   question, actually.                             16   action just based on that.
    17       A. Well, then I can't answer it             17        Q. Okay.
    18   because I don't have enough foundation          18        A. The only action I could take is
    19   information about the manufacturer, how long    19   if they did have it and they didn't use it,
    20   they've been in business. I mean, there's --    20   but just not to order it or purchase it, I
    21   just to give a hypothetical answer for          21   couldn't force a manufacturer to do that as a
    22   that --                                         22   diversion investigator.
    23       Q. When you say how long they've            23        Q. Okay. So in answer to my
    24   been in business, do you mean the               24   question, when you say no, you mean no,
    25   manufacturer doing the selling --               25   manufacturers aren't required to use IQVIA
                                             Page 645                                              Page 647
     1       A. Yes.                                      1   data under the regulation?
     2       Q. -- or the distributor doing the           2            MR. FULLER: I'm sorry, to use
     3   buying?                                          3       it or purchase it?
     4       A. Whether they're new or they've            4            MR. O'CONNOR: To use it.
     5   actually been engaged in the business for a      5       A. Yes, if they have it, under the
     6   period of time.                                  6   regulation, I believe they have to use it.
     7       Q. Okay. What if they've been                7   BY MR. O'CONNOR:
     8   engaged in the business for decades, what        8       Q. So just to be clear, your
     9   else would you want to know?                     9   position today is that a manufacturer is not
    10       A. Well, I'd want to know if they           10   required to purchase IQVIA or prescribing
    11   had access to -- I think IQVIA information,     11   data, but if they have it, they must use it?
    12   chargeback information.                         12       A. I believe it provides them with
    13       Q. Okay. And --                             13   relevant transaction information, and if they
    14       A. I --                                     14   have it accessible, they should use it in
    15       Q. When you say IQVIA information,          15   their compliance program.
    16   what do you mean by that?                       16       Q. Do you think the regulation
    17       A. It's prescription                        17   requires them to use it if they have it?
    18   information --                                  18       A. I do.
    19       Q. Okay.                                    19       Q. Which regulation is that?
    20       A. -- that they can purchase.               20       A. Maintenance of effective
    21       Q. Is there any regulation that             21   controls to prevent diversion.
    22   you're aware of that requires manufacturers     22       Q. Does the regulation say
    23   to consider IQVIA data or other prescribing     23   anything about prescribing information or
    24   data?                                           24   IQVIA data?
    25       A. Well, I think the maintenance            25       A. It does not.
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     1       Q. And the DEA has never issued              1   chargeback information, they should use that.
     2   any guidance to manufacturers informing them     2       Q. When were those briefings?
     3   that they were to use IQVIA or prescribing       3       A. I believe I cite one in my
     4   data, did it?                                    4   report. It will take me a few minutes,
     5       A. I don't speak for the DEA, but            5   because I don't want to misstate which...
     6   I'm not aware that they've given any             6       Q. Fair to say you don't recall
     7   guidance.                                        7   any off the top of your head here today?
     8       Q. Okay. You mentioned chargeback            8            MR. FULLER: Object to form.
     9   data a moment ago. What is chargeback data       9       Misstates his testimony. He already
    10   in your understanding?                          10       said he does recall one, it's cited in
    11       A. A manufacturer completes a               11       his report. Just give him a second.
    12   transaction to a distributor or a customer,     12   BY MR. O'CONNOR:
    13   and that customer is at a set price, and if     13       Q. Fair to say you don't recall
    14   the customer would like to send back the        14   any details about any manufacturer briefing?
    15   transaction data to the manufacturer, they      15       A. Well, no, I recall there was
    16   get a rebate from the original price of that    16   one. I just don't know which distributor it
    17   distribution or sale.                           17   was -- I mean, I'm sorry, which manufacturer
    18            It's my understanding that             18   it was. I'll get it in a second.
    19   chargebacks have up to a 30-day period before   19       Q. Okay.
    20   they can be submitted back for, and I don't     20            (Document review.)
    21   know that they -- it's like a cash basis. I     21   BY MR. O'CONNOR:
    22   think it might be like a credit basis that      22       Q. Other than whatever other
    23   goes into their account. But it's a purchase    23   example you cited in your report, are you
    24   of the transaction information at a fee or a    24   aware of any other manufacturer briefing in
    25   discount for the sale of that drug.             25   which manufacturers were informed that they
                                             Page 649                                              Page 651
     1       Q. And is it your opinion that               1   were supposed to use chargeback data in
     2   manufacturers are required by statute or         2   connection with their suspicious order
     3   regulation to use chargeback data in             3   monitoring program?
     4   connection with their suspicious order           4       A. Yeah. On August 23rd of 2011,
     5   monitoring program?                              5   I was present at one with Mallinckrodt, and
     6       A. I believe by both the CSA,                6   there was a discussion about chargeback
     7   maintenance of effective controls to prevent     7   information there.
     8   diversion, and that same regulation in the       8       Q. Okay. And other than meeting
     9   CFR.                                             9   with Mallinckrodt in 2011, are you aware of
    10       Q. And do either the statutory              10   any other instance in which DEA informed any
    11   provision or the CFR provision regarding        11   manufacturer that it was to use chargeback
    12   maintenance of effective controls say           12   data in connection with its suspicious order
    13   anything about chargeback data?                 13   monitoring program?
    14       A. Not specifically, no.                    14       A. Let me just look one more
    15       Q. And DEA has never issued any             15   place.
    16   guidance to manufacturers to the effect that    16             (Document review.)
    17   they were to use chargeback data in             17       A. The company I referred to is
    18   connection with their suspicious order          18   Actavis, and they received a distributor
    19   monitoring program, has it?                     19   briefing. I have independent recollection
    20       A. I believe they have.                     20   that it did occur, but I'm going to say no,
    21       Q. And what guidance are you                21   because I didn't cite it in my report.
    22   referring to?                                   22   BY MR. O'CONNOR:
    23       A. I believe they've held                   23       Q. Okay. And do you have any
    24   manufacturer briefings with manufacturers,      24   independent recollection of whether that
    25   and they've informed them that if they have     25   discussion included a statement by DEA that

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     1   manufacturers were supposed to use chargeback    1   understand what this idea of know your
     2   data in connection with their suspicious         2   customer's customer meant, it couldn't look
     3   order monitoring programs?                       3   in the regulations, could it, because it's
     4       A. I don't recall if it did.                 4   not there?
     5       Q. So, in fact, before the meeting           5            MR. FULLER: Form.
     6   with Mallinckrodt that you mentioned, DEA had    6       A. I think it's encompassed in the
     7   never publicly, certainly, told anyone that      7   maintenance of effective controls.
     8   using chargeback data was part of the            8   BY MR. O'CONNOR:
     9   responsibilities of being a DEA registrant,      9       Q. But to be clear, the
    10   correct?                                        10   maintenance of effective controls regulation
    11       A. My experience and the                    11   does not mention anything about knowing your
    12   information that's available to me would        12   customer's customer, does it?
    13   indicate that I'm not aware that the DEA had    13       A. It doesn't give any specific
    14   any knowledge that those existed.               14   guidance, but I think what it does is it puts
    15       Q. Before August 2011?                      15   a manufacturer or any registrant on notice
    16       A. No. I think prior to that, but           16   that their continued use of a DEA
    17   related to the Mallinckrodt investigation,      17   registration requires them to take steps to
    18   prior to that, I don't know that anyone was     18   prevent diversion, and I believe that getting
    19   aware that that -- that chargeback -- that      19   that information is one of those steps.
    20   whole chargeback relationship existed in the    20            But so just -- just so it --
    21   industry, at least from everything I've         21   but I guess if your question is does it
    22   learned about that issue.                       22   specifically say that term? It does not.
    23       Q. Have you ever heard the term             23       Q. And DEA never issued any
    24   "know your customer's customer"?                24   guidance to manufacturers informing them of
    25       A. I have.                                  25   their supposed obligation to monitor -- or to
                                             Page 653                                              Page 655
     1      Q.     What does that term mean?              1   know their customer's customers, correct?
     2            MR. FULLER: Form.                       2             MR. FULLER: Form.
     3       A. Well, manufacturers are in a              3        A. I know I've reviewed where it
     4   unique position at the top of the                4   was presented at some training, but I'm not
     5   distribution chain, that their products pass     5   sure if that was by an industry or a
     6   through distributors down to pharmacies.         6   consultant.
     7            So there's a couple concepts            7   BY MR. O'CONNOR:
     8   within that know your customer's customer.       8        Q. DEA --
     9   There's, of course, if you have the              9        A. So I'll say no.
    10   information that you already have the ability   10        Q. DEA --
    11   to know, things like chargebacks and IQVIA,     11        A. I'm not aware of it. At least
    12   that's an example of information, know          12   I'm not aware they've done it. I'm not
    13   your -- you know, you know your customer's      13   saying they have not done it.
    14   customer.                                       14        Q. DEA never published guidance in
    15            Secondly, a manufacturer would         15   the Federal Register saying anything about
    16   have the responsibility under the maintenance   16   knowing your customer's customer, did it?
    17   of effective controls to do an analysis of      17        A. They have not done that.
    18   who their customers are, which would be the     18        Q. Okay. And they never sent a
    19   distributors.                                   19   letter to all manufacturers, for example,
    20            So it would be incomplete to go        20   saying they were to know their customer's
    21   do an analysis on them when they don't have     21   customer, did they?
    22   an understanding of where their products        22        A. I'd like to look at the 2007
    23   would ultimately go.                            23   letter. I think it may say all relevant
    24   BY MR. O'CONNOR:                                24   transaction information, and I would consider
    25       Q. If a manufacturer wanted to              25   that relevant transaction information.
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     1       Q. But it doesn't say know your              1   would hope they didn't sign a memorandum of
     2   customer's customer, does it?                    2   agreement and believe that it was not legal.
     3       A. It does not specifically say              3        Q. A memorandum of agreement is a
     4   that term, no, sir.                              4   contract between a company and the DEA,
     5       Q. Okay. In your report, you                 5   correct?
     6   suggest that: Using relevant data acquired       6            MR. FULLER: Object to form.
     7   by a manufacturer for compliance purposes is     7        A. Yes. It's -- well, it's
     8   part of maintaining effective controls to        8   more -- it's a little more than a contract.
     9   prevent diversion. This obligation was           9   BY MR. O'CONNOR:
    10   acknowledged by Mallinckrodt in its             10        Q. Okay.
    11   memorandum of agreement Mallinckrodt entered    11        A. But essentially, two parties
    12   with the United States in 2017.                 12   sign it with some obligations. So it's an
    13            Do you recall that opinion?            13   agreement --
    14            MR. FULLER: What page are you          14        Q. It's an agreement.
    15       on, Counsel?                                15        A. Yes.
    16            MR. O'CONNOR: We're on 146.            16        Q. It's an agreement between two
    17            MR. FULLER: Thank you.                 17   parties?
    18       A. So your question was -- and I            18        A. Yes.
    19   need to read this again, this obligation was    19        Q. Okay. And you would agree that
    20   acknowledged by Mallinckrodt in the             20   it's possible for a party to agree through a
    21   memorandum of agreement Mallinckrodt entered    21   memorandum of agreement to do more than
    22   with the United States in 2017?                 22   what's required strictly by the law, correct?
    23   BY MR. O'CONNOR:                                23        A. But your question was the
    24       Q. Correct.                                 24   legality of that agreement or agreeing to
    25       A. Yes, I agree with that                   25   something that -- so if they were to agree to
                                              Page 657                                             Page 659
     1   statement.                                       1   something that wasn't legal, in my
     2       Q. And is there any basis for your           2   interpretation, it would be illegal. It
     3   statement besides the language of the            3   could always require something more, but it's
     4   memorandum of agreement itself?                  4   not -- I'm kind of caught up with the fact
     5            MR. FULLER: Object to form.             5   that you said whether it was legal or not.
     6       Same objection as earlier -- or same         6        Q. I didn't mean to suggest it was
     7       basis as earlier, sorry.                     7   illegal.
     8       A. Well, I would hope if they                8        A. Okay. That's kind of what I
     9   didn't agree with it, they wouldn't sign the     9   took so --
    10   memorandum of agreement, but also in            10        Q. If that's your opinion, that
    11   consultation with others, that would help       11   would be helpful to know.
    12   formulate my opinion.                           12            My question was really whether
    13   BY MR. O'CONNOR:                                13   it's possible for a company in a memorandum
    14       Q. Consultation with which others?          14   of agreement to agree to do more than the law
    15       A. I think there's a Touhy in               15   requires them to do.
    16   place, so I'm worried about getting into the    16        A. No, I don't agree with that. I
    17   issue on the Touhy letter.                      17   don't think you could make somebody more --
    18       Q. Okay. So when you say that               18   do more than what's their legal requirement.
    19   this obligation was acknowledged by             19   I think what they acknowledge -- excuse me --
    20   Mallinckrodt in the memorandum of agreement,    20   is it was part of their responsibility as a
    21   are you suggesting that Mallinckrodt            21   registrant, and it acknowledged that. That's
    22   acknowledged in that agreement that there was   22   my understanding of what they agreed to.
    23   a legal obligation to monitor chargeback        23        Q. Well, if a memorandum of
    24   data?                                           24   agreement didn't obligate the party to do
    25       A. Yes, I would hope they did. I            25   anything more than the law already required

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     1   of them, there wouldn't be a need for the        1   the MOAs are all legal requirements? No,
     2   memorandum of agreement, correct?                2   sir.
     3            MR. FULLER: Object to form.             3        Q. Okay. In connection with your
     4        And disagree.                               4   opinion, you examined the suspicious order
     5        A. No, I don't agree with that.             5   monitoring programs of seven manufacturers,
     6   BY MR. O'CONNOR:                                 6   correct?
     7        Q. So just to be clear, your                7        A. Yes, sir.
     8   position is that everything that a party         8        Q. And each of those programs or
     9   voluntarily agrees to in a memorandum of         9   systems was different from one another,
    10   agreement is something they're also legally     10   correct?
    11   required to do?                                 11        A. Yes, sir.
    12            MR. FULLER: Form.                      12        Q. And you believe they all fell
    13        A. Yes. I don't think there's              13   short of the regulatory responsibilities
    14   anything -- I think we're back to the           14   imposed by the CSA and CFR, correct?
    15   illegal/legal. I don't think there's            15        A. Yes, sir. Just to add the
    16   anything there that's not legally required.     16   caveat that some of them didn't have systems,
    17            I don't -- I wouldn't -- I             17   but, yes, sir.
    18   don't understand the question then is that      18        Q. Fair to say of the seven you
    19   you would write an MOA to somebody that would   19   saw, you weren't satisfied with any of them?
    20   not be legally required. If your question is    20        A. That's correct.
    21   would it be greater responsibilities or         21        Q. Have you ever come across a
    22   greater duties, that would be yes, but they     22   manufacturer's suspicious order monitoring
    23   still would be a legal requirement.             23   program that you did think satisfied
    24   BY MR. O'CONNOR:                                24   regulatory requirements?
    25        Q. So the duties, though,                  25            MR. FULLER: Form.
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     1   prescribed in the MOA can be greater than the    1       A. I can think of one.
     2   duties imposed by statute, fair?                 2   BY MR. O'CONNOR:
     3       A. No, I don't agree with that. I            3       Q. What was that?
     4   think under maintenance of effective             4       A. I'm not sure I can discuss that
     5   controls, that's a broad regulation, and I       5   with the Touhy letter.
     6   think all of these things fit under there.       6            MR. FULLER: Not if it was
     7            I think I could -- I could hold         7       based on an investigation that you did
     8   another manufacturer, if I was still a DEA       8       while an agent.
     9   diversion investigator. I think the              9            MR. O'CONNOR: Sorry, are you
    10   statements entered because it kind of affirms   10       not answering that question?
    11   that that is a -- to me, that they              11            THE WITNESS: That's what I
    12   acknowledge that that is their                  12       stated, sir.
    13   responsibility, because I wouldn't expect       13            MR. O'CONNOR: Okay.
    14   them to do it if they didn't think it was.      14            THE WITNESS: Because it's not
    15       Q. Just to be clear, are you                15       publicly readily available that
    16   saying that every duty that's imposed on any    16       someone would know that.
    17   registrant through a memorandum of agreement    17   BY MR. O'CONNOR:
    18   is by definition also required by the law?      18       Q. While we're talking about
    19            MR. FULLER: Form.                      19   Touhy, you have said and your counsel has
    20       A. Yes.                                     20   stated on a number of occasions yesterday and
    21   BY MR. O'CONNOR:                                21   today that you're not permitted to speak
    22       Q. Are you aware of any DEA                 22   about any particular investigation you were
    23   guidance that's ever been issued that           23   involved in while at the DEA; is that fair?
    24   supports the statement you just made?           24       A. That's not publicly or readily
    25       A. In regards to the -- whether             25   available.

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     1        Q. Okay. And with respect to                1            MR. FULLER: Form. I just
     2   Mallinckrodt in particular, given those          2       objected to the form.
     3   restrictions, is it fair to say that all of      3            Go ahead.
     4   the opinions you express in your report are      4       A. Based on the report as it
     5   based on materials that you reviewed in          5   stands right here without being amended, it
     6   connection with this litigation?                 6   doesn't address any time periods that I can
     7        A. Yes, sir.                                7   find past 2011, so that would be an accurate
     8        Q. And your opinions are not based          8   statement as of today.
     9   on any other information outside of what         9   BY MR. O'CONNOR:
    10   you've relayed and referred to in your          10       Q. Do you plan to amend your
    11   report?                                         11   report to add opinions related to
    12        A. Well, it's difficult to --              12   Mallinckrodt's program after 2011?
    13   since I worked the case for a period of         13       A. If requested by counsel, I
    14   years, obviously, that there may be things I    14   will.
    15   know that aren't part of the discovery, but     15       Q. Okay. As you sit here today,
    16   the opinion I wrote is only based on the        16   do you have any opinions with respect to
    17   information contained in my report.             17   Mallinckrodt's suspicious order monitoring
    18        Q. Okay. And do you intend at              18   program after 2011?
    19   trial to offer any information or opinions      19       A. No, I do not.
    20   that are based on something other than what     20       Q. Okay. And as you sit here
    21   you've cited here in this report?               21   today, do you have any opinions with respect
    22             MR. FULLER: Object to form,           22   to Mallinckrodt's DEA regulatory compliance
    23        based on the same basis earlier.           23   outside of suspicious order monitoring after
    24        A. If the Touhy letter is in place         24   2011?
    25   and it's restricted by the government, then I   25       A. It doesn't appear in my report,
                                              Page 665                                            Page 667
     1   would not offer anything outside of what's       1   so I wouldn't comment on it.
     2   contained in my report or currently contained    2        Q. Okay. So you have no opinion
     3   in the discovery material.                       3   on that subject?
     4   BY MR. O'CONNOR:                                 4        A. No, I think the Touhy would --
     5        Q. In your report, do you express           5   if I had an opinion or had knowledge and it's
     6   any opinion as to the adequacy of                6   not cited here or it's not a public
     7   Mallinckrodt's present day suspicious order      7   knowledge, I wouldn't make comment on it.
     8   monitoring program?                              8        Q. Mr. Rafalski, would you agree
     9        A. I do not believe I do.                   9   that it's possible to have a suspicious order
    10        Q. Okay. And just so we're clear           10   monitoring program in place without a formal
    11   about the period of time your opinions do       11   written policy?
    12   relate to, do you have any opinion with         12        A. In a hypothetical sense?
    13   respect to Mallinckrodt's suspicious order      13        Q. Uh-huh.
    14   monitoring program in 2018?                     14        A. Depending on the scope of
    15        A. I do not.                               15   business, the size of the business and the
    16        Q. 2017?                                   16   intended customers, I believe it could be
    17        A. I don't think my report                 17   done manual -- manually, but that's
    18   references any time period after 2011.          18   hypothetically based on those factors and
    19        Q. Okay. So fair to say in this            19   probably others.
    20   litigation, you're not providing any opinion    20        Q. Okay. So just because a
    21   with respect to Mallinckrodt's suspicious       21   company doesn't have a formal written policy
    22   order monitoring program after 2011?            22   does not mean it didn't have a suspicious
    23            MR. FULLER: Form.                      23   order monitoring program, fair?
    24        A. At the current time based --            24        A. Hypothetically, that could
    25   I'm sorry.                                      25   occur, yes, sir.
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     1        Q. Okay. And is it fair to say in           1   multiplier-based algorithm?
     2   your -- in your opinion, Mallinckrodt's          2       A. So I'm going to answer the
     3   suspicious order monitoring program during       3   question, but I'm going to apply the two- or
     4   the time period that you examined it involved    4   three-times algorithm.
     5   an algorithm?                                    5       Q. Uh-huh. Okay.
     6        A. Yes, sir.                                6       A. And my answer to that would be
     7        Q. Okay. And your opinion is that           7   yes.
     8   that algorithm-based program was not             8       Q. So you're not aware of any
     9   adequate?                                        9   other aspects of Mallinckrodt's suspicious
    10        A. Yes, sir. And the reason why            10   order monitoring program besides the two- or
    11   is it used a multiplier, so anytime there's a   11   three-times algorithm?
    12   multiplier applied, if it's an effectively      12       A. That's correct.
    13   designed system, you've established a           13       Q. Yesterday you made reference to
    14   threshold for a customer that's their           14   a diversion program manager. A diversion
    15   legitimate use, to give that customer two or    15   program manager is in a supervisory capacity
    16   three times more than that established          16   within a field office, correct?
    17   threshold I don't think is an effective         17       A. Typically they're in an upper
    18   suspicious order system.                        18   management office in a divisional office.
    19        Q. Is it your understanding that           19       Q. In a divisional office. Okay.
    20   Mallinckrodt's suspicious order monitoring      20           Where do they fall on the
    21   program consisted solely of an algorithm?       21   hierarchy relative to a diversion
    22        A. That's my understanding in              22   investigator, for example?
    23   reviewing records. It did not look at size      23       A. If we're looking at a rank in
    24   or pattern.                                     24   organization, generally speaking, it's two
    25        Q. Okay. So if Mallinckrodt's              25   times above. So there would be an
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     1   suspicious order monitoring program involved     1   intermediary, generally a group supervisor,
     2   other aspects besides a multiplier-based         2   in between a diversion investigator and a
     3   algorithm, your opinion might be different --    3   diversion program manager.
     4           MR. FULLER: Form.                        4       Q. So you'd have a group
     5   BY MR. O'CONNOR:                                 5   supervisor and then above that group
     6       Q. -- correct?                               6   supervisor, a diversion program manager?
     7       A. It's a hypothetical. I'd                  7       A. Typically, yes. Not always.
     8   probably have to know what that basis was,       8       Q. Okay.
     9   but there has to be something to establish a     9       A. There may be an office where
    10   threshold minimally or the usual size order     10   there isn't a group supervisor, but
    11   to know something unusual. Unless I don't       11   typically, yes.
    12   understand the question.                        12       Q. Okay. And are diversion
    13       Q. But fair to say your opinion is          13   program managers generally familiar with
    14   based on the assumption that Mallinckrodt's     14   registrants' regulatory obligations?
    15   suspicious order monitoring program consisted   15       A. In a general sense, they were
    16   solely of a multiplier-based algorithm, true?   16   originally diversion investigators so I would
    17           MR. FULLER: Form.                       17   hope so. But I always hate to make
    18       A. Any registrant who just had a            18   assumptions on someone else's knowledge.
    19   suspicious order system based on size only --   19       Q. Are you familiar with a
    20   size only would be insufficient to me.          20   gentleman named Scott Collier?
    21   BY MR. O'CONNOR:                                21       A. I am.
    22       Q. But just in response to my               22       Q. What is your opinion of
    23   question, is your opinion based on the belief   23   Mr. Collier?
    24   that Mallinckrodt's suspicious order            24       A. I've really never reviewed Mr.
    25   monitoring program consisted solely of a        25   Collier's work or worked with him or for him,
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     1   so other than to know he's a diversion           1   or they do have knowledge that on high-level
     2   program manager in St. Louis, I really don't     2   policy issues, that they would write or
     3   formulate an opinion about him.                  3   correspond with DEA headquarters, because my
     4        Q. Do you have any reason to doubt          4   experience would indicate that most of them
     5   his competency?                                  5   have in the past -- excuse me, lunch -- that
     6        A. No. As I said, I've never been           6   most of them have in the past on a serious
     7   in a position to make any judgments about        7   policy issue, have sent it in writing and
     8   him, either good or bad.                         8   requested an answer in writing.
     9        Q. Are you aware that Mr. Collier           9       Q. Would you agree if a
    10   described Mallinckrodt's program as the best    10   manufacturer requested advice in writing,
    11   suspicious order monitoring program he had      11   that it was -- it was entitled to rely on
    12   ever seen?                                      12   that answer?
    13            MR. FULLER: Object to form.            13       A. If it was issued by the policy
    14        A. Well, I think at the time I'd           14   section?
    15   answer that, now it would go back to that       15       Q. Uh-huh.
    16   Touhy issue, so I don't recall seeing any       16       A. I think they should have some
    17   documents in formulating my opinion to that     17   confidence in that, but as I've seen in
    18   effect.                                         18   investigating this case, even some things
    19   BY MR. O'CONNOR:                                19   that come out of policy possibly are in
    20        Q. Let me ask it this way: Would           20   conflict with what I was training and what I
    21   it change your opinion to learn that a          21   believe is the responsible actions of a
    22   diversion program manager familiar with         22   diversion investigator. So generally
    23   Mallinckrodt's suspicious order monitoring      23   speaking, yes.
    24   program called it the best he had ever seen?    24       Q. And shouldn't a registrant also
    25        A. It would not because it doesn't         25   be entitled to rely on what they're being
                                             Page 673                                              Page 675
     1   relieve the responsibilities of the              1   told by DEA personnel in the field?
     2   registrant. In my experience, there's been       2        A. Again, I'll restate it. It
     3   other matters with other registrants where       3   depends on the topic.
     4   there have been some comments or assessments     4        Q. So sometimes a registrant can
     5   that have proven not to be true.                 5   rely on what DEA is telling them and
     6       Q. So a company could have the               6   sometimes they can't?
     7   best suspicious order monitoring program out     7        A. Depending on the subject
     8   there, and in your opinion, that still might     8   matter. For example, the correct way to
     9   not be adequate?                                 9   initial a 222 form when it's arrived.
    10       A. No, I'm not saying that. What            10   There's some regulatory questions that are
    11   I'm saying is they could have the worst         11   clearly spelled out in the CFR, where I could
    12   suspicious order system out there and because   12   open a manual and I could tell you the
    13   someone in the field tells them it's the best   13   content of a required record for a
    14   doesn't mean it's the best.                     14   distribution for a C-III, what information
    15       Q. In general, do you think it's            15   has to be there. If the registrant would ask
    16   fair for a registrant to rely on what DEA       16   a question, and I could open a CFR and I
    17   personnel in the field say to it?               17   could answer that.
    18       A. So I want to give some                   18             But to ask a question just
    19   qualifications to my answer. I think there's    19   about a suspicious order system, if any
    20   certain topics that a registrant would be       20   registrant were to ask me a question whether
    21   comfortable with discussing with a diversion    21   theirs was sufficient, I wouldn't answer that
    22   investigator and asking for guidance.           22   question. I'd direct them to headquarters.
    23            I think there's other topics,          23        Q. And as you sit here today, is
    24   especially with manufacturers and               24   there any sort of guidance document a
    25   distributors, that they should -- they should   25   registrant can refer to so it knows when it's
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     1   appropriate to rely on a DEA personnel's         1   lead Mallinckrodt to ship suspicious orders?
     2   statements and when they shouldn't?              2        A. I think my response to that
     3       A. No, sir. I would hope that                3   would bring up that Touhy letter issue, so
     4   they would -- what they should rely on is a      4   I'm not going to answer that question, sir.
     5   diversion investigator having knowledge of       5        Q. Did you consider the portion of
     6   what things they can provide guidance on,        6   Ms. Harper's testimony where she said
     7   but, no, there's no publication that tells       7   specifically there were times that we shipped
     8   them that.                                       8   an order before the review was complete, but
     9       Q. So it's up to the registrant to           9   we never shipped a suspicious order?
    10   figure out when they can listen to the          10        A. I don't recall reading that
    11   diversion investigator's advice and when they   11   specific statement.
    12   shouldn't?                                      12        Q. Okay.
    13       A. Well, I make that statement              13        A. And I'm not sure if I read it,
    14   because in my years working for diversion,      14   how Ms. Harper could come to that conclusion,
    15   I've told many registrants to write             15   but...
    16   headquarters, and I've done cases where I've    16        Q. And to be clear, as we're
    17   reviewed letters that have been sent to DEA     17   sitting here today, you aren't offering any
    18   headquarters by registrants, especially         18   opinion one way or another on whether
    19   distributors and manufacturers.                 19   Mallinckrodt shipped any particular
    20            And it's my belief that they           20   suspicious order, correct?
    21   may get guidance from their HDMA or HDA or      21        A. Can I get a clarification to
    22   HD -- it changed names so much.                 22   your question? Are you talking about a
    23            So I think it's -- there's             23   specific order, identifying an order?
    24   nothing in writing. There's no guidance.        24        Q. Let's start there, yes.
    25   But I think it's a well-known fact in the       25        A. No, sir.
                                              Page 677                                            Page 679
     1   distributor and manufacturer community that      1        Q. All right. Is it your opinion
     2   they can seek written guidance at any time       2   today that Mallinckrodt did, in fact, ship a
     3   from the DEA policy section, and that's based    3   suspicious order?
     4   on my experience.                                4        A. Well, in retrospect, the
     5       Q. Okay. But in response to my               5   previous question and this question again,
     6   question, there's nothing that tells a           6   it's the Touhy letter issue comes up in
     7   registrant when they can rely on the word of     7   regards to how I could answer that question.
     8   a DEA diversion investigator and when they       8        Q. Okay. But in your report in
     9   cannot, correct?                                 9   this litigation, are you opining on whether
    10       A. No, there is not.                        10   Mallinckrodt did, in fact, ship suspicious
    11       Q. On page 165 of your report,              11   orders?
    12   discussing testimony from Karen Harper, who     12        A. Yes, sir.
    13   was involved in Mallinckrodt's suspicious       13        Q. Can you identify any of those
    14   order monitoring program, and if you look at    14   orders?
    15   item 8, it says: Furthermore, Ms. Harper        15        A. In my report or --
    16   admitted that Mallinckrodt did not always       16        Q. In your report. Start there.
    17   perform due diligence on orders before          17        A. There's Section 14, it talks
    18   shipping them and that failure to conduct       18   about distributions to opioid products that
    19   such an investigation would lead                19   ended up in the possession of doctors that
    20   Mallinckrodt -- to Mallinckrodt potentially     20   were involved in -- charged and convicted
    21   shipping suspicious orders.                     21   criminally. Based on Mallinckrodt's
    22            Do you see that?                       22   possession of the chargeback data, I believe
    23       A. I see that statement, yes, sir.          23   that they had sufficient information to have
    24       Q. Okay. And is it your opinion             24   knowledge of that.
    25   that that lack of due diligence did, in fact,   25        Q. But you don't identify any
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     1   orders submitted to Mallinckrodt that were       1   Mallinckrodt?
     2   suspicious, do you?                              2        A. If requested by counsel, I
     3       A. In that paragraph, no, not                3   would complete that analysis.
     4   specifically from Mallinckrodt to the doctor.    4        Q. But as you sit here today, you
     5       Q. And you don't identify any                5   do not have an opinion one way or another on
     6   orders that were suspicious that were            6   that question?
     7   submitted to Mallinckrodt anywhere in this       7        A. I have not sufficiently looked
     8   report, correct?                                 8   at enough data to make that conclusion, no,
     9       A. My analysis didn't look at                9   sir.
    10   specific orders. It looked at the -- whether    10        Q. Okay. On page 166, item 11 --
    11   or not there was a suspicious order system      11   actually, it may begin on 165 and then go
    12   that met the regulatory requirements and the    12   over to 166.
    13   maintenance of effective controls.              13        A. Yes, sir.
    14       Q. A minute ago you suggested that          14        Q. It says: Mallinckrodt deleted
    15   these examples in paragraph 14 suggest that     15   questions from its distributor questionnaire
    16   Mallinckrodt shipped suspicious orders.         16   regarding the distributors' monitoring of
    17            Did I get that right?                  17   their customers.
    18       A. Yes, sir, I did say that.                18            Do you see that?
    19       Q. Okay.                                    19        A. Yes, sir.
    20       A. But I realized that to comment           20        Q. Do you know for sure whether
    21   further on that, that would get back into       21   Mallinckrodt deleted that question?
    22   that Touhy issue, because the link between      22        A. This statement is based on the
    23   the distributions isn't here, so I'm not        23   e-mail communication and description of that
    24   going to answer that question.                  24   conduct. I don't believe that I had the
    25       Q. So it's fair to say that                 25   ability to compare the form before and after
                                              Page 681                                            Page 683
     1   Mallinckrodt did not ship directly to any of     1   to make that conclusion.
     2   the individuals identified in this paragraph,    2       Q. And you don't know, if it was
     3   right?                                           3   deleted, for how long it was not present in
     4        A. Yes, sir, I don't believe they           4   the questionnaire; is that correct?
     5   shipped directly to these doctors.               5       A. No, sir.
     6        Q. And so they never received an            6       Q. In connection with preparing
     7   order from any of these doctors?                 7   this report, did you review any shipments
     8        A. I would hope if they didn't              8   from Mallinckrodt into the Summit County and
     9   ship to them, they didn't receive an order       9   Cuyahoga County areas?
    10   from them. Yes, sir.                            10       A. Can I take a minute to look at
    11        Q. Correct.                                11   something?
    12            And in this litigation, you're         12       Q. Very briefly. Or should we
    13   not offering any opinion as to whether these    13   take a break? We've been going about an
    14   individuals' purchases from others are          14   hour.
    15   traceable back to a suspicious order            15            MR. FULLER: Yeah, we can take
    16   submitted to Mallinckrodt, correct?             16       a break. He'll check when he comes
    17            MR. FULLER: Form.                      17       back.
    18        A. As written today, this opinion          18            MR. O'CONNOR: I'll withdraw
    19   does not describe that transaction you --       19       the question, but we'll come back.
    20   that you described.                             20            THE WITNESS: If you want to
    21   BY MR. O'CONNOR:                                21       withdraw, we can keep going, but I
    22        Q. And do you intend to offer at           22       just -- there's some work that's done
    23   trial any opinion as to whether the product     23       by Dr. McCann and I would like a
    24   that ultimately went to these individuals was   24       chance to look through it, but it's
    25   the result of a suspicious order submitted to   25       some charting that might take a little

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     1      bit.                                          1   that's involved in that distribution, and I
     2            MR. O'CONNOR: All right.                2   would -- they would pay an on-site visit and
     3       We'll drop it for now and we'll decide       3   do an evaluation of that particular
     4       whether to come back to it. We have          4   distributor to make sure that it had a
     5       been going about an hour, though.            5   compliant suspicious order system and
     6       Should we take a break?                      6   effective maintenance of controls.
     7            MR. FULLER: Sure, quick one.            7       Q. And is there anything else that
     8            MR. O'CONNOR: Quick one.                8   you would expect Mallinckrodt to have done
     9            THE VIDEOGRAPHER: Going off             9   with respect to those distributors before the
    10       the record, 1:57 p.m.                       10   DEA took action?
    11            (Recess taken, 1:57 p.m. to            11       A. Well, under the maintenance of
    12       2:08 p.m.)                                  12   effective controls, they would make a
    13            THE VIDEOGRAPHER: We're back           13   notification about the potential for
    14       on the record at 2:08 p.m.                  14   diversion.
    15   BY MR. O'CONNOR:                                15       Q. A notification to --
    16       Q. Mr. Rafalski, I'd like to                16       A. DEA.
    17   direct your attention to page 166 of your       17       Q. -- DEA.
    18   report, item number 13. In that paragraph,      18            As you sit here today, are you
    19   you state that: Mallinckrodt continued to       19   aware of whether Mallinckrodt did any of
    20   ship its opioids to distributors that           20   those things with respect to those
    21   ultimately had their licenses revoked or        21   distributors you're referring to?
    22   suspended by the DEA.                           22       A. I think the Touhy letter is
    23            Which distributors are you             23   going to restrict me answering at least some
    24   referring to?                                   24   of the distributors I have knowledge of.
    25            MR. FULLER: I'm sorry. What            25       Q. If I were to tell you that
                                              Page 685                                             Page 687
     1       paragraph are you looking at, Counsel?       1   Mallinckrodt did, in fact, audit and pay an
     2            MR. O'CONNOR: 13.                       2   on-site visit to each of those distributors,
     3   BY MR. O'CONNOR:                                 3   would that change your opinion?
     4       Q. Do you recall which                       4            MR. FULLER: Object to form,
     5   distributors you're referring to in that         5       vague.
     6   sentence?                                        6       A. No, because I'm not sure I'm
     7       A. Not without reviewing the                 7   aware whether it was a sufficient evaluation
     8   footnotes to ensure that I name the proper       8   of their customers' system. I am aware --
     9   one.                                             9   strike that.
    10       Q. Okay. And is your position               10            Because of the Touhy, I don't
    11   that it was problematic for Mallinckrodt to     11   want to make a comment on one of them.
    12   ship opioids to those distributors simply       12   BY MR. O'CONNOR:
    13   because DEA later revoked their registration?   13       Q. If I were to tell you that
    14       A. No, I think the statement                14   Mallinckrodt did, in fact, inform DEA that it
    15   means -- the statement says it was              15   was visiting those distributors, would that
    16   problematic because they had chargeback         16   change your opinion?
    17   information and there was sufficient press      17            MR. FULLER: Same objection.
    18   reports that would have brought it to the       18       A. Just telling the DEA they
    19   attention of Mallinckrodt.                      19   visited that distributor wouldn't change my
    20       Q. In your opinion, what should             20   opinion.
    21   Mallinckrodt have done upon reviewing its       21   BY MR. O'CONNOR:
    22   chargeback data with respect to these           22       Q. 167, item 14, you speak of
    23   distributors?                                   23   chargeback reports and say: While these
    24       A. The first immediate thing it             24   reports were used to make after-the-fact
    25   would do is it would identify the distributor   25   determinations that their product was
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     1   diverted, chargeback data was not used to        1   registrant to identify diversion.
     2   prevent diversion.                               2        Q. But again, by the time
     3             How do you expect Mallinckrodt         3   Mallinckrodt learns of a transaction to one
     4   to use chargeback data to prevent diversion?     4   of the pharmacies that you mentioned that
     5             MR. FULLER: Counsel, you said          5   might raise concern, that pharmacy already
     6       167. You mean -- it's at 166?                6   has the product, correct?
     7             MR. O'CONNOR: It might                 7        A. Yes, that's --
     8       actually be 160- --                          8        Q. And -- thank you.
     9             MR. DAVISON: At the bottom --          9        A. Well --
    10       it's the bottom of number 14, 167.          10             MR. FULLER: Go ahead and
    11             THE WITNESS: Okay, over on the        11        finish your answer.
    12       other page. I'm sorry.                      12        A. That is a true statement, but
    13             MR. FULLER: Okay. Both pages.         13   the issue at hand is that diversion is
    14       Sorry, didn't mean to interrupt.            14   occurring and then they gained knowledge of
    15       A. I believe the chargeback data            15   it. It's not dependent on how long it took
    16   can be incorporated into a suspicious order     16   them to know or if there's delay in them
    17   monitoring system.                              17   receiving the information. It's when they
    18   BY MR. O'CONNOR:                                18   actually have knowledge that it occurred.
    19       Q. And you believe that it can              19   BY MR. O'CONNOR:
    20   somehow be used to prevent diversion?           20        Q. When you say they have
    21       A. Oh, yes, sir.                            21   knowledge that diversion is occurring, do you
    22       Q. Earlier you testified that               22   mean that a pharmacy is purchasing a large
    23   chargeback data might not even be received      23   amount of product?
    24   until 30 days after the fact, correct?          24        A. It could be that. It could be
    25       A. Yes. But I still believe no              25   the other circumstance that I described to
                                             Page 689                                              Page 691
     1   matter when it's received, it can be utilized    1   you, multiple distributors. There's other
     2   in a suspicious order monitoring system to       2   factors that chargeback could lead you to.
     3   prevent diversion.                               3   They also would be able to look at a
     4             One example -- one good example        4   geographic location through chargeback, so
     5   for chargebacks is the identification of a       5   they may identify a small rural area in
     6   pharmacy that would be purchasing the same       6   Florida where there's three or four
     7   product by Mallinckrodt, or a highly abused      7   pharmacies that are getting a large amount
     8   product by Mallinckrodt and ten pharmacies --    8   from multiple distributors. So there's -- in
     9   or, I mean, one pharmacy from maybe ten          9   different distributors.
    10   distributors in large amounts.                  10             So there's other factors, but
    11        Q. But you would agree with me             11   it's just not time sensitive.
    12   that by the time Mallinckrodt learns of a       12        Q. But you would agree with me
    13   purchase by the pharmacy, that pharmacy has     13   that you can't conclude simply from the
    14   already obtained the product, correct?          14   volume a pharmacy is purchasing that
    15        A. Yeah, but I don't think your            15   diversion is, in fact, occurring there,
    16   question or my statement is time sensitive.     16   correct?
    17   It's when the -- it's when the registrant       17        A. I think there are some extreme
    18   knows or learns of it. That's when I think      18   cases where you could make that opinion just
    19   it has a responsibility to take action.         19   based on volume.
    20             I don't think it's just               20        Q. Fair to say in the vast
    21   dependent on whether they could know it in a    21   majority of cases you are not able to tell
    22   realtime or whether it's immediately upon       22   simply by looking at volume whether diversion
    23   shipped. I think there's all kinds of           23   is taking place?
    24   information that comes in, relevant             24        A. I'm not sure I like the term
    25   transaction data, that could lead a             25   "vast majority." I would say it's more

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     1   likely than not, but it occurs more              1       Q. With respect to your review of
     2   frequently now than it ever has.                 2   manufacturers' suspicious order monitoring
     3        Q. How much oxycodone would a               3   programs, what methodology did you apply in
     4   pharmacy have to purchase for you to conclude    4   coming to your opinions?
     5   that it's diverting oxycodone?                   5       A. The one that was identified or
     6        A. I'd have to see their customer           6   the lack of one that was identified by each
     7   file and what their scope of business, who       7   manufacturer.
     8   they're supplying to be able to make that        8       Q. But what methodology did you
     9   determination. There's not just a --             9   apply when assessing the suspicious order
    10        Q. And that's because you cannot           10   monitoring programs?
    11   determine whether diversion is occurring        11       A. Well, I would apply my
    12   simply by looking at the volume, correct?       12   training, experience, knowledge in doing
    13        A. That's not correct. So if we            13   these kinds of cases, in regards to what I --
    14   look at a pharmacy with a population of 1,000   14   was provided to me to make judgment and form
    15   people and there's a million pills go           15   an opinion.
    16   there -- and that's an extreme case, but I      16       Q. And when you say "provided to,"
    17   think I could clearly say there's something     17   you mean by plaintiffs' counsel?
    18   occurring, diversion's occurring there.         18       A. No, by -- in discovery.
    19             If it's an amount that's not          19       Q. And you received that
    20   consumable by that geographic area, I would     20   discovery -- those discovery materials
    21   say it's very likely that there's diversion     21   through plaintiffs' counsel, correct?
    22   occurring.                                      22       A. Yes, but at my direction of
    23        Q. Outside of this extreme case            23   what documents I wanted to see. I know we'll
    24   that you mention where there's a population     24   get back to the --
    25   of 1,000 getting a million pills, fair to say   25       Q. So you --
                                              Page 693                                             Page 695
     1   that a manufacturer can't tell if the            1        A. -- the, you know, whether
     2   diversion is occurring simply by looking at      2   everything was provided to me, but my opinion
     3   the volume of a purchase?                        3   is based on -- which I believe is everything
     4       A. Are you saying that if they saw           4   that was available and the topics I
     5   that situation, they would say that diversion    5   requested.
     6   is occurring and then outside of that            6        Q. Okay. So your opinion is based
     7   situation? I think generally speaking, just      7   solely on your review of the documents that
     8   looking at volume of a pharmacy, I think they    8   you received and that -- and your experience;
     9   would have sufficient data.                      9   is that fair?
    10            So let's say, for example,             10        A. Experience and training, yes,
    11   Mallinckrodt, they distribute to many           11   sir.
    12   distributors who then distribute to many        12        Q. Okay.
    13   pharmacies, so I think they have established    13        A. And legal guidance.
    14   a pretty good baseline of what a usual order    14        Q. From plaintiffs' counsel?
    15   is. So I think they would identify some         15        A. No, from my employment with the
    16   pharmacies by volume that would rise to a       16   DEA.
    17   level of suspicion.                             17        Q. So your own legal opinions?
    18            I would agree -- generally             18        A. No, receiving legal guidance
    19   agree that in most cases the amount of the      19   from lawyers.
    20   drug alone wouldn't immediately make them       20        Q. Okay. At DEA?
    21   suspicious -- say that that is a suspicious     21        A. Yes, sir.
    22   order, but I think there is a point or a        22        Q. Okay. Are you familiar with
    23   volume where it's very likely that is going     23   Scott Higham?
    24   to occur. Florida would be an example of        24        A. The Washington Post reporter?
    25   that.                                           25        Q. Yes.

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     1       A. Yes, sir.                                 1       A. Yes, sir.
     2       Q. Have you ever had a                       2       Q. How many discussions did you
     3   conversation with Scott Higham?                  3   have with folks at 60 Minutes?
     4       A. Yes, sir.                                 4       A. Probably more than ten.
     5       Q. How many times?                           5       Q. Okay.
     6       A. I don't know, four or five.               6       A. I don't know exactly, but --
     7       Q. What was the substance of those           7       Q. Did any of those discussions
     8   communications?                                  8   relate to Mallinckrodt?
     9       A. Initial were he was writing an            9       A. Yes, sir.
    10   article about the DEA and the new -- I think    10       Q. And what was the substance of
    11   it was a regulation or change in the law --     11   those conversations?
    12   change in regulation or law which was in        12       A. The case against Mallinckrodt,
    13   regards to when a registrant sees some          13   the information that -- in regards to the
    14   adverse or administrative action, they get to   14   actions of Mallinckrodt.
    15   do a correction plan. And I think he wanted     15       Q. Did you receive Touhy
    16   me to make some comments on that, so I          16   authorization before disclosing any of
    17   provided some comments I believe that he        17   those --
    18   published in an article.                        18       A. No, sir.
    19       Q. Did you ever discuss                     19       Q. -- that information?
    20   Mallinckrodt with Scott Higham?                 20            Did you clear any of the
    21       A. I believe I probably did,                21   discussions with the Department of Justice in
    22   postsettlement.                                 22   any form before talking to 60 Minutes?
    23       Q. When was your first                      23       A. No, sir.
    24   conversation with Mr. Higham?                   24       Q. What information did you share
    25       A. I don't recall.                          25   with respect to Mallinckrodt?
                                              Page 697                                            Page 699
     1       Q. Were you still at DEA?                    1       A. I believe it was information
     2       A. No, sir.                                  2   that would be readily available, the -- I
     3       Q. After you left DEA?                       3   think the memorandum of agreement might have
     4       A. Yes, sir.                                 4   been online at that time, some general
     5       Q. Did you ever provide Mr. Higham           5   description of the distributions and the
     6   or anyone else at The Washington Post with       6   pharmacies.
     7   any documents?                                   7            60 Minutes already had some
     8       A. No, sir. Not that I recall,               8   information. There were some leaked
     9   no, sir.                                         9   documents by somebody, so they asked me
    10       Q. Aside from any discussions you           10   questions about that information, but...
    11   had with Mr. Higham, did you have any           11       Q. Did you provide any documents
    12   conversations with Mr. Lenny Bernstein?         12   to 60 Minutes?
    13       A. The first time I met Mr. Higham          13       A. You know, I took a -- I created
    14   he was present, but these weren't really        14   a couple of charts and a graph and -- I
    15   discussions about any relevant -- it was a      15   don't -- I believe that I might have gave
    16   beer at a rooftop of a hotel or restaurant.     16   those to them, but I'm not positive.
    17   He was introduced to me, but that would be my   17       Q. Okay.
    18   extent of my conversations with him.            18       A. One of the charts -- you want
    19       Q. Aside from Mallinckrodt, did             19   me to explain?
    20   you ever discuss any other defendant in this    20       Q. Yes, please.
    21   case with Mr. Higham or Mr. Bernstein?          21       A. So there was a chart that
    22       A. No, I don't believe I did.               22   involved distributions to doctors in all the
    23       Q. Have you ever had any                    23   states of the United States. There was a
    24   discussions with individuals associated with    24   chart on the number of pharmacies and
    25   60 Minutes?                                     25   distribution to the pharmacies in the United

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     1   States, and I think there was one graph of        1   no way to know who has access to it, but just
     2   the distribution of Mallinckrodt product          2   the mere fact that somebody would give a
     3   from -- to the United States and to the state     3   document out during -- while an ongoing case.
     4   of Florida.                                       4       Q. Because that would be
     5            MR. O'CONNOR: Counsel, I'm               5   prohibited by Department of Justice rules?
     6       just going to say on the record, we're        6       A. Sure. Yes, sir.
     7       going to want copies of those                 7       Q. And just getting back to my
     8       documents.                                    8   earlier question, is your testimony today
     9   BY MR. O'CONNOR:                                  9   that what was reported in the media with
    10       Q. Do you still have them in your            10   respect to those documents did not accurately
    11   possession?                                      11   reflect some of the content?
    12       A. I think I do. I don't have                12       A. Well, I think they made some
    13   them today, but I believe --                     13   opinions about the -- what was going on with
    14       Q. Okay.                                     14   the case or whether people were happy or
    15       A. -- that I have them at home,              15   unhappy. I don't know that they were
    16   but I'm not positive.                            16   specifically directed at me, but just
    17       Q. Did you receive any                       17   generalized statements that I don't think
    18   compensation in connection with your             18   were accurate.
    19   discussions with either 60 Minutes or The        19       Q. Okay. So --
    20   Washington Post?                                 20       A. And I thought it may
    21       A. No, sir.                                  21   influence -- the case was -- I wouldn't
    22       Q. Did you discuss any other                 22   say -- there was ongoing discussions in that
    23   defendants besides Mallinckrodt with             23   case, and I had concern that it would affect
    24   60 Minutes?                                      24   that.
    25       A. I don't believe so, no, sir.              25       Q. You were concerned that the
                                               Page 701                                            Page 703
     1       Q. You mentioned that 60 Minutes              1   statements in the media may influence the
     2   had access to certain documents related to        2   case?
     3   Mallinckrodt; is that correct?                    3       A. Not so much the case, because
     4       A. I believe both 60 Minutes and              4   the facts of the case were the facts. That
     5   The Washington Post, I think they wrote an        5   it might influence the relationship between
     6   article about the document.                       6   the people that were discussing the case.
     7       Q. Okay. Do you know how they                 7             MR. O'CONNOR: So I'm going to
     8   obtained those documents?                         8       make the same speech my colleagues
     9       A. No, but I wish I did.                      9       have. There are many more questions
    10       Q. Why do you say that?                      10       I'd like to ask and we have not had
    11       A. Well, it was a sensitive                  11       enough time to do it, so I'm going to
    12   document during the time I was conducting an     12       reserve my right to resume this
    13   investigation, and that would be the main        13       questioning and ask additional
    14   reason. And second reason would be I think       14       questions, but out of respect for my
    15   it was not totally accurately described.         15       codefendants here, I'm going to pass
    16       Q. What was in the -- what was               16       the mic so we can go off the record.
    17   disclosed publicly in the media was not an       17             THE VIDEOGRAPHER: Off the
    18   accurate reflection of what was in the           18       record at 2:28 p.m.
    19   document?                                        19             (Recess taken, 2:28 p.m. to
    20       A. No, it was an internal                    20       2:30 p.m.)
    21   document, and so it was one of the documents     21             THE VIDEOGRAPHER: We're back
    22   that I had privy to, so obviously it's           22       on the record at 2:30 p.m.
    23   concerning. I didn't release it, but it          23               EXAMINATION
    24   wasn't -- well, I guess when you have a          24   BY MS. LUCAS:
    25   document and others have a document, there's     25       Q. Good afternoon, Mr. Rafalski.
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     1   I'm Amy Lucas. I represent Johnson & Johnson     1   report or Schedule I for Janssen?
     2   and Janssen.                                     2       A. I have a recollection I may
     3       A. Good afternoon.                           3   have looked in some of the discovery material
     4       Q. Good afternoon.                           4   for other documents, but specifically, I
     5            I have a very short amount of           5   don't recall which documents.
     6   time to ask you questions.                       6       Q. What types of documents from
     7       A. Okay.                                     7   Janssen did you believe you needed to see in
     8       Q. So I'm going to do my best to             8   order to form your opinions in this case?
     9   ask you a lot of yes-or-no questions, so I'm     9       A. Communications among employees,
    10   going to ask that you give me a yes-or-no       10   I believe I looked for, or -- and I think I
    11   answer so that we can get this over with as     11   looked for, just my recollection, maybe due
    12   quickly as possible. Can you do that?           12   diligence materials.
    13       A. Well, if it's possible to                13       Q. Did you find any communications
    14   answer a yes or no.                             14   among employees or due diligence materials?
    15       Q. Sure.                                    15       A. Not that caused me to place
    16            And I also ask if you don't            16   those in my report.
    17   understand something that I've asked, ask me    17       Q. But you did find some?
    18   to clarify it --                                18       A. I don't recall. General
    19       A. Okay.                                    19   recollection, I believe I saw some
    20       Q. -- and I'll clarify it. If you           20   communications, but I'm not positive.
    21   answer it though, I will assume that you        21       Q. Did you believe that you didn't
    22   understood.                                     22   need to include those in the report?
    23       A. I understand.                            23       A. Well, I don't -- just my
    24       Q. Great.                                   24   recollection, I don't -- I don't believe that
    25            It says in your report that you        25   they would have had any impact, positive or
                                             Page 705                                             Page 707
     1   reviewed documents identified in Schedule I,     1   negatively, on the matter I was tasked to
     2   correct? It's on page 7. To be specific, "I      2   make comment on.
     3   have also reviewed documents identified in       3       Q. For Janssen, what was the
     4   the attachment Schedule I."                      4   matter you were asked to make comment on?
     5       A. Which paragraph are you                   5       A. Whether or not they had a
     6   speaking on page 7?                              6   sufficient -- a sufficient suspicious order
     7       Q. Yes, on page 7 at the bottom,             7   system and whether they had an effective
     8   very last sentence.                              8   maintenance of -- effective maintenance of
     9       A. Yes.                                      9   controls in place.
    10       Q. Okay. You said earlier that              10       Q. And you believed that it was
    11   other than your training and experience, the    11   not necessary to consider Janssen's due
    12   documents and testimony cited in the            12   diligence materials in coming to a conclusion
    13   footnotes in your report provide the specific   13   for that?
    14   support for those opinions, correct?            14       A. Oh, I don't think I said that.
    15            MR. FULLER: Object to form,            15       Q. You said: I don't believe that
    16       same basis as earlier.                      16   they would have had any impact, positive or
    17       A. Yes, I would agree with that             17   negatively, on the matter I was tasked to
    18   statement.                                      18   make comment on.
    19   BY MS. LUCAS:                                   19       A. Only on those documents which I
    20       Q. How long did you spend                   20   found or reviewed.
    21   reviewing the Janssen evidence cited in         21       Q. I see.
    22   Schedule I?                                     22            Were there additional documents
    23       A. I don't recall.                          23   you would have found useful?
    24       Q. Did you see -- did you ask to            24       A. I don't know if they exist or
    25   see any documents other than what's in the      25   not. During my search, I did not find them.
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                                             Page 708                                            Page 710
     1       Q. Did you ask anybody to help you          1        Q. Did anybody else write any
     2   locate them?                                    2   portion of the Janssen opinion in your
     3       A. I didn't make that specific              3   report?
     4   request, but part of my communication of the    4        A. This is my report. As I've
     5   documents I needed to make my opinion were      5   stated earlier, they might provide me with
     6   those documents. I was hoping they were all     6   a -- not an analysis, but a description of
     7   there, but I also made -- I recall making a     7   some of the material, so I would take the
     8   search on my own looking for documents.         8   information, check the section of the
     9       Q. So it's correct that you did             9   deposition or the footnote material or the
    10   not make a specific request for Janssen due    10   reference they provided me.
    11   diligence materials; is that right?            11            I may redraft it, edit it,
    12            MR. FULLER: Object to form.           12   change it.
    13       A. That's not an accurate                  13        Q. Let me ask that again.
    14   statement. I made a request for specific       14            Yes or no, did anybody write
    15   types of documents to formulate my opinion     15   any portion of the Janssen opinion in your
    16   that would be relative to all the              16   report?
    17   manufacturers. So just so I understand your    17        A. No, this is my report. I wrote
    18   question, it wasn't specific to Janssen. It    18   it.
    19   was these would be the documents I would not   19        Q. Did they write any first draft
    20   want to see, and so I -- my expectation was    20   of the opinion about Janssen in your report,
    21   it would apply to all the manufacturers.       21   yes or no?
    22   BY MS. LUCAS:                                  22        A. Draft, no. Might they have
    23       Q. Did you say I would not want to         23   provided me with some descriptions of some
    24   see or I want to see?                          24   sections, but I wouldn't consider that a
    25       A. No, I want to see. I'm sorry.           25   draft of my report, no.
                                             Page 709                                            Page 711
     1   I misstated if I said that.                     1       Q. A description of a section is
     2        Q. What types of documents did you         2   not a draft?
     3   tell counsel that you would want to see,        3       A. Well, I guess you need to
     4   other than communication among employees and    4   provide me with what your description of --
     5   due diligence materials?                        5   or a definition of what a draft is. If they
     6        A. Any due diligence materials,            6   provided me a sentence and told me here's the
     7   any policies related to suspicious order        7   reference document, and the sentence
     8   systems, any communications -- well, I think    8   accurately described it, I may change it, I
     9   you said that, not those -- communications      9   may not change it. I may edit it. But --
    10   related to those topics, any studies           10   and there's a possibility I may use it.
    11   conducted by outside consultants or            11       Q. So you cannot say that you
    12   consultant agencies, any information that      12   wrote 100% of this report about Janssen
    13   would confirm the existence of chargeback      13   without any input from plaintiffs' counsel,
    14   data, IQVIE data -- IQVIA data, I'm sorry.     14   correct?
    15            I don't know if that's the            15       A. That's correct.
    16   complete list, but that's a general idea of    16       Q. Did you personally review all
    17   the type of documents I would request. And     17   of the Janssen materials cited in your report
    18   also I asked for some guidance too in the      18   footnotes, yes or no?
    19   depositions that would be more indicative of   19       A. Yes, I believe I did.
    20   that information.                              20       Q. Okay. I'd like to put your
    21        Q. You asked to be guided towards         21   report aside for a moment because at trial
    22   the depo testimony that would bear on those    22   that's not coming in, and I want you to
    23   issues; is that right?                         23   summarize for me your opinions about Janssen.
    24        A. Yes. And in some cases even            24            MR. FULLER: You can use your
    25   the specific areas to start with.              25       report.

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                                              Page 712                                            Page 714
     1   BY MS. LUCAS:                                    1   top. Janssen only monitored for orders of
     2        Q. Well, first I want to ask, can           2   unusual size and failed to ever monitor for
     3   you do it without referencing your report?       3   frequency and/or pattern in realtime.
     4        A. No, because of the content and           4            And then other parts of your
     5   all the different distributors and               5   report consistently reference realtime, and
     6   manufacturers, they all start to blend           6   what I wanted to know is what you mean when
     7   together, so to just give you a generalized      7   you say realtime suspicious order monitoring
     8   statement and opinion, I'd be reluctant to do    8   system.
     9   that because -- and plus, the fact that I've     9       A. Realtime would measure orders
    10   went over them for the last 12 hours, I         10   that were in realtime, that were occurring
    11   couldn't accurately just do that off the top    11   and were in -- being ordered and then being
    12   of my head.                                     12   prepared for shipment. Those are realtime
    13             MR. FULLER: For the record,           13   orders.
    14        the report is 187 pages and cites          14            An example of a nonrealtime
    15        thousands of documents. The witness        15   order would be potentially some chargeback
    16        is not going to put aside his report.      16   data that would be received after the
    17   BY MS. LUCAS:                                   17   distribution. IQVIA would be after -- not a
    18        Q. But the Janssen part is only            18   realtime, but it would be post-distribution.
    19   four pages. So if you can turn to the           19       Q. Does the due diligence -- well,
    20   Janssen part, since we need to refresh your     20   strike that.
    21   recollection. I don't need you to review the    21            You understand that Janssen's
    22   entire thing, unless you'd like to go off the   22   system had an algorithm, correct?
    23   record, in which case I'm happy to.             23       A. Yes.
    24             MR. FULLER: We'll do it on the        24       Q. And the algorithm flagged
    25        record.                                    25   potentially suspicious orders based on the
                                              Page 713                                            Page 715
     1   BY MS. LUCAS:                                    1   formula, correct?
     2        Q. But if you'd like to take a              2        A. Yes, sir -- yes, ma'am. Sorry.
     3   look at that and if that refreshes your          3        Q. That's okay.
     4   recollection about what your opinions are        4             After the flagged -- the order
     5   about Janssen, I'll wait.                        5   was flagged, you understand that there was a
     6        A. I just read it into the record?          6   due diligence process that took place,
     7   It's written at the conclusion --                7   correct?
     8        Q. Oh, no, no need, because I want          8        A. My recollection is there was
     9   to know what you're going to say at trial.       9   some due diligence, but it was insufficient.
    10        A. General statement, I'm going to         10        Q. What is that recollection based
    11   say that they had insufficient suspicious       11   on?
    12   order system, that it didn't look at all of     12        A. My recollection of reviewing
    13   the factors required as stated in the           13   documents and reviewing specifically
    14   regulation. It only looked at size, unusual     14   Ms. Dempsey's deposition.
    15   size; did not look at frequency and pattern.    15        Q. Did you review the entirety of
    16        Q. Okay. So you have references            16   Ms. Dempsey's deposition? Strike that, I'm
    17   in your report to the realtime portion of the   17   sorry.
    18   suspicious order monitoring system. Is your     18             Ms. Dempsey is whom, to your
    19   report an evaluation of Janssen's entire SOMS   19   understanding? I'm not asking for an exact
    20   program or the realtime portion?                20   title or role.
    21        A. Could you explain what you mean         21        A. I think she's a director of
    22   by realtime?                                    22   compliance, but I think she may have held
    23        Q. Well, I was going to ask you            23   another title. My recollection, she might
    24   that. So if you turn to page 160,               24   have had during her employment, it was more
    25   paragraph 8 -- or here, paragraph 4 at the      25   than just that title. She may have another
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     1   title or a different position.                   1       A. Say that again one more time.
     2        Q. You understand that she                  2       Q. A suspicious order monitoring
     3   provided testimony regarding Janssen's           3   system can also include post-shipping due
     4   suspicious order monitoring system, correct?     4   diligence that you were just referencing?
     5        A. Yes, ma'am.                              5       A. It could, yes.
     6        Q. Now, did you review all of               6       Q. Did you consider any
     7   Ms. Dempsey's deposition transcript?             7   post-shipping due diligence that Janssen did?
     8        A. Yes, I did.                              8       A. I don't have a recollection if
     9        Q. Both volumes?                            9   I did or not.
    10        A. Yes.                                    10       Q. And I have a quick question
    11        Q. Did you review all of the               11   before we move on.
    12   exhibits?                                       12             You said that chargeback data
    13        A. Yes.                                    13   and IQVIA data are not realtime, correct?
    14        Q. Personally?                             14       A. My experience in conducting
    15        A. Yes.                                    15   investigations, I would make the statement
    16        Q. And why then are not all of             16   that it's -- because it's a secondary
    17   those exhibits in your Schedule I?              17   distribution and the dispensing is a
    18             MR. FULLER: Object to form.           18   secondary action. It would only be direct
    19        That misstates his schedule. He cites      19   information if it was a direct distribution
    20        her deposition as well as the              20   to a pharmacy, but then it wouldn't be
    21        exhibits, so it's cited. We did not        21   chargeback. It would be an order.
    22        go through and list them individually.     22             So, yes, that's the reason it's
    23             MS. LUCAS: Just -- I'll wait          23   realtime.
    24        for him to answer. You can answer.         24       Q. Wait. You just -- now it's
    25        A. I reviewed them, and they were          25   realtime?
                                              Page 717                                            Page 719
     1   used to formulate my opinion, but I just         1        A. No, it -- it would not be
     2   didn't list each one individually in the         2   realtime.
     3   report.                                          3        Q. Okay.
     4   BY MS. LUCAS:                                    4        A. The transaction -- there would
     5       Q. So when you say realtime                  5   be no chargeback if they distributed directly
     6   suspicious order monitoring system, you're       6   to a pharmacy.
     7   talking about Janssen's algorithm and the due    7        Q. And yes or no, do you believe
     8   diligence process; is that correct?              8   that IQVIA data and chargeback data can
     9       A. Well, the due diligence -- no.            9   nevertheless be incorporated into a realtime
    10   So the due diligence doesn't necessarily mean   10   suspicious order monitoring system?
    11   in realtime, so there's due diligence that      11        A. Yes, I believe it could. I
    12   would be conducted as part of your              12   think it could -- it could provide -- even
    13   maintenance of effective controls.              13   though it's post-data, I think historically
    14       Q. Let me back up then.                     14   it could provide some averages and levels and
    15             When you say realtime                 15   conduct that could be used in a suspicious
    16   suspicious order monitoring system, you're      16   order monitoring system.
    17   talking about the algorithm and then the due    17        Q. You said that Janssen only
    18   diligence that occurs prior to shipment of an   18   monitored for orders of unusual size and
    19   order that had been flagged?                    19   failed to ever monitor for frequency and/or
    20       A. Yes, ma'am.                              20   pattern in realtime.
    21       Q. Got it.                                  21            Can you very succinctly explain
    22             Now, a suspicious order               22   what you mean by "pattern"?
    23   monitoring system can also include              23        A. Well, there's many different
    24   post-shipping diligence that you were just      24   aspects to the pattern. Regulations says
    25   referencing, right?                             25   substantially deviating.
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     1             So succinctly, how drugs are           1   ma'am, that it didn't differentiate specific
     2   ordered, so how would be the -- how they're      2   drugs by NDC.
     3   grouped. So say, for example, a customer is      3       Q. And if the algorithm did
     4   ordering drugs in -- they generally in my        4   differentiate among NDC codes, you'd need to
     5   experience order drugs in just certain           5   revise your opinion, correct?
     6   patterns, certain groups, ten to an order        6            MR. FULLER: Object to form,
     7   form, variety of types. One pattern could be     7       lack of clarity.
     8   all of a sudden one particular drug is           8   BY MS. LUCAS:
     9   showing up on one order form, just one drug.     9       Q. Well, if that statement is
    10   That could be a pattern.                        10   inaccurate, I wouldn't want an inaccurate
    11             Another pattern -- excuse me --       11   opinion. So if it was brought to my
    12   could be the type of drug, so there could be    12   attention, I think I would be bound to
    13   a shift in the pattern. For example,            13   correct it.
    14   oxycodone, there's many different kinds of      14   BY MS. LUCAS:
    15   oxycodone. So if you're not looking             15       Q. What did you mean by "for drugs
    16   specifically to a product, there could be an    16   with a higher risk of diversion"? Higher
    17   increase in a pattern of one particular drug    17   than what?
    18   within a family.                                18       A. Well, the higher risk means
    19             Specifically looking at for a         19   that those are drugs that are more frequently
    20   highly abused drug, for example, oxy 30 or a    20   targeted by diversion. Prime example would
    21   drug the registrant would know is highly        21   be the oxycodone 30-milligram at this current
    22   abused, that could be another example.          22   time.
    23        Q. Could dosage?                           23       Q. Well, Janssen doesn't sell
    24        A. Dosage, you mean the size of            24   oxycodone 30, so for Janssen, higher than
    25   the bottle?                                     25   what?
                                              Page 721                                             Page 723
     1       Q. Yeah, milligrams, micrograms.             1       A. Hydrocodone 10-milligram
     2       A. Sure, that would be a different           2   products.
     3   drug. So you would focus on first the highly     3       Q. Okay. They also don't sell
     4   abused drugs within the family. Your             4   those. So I'm trying to understand what --
     5   30-milligram oxycodones, your 10-milligram       5   what Janssen should have understood this term
     6   oxycodones are two of the first before you       6   to mean, "NDC codes for drugs with a higher
     7   would look at the others. They're all            7   risk of diversion."
     8   relevant because they all could be diverted,     8       A. I think my reference there was
     9   but those would be just a couple of examples.    9   the fentanyl products, the Duragesic patches.
    10       Q. Do you -- you said that                  10       Q. You said earlier that it's
    11   Janssen's suspicious realtime order             11   DEA's job to enforce the Controlled
    12   monitoring system did not utilize any           12   Substances Act, which it's been delegated
    13   downstream customer information available and   13   that authority by Congress, right?
    14   did not differentiate among NDC codes for       14       A. Well, yes, but I think more
    15   drugs with a higher risk of diversion.          15   specifically by the Attorney General.
    16            Yes or no, is it your                  16       Q. Fair.
    17   understanding that Janssen's algorithm did      17            One way -- and then the
    18   not monitor different NDC codes?                18   Attorney General has tasked --
    19            MR. FULLER: Object to form.            19       A. Delegated it to the DEA, yes,
    20   BY MS. LUCAS:                                   20   ma'am.
    21       Q. I'm at page 162.                         21       Q. Okay. The DEA then in turn
    22       A. Yeah, I wanted to look at an             22   enforces the CSA and it's implementing
    23   earlier statement I made.                       23   regulations by conducting field inspections
    24            (Document review.)                     24   or audits, right?
    25       A. That's my statement, yes,                25       A. Could you read that back?

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     1       Q. The DEA --                                1        A. Anytime I went to a registered
     2       A. Or restate it, I'm sorry.                 2   location, before I look at required
     3       Q. Yeah. The DEA, one of the                 3   documents, a registrant has to give me
     4   things it does to enforce the CSA and the        4   approval to use that form and sign it and
     5   implementing regulations, is conduct field       5   voluntarily approve, or I could not look at
     6   inspections or audits of manufacturers,          6   the required records or make an inspection on
     7   right?                                           7   the premises.
     8       A. That's one of the activities              8        Q. Now, a form -- I'm trying to
     9   they do to ensure that registrants are           9   understand the world -- define the world that
    10   compliant with the Code of Federal              10   we're living in.
    11   Regulations and the CSA, yes, ma'am.            11        A. I'm going to answer but I'm
    12       Q. Another word for those would be          12   going to be careful about that Touhy letter.
    13   diversion inspections?                          13        Q. I understand.
    14       A. I've never heard that specific           14            The regulatory investigations,
    15   term, but they're called all kinds of things    15   how long do those typically last once they're
    16   so --                                           16   initiated? A couple days?
    17       Q. What do you call them?                   17        A. Well, they could be as quick as
    18       A. Usually it's either a                    18   a half a day or there's been some
    19   regulatory investigation or a work plan         19   circumstances where I've spent the better
    20   investigation. A work plan is defined as        20   part of a month or more.
    21   they come out on October 1st and they are       21        Q. So three days is not unusual
    22   assigned during the work plan year of the       22   for a regulatory investigation?
    23   DEA, October 1st to September 30th.             23        A. Depending on the type of
    24       Q. How many -- are those                    24   registrant, it may not be unusual. But it's
    25   synonymous, regulatory investigation and work   25   all dependent on what type of registrant.
                                             Page 725                                              Page 727
     1   plan investigation?                              1       Q. How many regulatory
     2        A. You could see either one                 2   investigations have you participated in, or
     3   utilized by the DEA. I think it's probably       3   conducted? Strike that.
     4   on their website or readily available for a      4            How many regulatory
     5   person to find.                                  5   investigations for the DEA have you conducted
     6        Q. If I say a field inspection,             6   of manufacturer defendants -- or
     7   you would understand that that also means --     7   manufacturers?
     8        A. Wouldn't mean the same to me.            8       A. Manufacturers?
     9   When you use the word "inspection," you know,    9       Q. Sure. Yes.
    10   there's a form we use, an 82, which is a        10       A. I don't recall, but I would say
    11   voluntary compliance to an inspection. So       11   definitely less than ten, maybe between five
    12   you would use that form in a lot of different   12   and ten, just because it was a long career.
    13   purposes.                                       13            And when you say that I may be
    14            So I'm -- I wouldn't                   14   on-site with somebody else as the lead, we go
    15   automatically assume that's a regulatory        15   in twos, so there would be my investigations
    16   investigation.                                  16   that are assigned to me, but I could have
    17        Q. A regulatory investigation              17   been present at one that was somebody else's.
    18   happens, you said, once a year?                 18       Q. Can you please give me a list
    19        A. It's up to the management when          19   of the things that you ask for when you
    20   they assign them. Typically between every       20   conduct a regulatory investigation?
    21   three to five years for certain types of        21       A. I don't have a list with me.
    22   registrants, maybe longer for others, just      22   There's really not a list that exists.
    23   generally speaking.                             23       Q. What are you looking for?
    24        Q. And when would a Form 82 be             24       A. I'm going to look for --
    25   used?                                           25            MR. FULLER: Object to form,

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     1       and I warn you on your Touhy.                 1   all diversion investigators, so I don't know.
     2       Anything that's generally not known to        2        Q. Fair. In your experience?
     3       the public is beyond your                     3        A. Yes.
     4       authorization.                                4        Q. Now, during these regulatory
     5       A. I'm not aware that's -- I'm not            5   investigations, if the DEA in your experience
     6   aware that that information is publicly           6   had concerns about a manufacturer's
     7   available, but I've never tried to see if I       7   suspicious order monitoring program that they
     8   could Google that. But I -- now that I'm          8   observed during the inspection, the DEA would
     9   aware of it, I probably will not answer that      9   raise those concerns with the registrant,
    10   question.                                        10   right?
    11            MS. LUCAS: We'll reserve our            11             MR. FULLER: Object to form.
    12       rights on that.                              12             Again, it goes to DEA's policy
    13            THE WITNESS: Okay.                      13        on investigations and their position
    14   BY MS. LUCAS:                                    14        and what they raise and what they
    15       Q. Are you familiar with the                 15        don't raise, so I would say that's
    16   acronym SOP?                                     16        outside of your Touhy authorization,
    17       A. Yes, standard operating                   17        Mr. Rafalski.
    18   procedure. Yes, ma'am.                           18             THE WITNESS: I'd agree with
    19       Q. During a regulatory                       19        that. I'm not going to answer based
    20   investigation, is it common for the DEA to       20        on the Touhy letter.
    21   review the registrant's SOPs for their           21   BY MS. LUCAS:
    22   suspicious order monitoring system?              22        Q. You can't tell me whether in
    23       A. I don't know if the Touhy --              23   your experience if there were concerns about
    24   thinking about the Touhy, I'm not sure I         24   a suspicious order monitoring program that
    25   should answer that question.                     25   you observed during a regulatory
                                               Page 729                                             Page 731
     1       Q. What are we doing here? Are                1   investigation, whether you would raise those
     2   you saying that you're doing something            2   with the registrant?
     3   here -- you reviewed SOPs for this report,        3             MR. FULLER: Same objection and
     4   correct?                                          4       instruction. Point out to counsel
     5       A. Yeah, but not in the capacity              5       that we have a 30(b) of the DEA on
     6   as a diversion investigator.                      6       Friday and you can ask the question.
     7       Q. Are you saying that you're                 7             THE WITNESS: I'm not going to
     8   doing something in this report that you would     8       answer the question because of the
     9   not have done as a diversion investigator?        9       Touhy.
    10            MR. FULLER: Object to form.             10   BY MS. LUCAS:
    11       That wasn't the question you asked.          11       Q. Well, are you aware that
    12       A. No, I think you're asking me to           12   Mr. Prevoznik has testified that if the DEA
    13   comment on my actions that I would conduct at    13   has concerns about a registrant's suspicious
    14   a registrant's location as a diversion           14   order monitoring written policies, it would
    15   investigator, and I'm not sure that that         15   raise those concerns with the registrant?
    16   conduct would be readily available, unless I     16       A. I would -- I would either not
    17   misunderstood your question.                     17   be surprised or not surprised that he raised
    18   BY MS. LUCAS:                                    18   those concerns, but I believe he would be, in
    19       Q. I'm not -- I just want a yes or           19   his position, in a better position to be able
    20   no, whether it's common for DEA investigators    20   to know whether to release that information
    21   to ask for SOPs during a regulatory              21   and the public availability. I don't. Or
    22   investigation.                                   22   whether he has a Touhy authorization to speak
    23       A. I don't -- I don't know.                  23   to that or not.
    24       Q. In your experience.                       24       Q. Well, you're not telling me
    25       A. I don't know what's common for            25   that if a DEA diversion inspector came to

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                                                                             Review
                                              Page 732                                             Page 734
     1   Janssen and inspected the system, the            1       A. No, I do not at this time.
     2   suspicious order monitoring system, and had      2       Q. Do you know how many orders per
     3   concerns about that program, you're not          3   month Janssen received from its customers for
     4   telling me that they would just do nothing,      4   Nucynta?
     5   right?                                           5       A. No, I do not, not at this time.
     6            MR. FULLER: Object to form.             6       Q. Do you know Janssen's market
     7            Same Touhy issue.                       7   share for its opioid medications sold in the
     8        A. I can't answer that because of           8   Track 1 jurisdictions?
     9   the Touhy issue but I'm not making a comment     9       A. No, I do not at this time.
    10   one way or the other on that statement.         10       Q. Do you know the rates of
    11            Taking the Touhy doesn't mean          11   diversion for Duragesic or Nucynta in the
    12   that I'm not answering affirmatively or         12   Track 1 jurisdictions?
    13   negatively.                                     13       A. I'm not sure there's any
    14   BY MS. LUCAS:                                   14   analysis or information available to give any
    15        Q. Whether a suspicious order              15   concise rate of diversion of any drug.
    16   monitoring program is compliant with the CSA    16       Q. So is that a no?
    17   depends on the type of company and the scope    17       A. I think that's a no.
    18   of the business model and customers you said    18       Q. Do you know how many shipments
    19   earlier, correct?                               19   of Duragesic Janssen flagged through its
    20        A. Some of the things, yes, ma'am.         20   algorithm and investigated as potentially
    21        Q. Would it also depend on the             21   suspicious?
    22   medications at issue? Yes or no?                22       A. Janssen's never reported a
    23        A. That could have a bearing also.         23   suspicious order to the DEA.
    24        Q. The abuse rates of those                24       Q. My question was different.
    25   medications?                                    25       A. Oh, I'm sorry. Misunderstood
                                              Page 733                                             Page 735
     1       A. Yes, or the nonabuse rates.               1   it then.
     2       Q. The geographic location or                2        Q. Do you know how many shipments
     3   where they're being sold?                        3   of Duragesic Janssen's algorithm flagged and
     4       A. Yes.                                      4   Janssen subsequently investigated before
     5       Q. The sales volume in that                  5   releasing?
     6   geography?                                       6        A. I do not.
     7       A. That could be another factor,             7        Q. Do you know how many shipments
     8   yes, ma'am.                                      8   of Nucynta Janssen flagged as potentially
     9       Q. All right. I'm going to ask               9   suspicious and investigated before releasing?
    10   you some quick yes or nos and then I need to    10        A. I didn't do that type of
    11   pass the witness while reserving my rights      11   analysis up to today on that, on the data in
    12   since I have many, many more questions for      12   regards to those products and that
    13   you.                                            13   registrant.
    14            Do you know how many customers         14        Q. Yes or no, did you know that
    15   Janssen had during the time it sold             15   Janssen has reported a physician to the DEA
    16   Duragesic?                                      16   based on a sales representative's tip?
    17       A. No, I do not.                            17        A. I have not reviewed a document
    18       Q. Do you know how many customers           18   that had indicated that to me, no, ma'am.
    19   Janssen had during the time it sold Nucynta?    19        Q. Do you know of any instance in
    20       A. I have not evaluated that                20   the Track 1 jurisdictions of Duragesic being
    21   information as far as the ARCOS, so, no, I do   21   diverted?
    22   not at this time.                               22        A. At this time, no, ma'am.
    23       Q. Do you know how many orders per          23        Q. Do you know of any instance in
    24   month Janssen received from its customers for   24   the Track 1 jurisdictions of Nucynta being
    25   Duragesic?                                      25   diverted?
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                                              Page 736                                             Page 738
     1       A. At this time, no, ma'am.                  1       A. In my request and my
     2       Q. Do you know how many                      2   formulation of the opinion, yes, ma'am.
     3   inspection -- or strike that.                    3       Q. And no --
     4            Do you know how many regulatory         4       A. Any actions, any comments, any
     5   investigations Janssen -- strike that again.     5   contact with the DEA, I asked for those
     6            Do you know how many DEA                6   things.
     7   regulatory investigations of Janssen             7       Q. When did you ask for that?
     8   distribution centers were conducted during       8       A. It was all part -- early on
     9   the relevant time period in this case?           9   when I first started formulating my opinion,
    10       A. I do not because that                    10   there was a -- I'm sure that was one of the
    11   information would not be available to me.       11   requested documents. And also at the state
    12       Q. Are you aware, yes or no, that           12   level; state inspections, state adverse
    13   the DEA conducted multiple regulatory           13   actions, administrative actions, MOAs, any --
    14   investigations of Janssen using at least 14     14   and any resulting enforcement action.
    15   different DEA diversion investigators since     15       Q. Were you aware that DEA
    16   2008?                                           16   diversion investigator Billy Lane told
    17       A. Were those regulatory                    17   Janssen that he likes coming to places like
    18   investigations that -- I'm sorry, with your     18   this during a regulatory investigation of
    19   question --                                     19   Janssen that he conducted?
    20       Q. Were you aware of --                     20       A. That doesn't surprise me.
    21       A. Could you answer --                      21   There's some registrant locations I like to
    22       Q. Well, let me --                          22   go to.
    23       A. Could you restate that for me?           23       Q. Were you aware that despite
    24   Just whether it was inspections or regulatory   24   multiple DEA regulatory investigations of
    25   investigations, I just need clarification.      25   Janssen since 2008, the DEA never once
                                              Page 737                                             Page 739
     1       Q. Were you aware that the DEA               1   concluded that Janssen was in violation of
     2   conducted multiple regulatory investigations     2   the Controlled Substances Act?
     3   of Janssen using at least 14 different DEA       3       A. I don't have any information to
     4   diversion investigators since 2008?              4   make comment on that, ma'am.
     5       A. No, I'm not aware of that, but            5       Q. Is that a no?
     6   just for clarification purposes, I've been at    6       A. I'm not aware, no.
     7   manufacturers where there were groups of         7       Q. And it's also true that DEA has
     8   people, so the number, multiple, I would         8   never initiated an enforcement action against
     9   acknowledge is more than one.                    9   Janssen for its suspicious order monitoring
    10            But when you say 14 people, to         10   program, correct?
    11   go to a manufacturer, sometimes there are       11       A. Not that I'm aware of as I sit
    12   large groups of people that go, so...           12   here today.
    13       Q. Is that a no?                            13            MS. LUCAS: Okay. I'm going to
    14       A. It's -- so I would answer that           14       reserve our rights on your time. We
    15   with the information you provided me, I         15       can go off the record. Thank you very
    16   wouldn't comment. I don't know one way or       16       much, I appreciate it.
    17   the other.                                      17            THE WITNESS: All right. Thank
    18       Q. Were you aware of any                    18       you.
    19   regulatory investigations of Janssen by the     19            THE VIDEOGRAPHER: Going off
    20   DEA since 2008?                                 20       the record at 3:08 p.m.
    21       A. I don't have any direct                  21            (Recess taken, 3:08 p.m. to
    22   knowledge of any investigations, ma'am.         22       3:13 p.m.)
    23       Q. Did you ask to see any                   23            THE VIDEOGRAPHER: Back on the
    24   documents reflecting DEA regulatory             24       record at 3:13 p.m.
    25   investigations of Janssen?                      25            ///

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                                              Page 740                                             Page 742
     1               EXAMINATION                          1   particular algorithm in their suspicious
     2   BY MS. ZOLNER:                                   2   order monitoring system?
     3       Q. Good afternoon, Mr. Rafalski.             3        A. No, I am not.
     4   I just introduced myself to you, but my name     4        Q. Are manufacturers prohibited
     5   is Erica Zolner and I represent Allergan.        5   from using any particular algorithm in their
     6   I'm going to be asking you some questions        6   suspicious order monitoring system?
     7   today on behalf of my client, and again,         7        A. Other than one that's not
     8   because of limited time, I would ask if my       8   effective to disclose suspicious orders, no,
     9   question just asks for a yes-or-no answer,       9   they're not.
    10   you give me a yes or a no.                      10        Q. Is an SOM system noncompliant
    11       A. If it's possible, I'll do that.          11   if it uses an algorithm that incorporates a
    12   And good afternoon.                             12   multiplier?
    13       Q. Good afternoon.                          13        A. A multiplier of two or three, I
    14             Are there any additional              14   would say yes.
    15   opinions on Allergan since your report was      15        Q. Yes. What about some other
    16   served on April 15th?                           16   multiplier other than two or three?
    17       A. No, there is not.                        17        A. I've never had a --
    18       Q. I ask you if you had Exhibit 16          18             MR. FULLER: Form.
    19   in front of you, and I think you do. Could      19        A. I've never had the opportunity
    20   you look at page 12 and 13 of your report.      20   to evaluate a system, but I guess thinking
    21   That's the page-numbered version.               21   about some systems that use standard
    22       A. Okay. Thank you. I'm guessing            22   deviations or a couple that I reviewed that
    23   that since you didn't say 1.                    23   have the Tukey box, it doesn't set a firm
    24       Q. Right.                                   24   threshold but gives a range.
    25       A. Okay.                                    25             So I would have to say -- I
                                              Page 741                                             Page 743
     1       Q. Do you see at the bottom of               1   would say there's probably a possibility that
     2   page 12, right after you cite                    2   there could be a plus or minus to a
     3   Masters Pharmaceutical, you wrote: Beyond        3   threshold, but it just wouldn't be a two or
     4   requiring that a distributor must employ some    4   three multiplier. That's essentially what a
     5   suspicious order monitoring system, SOMS, the    5   standard deviation or a Tukey box is.
     6   federal regulations do not make explicit         6   BY MS. ZOLNER:
     7   exactly what algorithms the SOMS must use to     7        Q. In this case, how did you
     8   identify suspicious orders, or exactly what      8   evaluate whether a company set its multiplier
     9   due diligence efforts are required when          9   at the appropriate level?
    10   investigating an order after it is identified   10        A. Based on my experience.
    11   as suspicious.                                  11        Q. When discussing the Watson
    12            Did I read that correctly?             12   Pharmaceuticals suspicious order monitoring
    13            MR. FULLER: Object to form.            13   system, on page 157 of your report, you said
    14       That's not what he wrote. He's              14   that orders from wholesalers, distributors,
    15       quoting something.                          15   and chain pharmacies were regularly allowed
    16       A. I think that's my assessment of          16   at triple the historical average or more.
    17   what's contained in Discovery Ruling No. 12.    17             Do you recall that?
    18   BY MS. ZOLNER:                                  18        A. My report says that?
    19       Q. Right, and that's your                   19        Q. Yes.
    20   assessment, that's your writing, correct?       20        A. Okay. Let me see. Page 157?
    21       A. I wrote it, but it's the                 21        Q. Correct.
    22   assessment of the Discovery Ruling No. 12.      22             (Document review.)
    23       Q. Understood.                              23   BY MS. ZOLNER:
    24            So is it your understanding            24        Q. Did you write that or did
    25   that manufacturers are required to use a        25   someone else write that, Mr. Rafalski?
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                                              Page 744                                            Page 746
     1            MR. FULLER: I'm still looking           1      Q.     Often.
     2       for what you read from, Counsel.             2            Do you know what multiplier
     3            MS. ZOLNER: It's footnote 739.          3   Watson Pharmaceuticals used for wholesalers
     4            MR. FULLER: Oh, you're in a             4   in 2004?
     5       footnote. Okay. Sorry.                       5       A. It's going to take me a minute
     6            MS. ZOLNER: No, it's above              6   to review my report because of Allergan,
     7       footnote 739. I'm sorry, I was just          7   Watson, Actavis --
     8       giving you an identifier.                    8       Q. Allergan.
     9       A. It starts on the page before?             9       A. Allergan.
    10   BY MS. ZOLNER:                                  10       Q. Right.
    11       Q. It's on page 157.                        11       A. The three companies I want to
    12       A. The multiplier?                          12   make sure I answer correctly.
    13       Q. The sentence that I just read            13       Q. I understand, but again, we
    14   that includes "orders from wholesalers,         14   have very limited time and there are
    15   distributors and chain pharmacies were          15   additional questioners waiting in the wings.
    16   regularly allowed at triple the historical      16            So do you know if you cited to
    17   average or more" is right before you cite to    17   that in your report as you sit here today?
    18   footnote 739.                                   18       A. I believe I did.
    19            Did you write that?                    19       Q. You think that you included the
    20       A. Yes, I did.                              20   multiplier that Watson Pharmaceuticals used
    21       Q. What did you mean by regularly           21   for wholesalers in 2004?
    22   in that sentence?                               22       A. Oh, no, I believe I made a
    23            MR. FULLER: Maybe I'm just an          23   comment or their system. I don't know if I
    24       idiot, but I'm not seeing where she's       24   quoted. That's why I want to read it on
    25       reading from. Are you seeing where          25   whether there was a multiplier.
                                              Page 745                                            Page 747
     1       she's reading from?                          1       Q. We can take a break and go off
     2            THE WITNESS: It starts right            2   the record if you want time to familiarize
     3       here.                                        3   yourself with your report.
     4            MS. ZOLNER: And I'm not going           4            MR. FULLER: He's not going to
     5       to comment on what you said one way or       5       do that. He'll do it on the report.
     6       another, Mr. Fuller.                         6            MS. ZOLNER: Counsel,
     7       A. I'm not really sure right now.            7       Mr. Rafalski has taken an
     8   BY MS. ZOLNER:                                   8       extraordinary amount of time reviewing
     9       Q. You don't know what you meant             9       his report and giving long answers to
    10   by regularly in that sentence?                  10       questions that only require a yes or a
    11       A. I know what the sentence means,          11       no.
    12   but...                                          12            Again, we're trying to be
    13            My recollection is that the            13       efficient and we're trying to handle
    14   multiplier, when it was set by people in the    14       this deposition in as -- as efficient
    15   various trade -- various different trades,      15       of a manner as possible, but to the
    16   there were -- there -- there were regular       16       extent that he needs to look at his
    17   occurrences where it allowed distributions      17       report in order to answer these
    18   above the historical average, but that's my     18       questions and tell me if he included
    19   recollection.                                   19       certain facts in his report, we should
    20            MS. ZOLNER: Move to strike as          20       go off the record to allow him time to
    21       nonresponsive.                              21       review what he says he wrote himself.
    22   BY MS. ZOLNER:                                  22            MR. FULLER: No, ma'am.
    23       Q. What does regularly mean in              23            MS. ZOLNER: Okay. Well, then
    24   that sentence? And if you don't recall --       24       let the record reflect that Mr. Fuller
    25       A. Often.                                   25       is refusing to allow Mr. Rafalski to
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                                                   Page 748                                                Page 750
     1       go off the record, and if you could                 1   at 1131, is this, to your knowledge, a slide
     2       please mark the deposition with the                 2   with a computer screenshot?
     3       time he's taken to review his report                3       A. Or a re-creation of one.
     4       now.                                                4       Q. Do you know what this
     5       A. So my answer is contained in                     5   screenshot shows?
     6   that similar section, but it's at the                   6            (Document review.)
     7   beginning.                                              7   BY MS. ZOLNER:
     8   BY MS. ZOLNER:                                          8       Q. Again, Mr. Rafalski, you cited
     9       Q. Okay.                                            9   to this in your report.
    10       A. I believe my review of the                      10       A. Yes, I just need a second to
    11   records indicate that there's a multiplier             11   review it.
    12   table and it's -- there's a variance                   12       Q. Sure.
    13   dependent on -- it's set by people and it's            13       A. I think it's stated below,
    14   not a firm multiplier.                                 14   tables used to calculate the values
    15       Q. Okay. I think you're talking                    15   displayed.
    16   about the multiplier data table that you cite          16       Q. Mr. Rafalski, I think you're
    17   in your report. Let's look at that document.           17   looking at the wrong page.
    18       A. The one -- yes.                                 18       A. And it provides -- I'm sorry.
    19       Q. It's what you cited to in                       19       Q. No, that's all right. I'm just
    20   footnote 739?                                          20   looking over your shoulder -- or across the
    21       A. I'm aware of the document.                      21   table by your shoulder, and it looks like
    22       Q. Okay. So we're going to mark                    22   you're on the wrong page. So it's 1131.
    23   this --                                                23       A. I'm sorry. It shows the
    24       A. It has a three and a six                        24   multiplier for SOMS and OMS.
    25   multiplier.                                            25       Q. It shows a multiplier for SOMS
                                                     Page 749                                              Page 751
     1            MS. ZOLNER: We need to mark it                 1   and OMS, but where did you find this
     2        as an exhibit.                                     2   particular document?
     3            (Whereupon, Deposition Exhibit                 3       A. I know I reviewed it.
     4        Rafalski-28, Actavis SOM Logic                     4       Q. How did you come to review it?
     5        Presentation, ALLERGAN_MDL_02181128 -              5            MR. FULLER: Counsel, maybe I
     6        ALLERGAN_MDL_02181172, was marked for              6       don't understand. Are you asking
     7        identification.)                                   7       where he obtained the document?
     8   BY MS. ZOLNER:                                          8       A. I believe it's an exhibit to
     9        Q. If you could turn to page 1131.                 9   one of the depositions.
    10   Those are the last four Bates numbers. This            10   BY MS. ZOLNER:
    11   is the document you cited, correct,                    11       Q. And you found this -- it's your
    12   Mr. Rafalski?                                          12   testimony that you found this document
    13        A. It is.                                         13   attached as an exhibit to a deposition?
    14        Q. What's the date of this                        14       A. That's my recollection right
    15   document?                                              15   now, yes, ma'am.
    16        A. I don't see a date.                            16       Q. Did you do any additional
    17        Q. Is this the only document that                 17   research into the background on this
    18   you cite in your report that includes                  18   screenshot?
    19   multipliers that Watson Pharmaceuticals used           19       A. I don't recall at this time,
    20   in its suspicious order monitoring system?             20   no, ma'am.
    21        A. I believe it is, yes, ma'am.                   21       Q. Did you do anything to
    22        Q. I believe you just told me you                 22   determine the date of when the screenshot was
    23   don't know the date of the document. This              23   captured?
    24   document that we're looking at right now, or           24       A. No, ma'am, I don't recall doing
    25   the specific page we're looking at right now           25   that either.

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     1       Q. Do you know whether the                   1       suggested that if he does come upon
     2   multipliers in the screenshot were ever put      2       additional information, he can let me
     3   into effect?                                     3       know if his answer changes.
     4       A. I don't have recollection if              4           MR. FULLER: No, ma'am.
     5   they were or not, no, ma'am.                     5   BY MS. ZOLNER:
     6       Q. Do you know what entity this              6       Q. In your report --
     7   screenshot is tied to?                           7           MS. ZOLNER: No, he can't let
     8       A. Entity?                                   8       me know if his answer changes?
     9       Q. Sure.                                     9           MR. FULLER: I'm not going to
    10       A. You mean which company?                  10       have him go look at a document on a
    11       Q. Correct.                                 11       break that you won't provide to him.
    12       A. Doesn't -- it doesn't say on             12           MS. ZOLNER: That's your
    13   this other than Actavis down in the             13       choice. That's your choice. I don't
    14   right-hand corner.                              14       need to argue with you on the record.
    15       Q. Did you do anything to                   15   BY MS. ZOLNER:
    16   determine what entity this screenshot came      16       Q. In your report, you claim you
    17   from?                                           17   considered all discovery responses of
    18       A. No, ma'am.                               18   defendants included in your report, correct?
    19       Q. Do you -- do you know when the           19       A. Yes, ma'am.
    20   multipliers in this screenshot were put into    20       Q. Did you review Allergan's
    21   effect, if at all?                              21   Responses to Plaintiffs' Fourth Set of
    22       A. I don't have any recollection            22   Interrogatories from February 25th, 2019?
    23   right now, no, ma'am.                           23       A. Yes, ma'am.
    24       Q. Do you know how long the                 24       Q. Do you recall that those listed
    25   multipliers in this screenshot were in place?   25   the multipliers that were used over time?
                                              Page 753                                             Page 755
     1       A. At this time, I don't have any            1        A. I don't recall that.
     2   recollection, no, ma'am.                         2        Q. You don't recall reviewing
     3       Q. Do you know whether the                   3   that?
     4   multipliers in this screenshot were ever used    4        A. I recall reviewing it. I don't
     5   at all?                                          5   recall if I saw that information in the
     6       A. I'd like to look up a document.           6   responses.
     7   One second, please.                              7        Q. Would your opinion be affected
     8       Q. What document are you looking             8   if the multipliers used by Watson were not
     9   for, Mr. Rafalski?                               9   used as you described them in your report?
    10       A. MDL02578082.                             10        A. If my report is inaccurate,
    11       Q. Again, Mr. Rafalski, we do not           11   yes, it would change my opinion.
    12   have time to look for documents right now.      12        Q. In your report on page 158 and
    13            I'm just going to ask you as           13   159, I think that's just a couple of pages
    14   you sit here today, do you have any             14   away. Let me know when you're there,
    15   recollection as to whether you have done any    15   page 158.
    16   investigation into whether these multipliers    16        A. I'm there.
    17   were ever changed?                              17        Q. You say: The automated portion
    18       A. Independent of not letting me            18   of the system did not utilize any downstream
    19   look at this document, no, ma'am.               19   customer information available, did not
    20       Q. You can look at the document on          20   differentiate among NDC codes for drugs with
    21   a break, and if your testimony changes,         21   a higher risk of diversion, and only manually
    22   please let me know.                             22   stopped orders from shipping.
    23            MR. FULLER: Counsel won't let          23             Do you see that?
    24       the witness finish his investigation.       24        A. You're on 158 or 159?
    25            MS. ZOLNER: Mr. Fuller, I              25        Q. It starts at the bottom of 158

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                                             Page 756                                            Page 758
     1   and goes to the top of 159.                     1   and post-merger Actavis used?
     2        A. Yes, I believe my review of the         2        A. I think pre they had a
     3   system -- or that comment is referenced to      3   threshold based only related to the size,
     4   all occurred pre-2012.                          4   pre-acquisition, Watson acquisition. Post, I
     5        Q. Okay. So does that statement            5   think it continued for a little bit and then
     6   apply to pre-merger Watson?                     6   it rolled into the Watson system.
     7        A. No, ma'am.                              7        Q. How do you know that?
     8        Q. You said at the beginning of            8        A. From reviewing the records
     9   page 159: Like the pre-merger Actavis           9   and -- that's my recollection.
    10   system.                                        10        Q. So what do you mean when you
    11            Are you referring to another          11   say post, it continued for a little bit and
    12   entity other than pre-merger Watson?           12   then it rolled into the Watson system?
    13        A. I don't think so, no, ma'am.           13        A. It's just my recollection. Let
    14        Q. What entity are you referring          14   me review my report, but --
    15   to?                                            15        Q. Again --
    16        A. Well, I think the merger was in        16        A. It converted over into the
    17   2012, so...                                    17   Watson system. That's just my recollection
    18        Q. So you are referring to                18   of doing my opinion.
    19   pre-merger Watson?                             19        Q. I understand. And we have
    20        A. Well, the statement says that I        20   limited time, so my question was specific to
    21   am, yes, ma'am.                                21   whether post-merger Actavis was specifically
    22        Q. So it's your opinion that              22   manually stopping orders. That was a couple
    23   pre-merger Watson only manually stopped        23   of questions ago, and I believe you said you
    24   orders from shipping, correct?                 24   didn't know.
    25            (Document review.)                    25            Did you -- so let me just see
                                             Page 757                                            Page 759
     1   BY MS. ZOLNER:                                  1   if I can reframe this and see if I can
     2       Q. Could I ask what you're looking          2   refresh your recollection.
     3   at, Mr. Rafalski? I know it's your report       3             Did you review the deposition
     4   but --                                          4   transcript of Mary Woods in your preparation
     5       A. I'm just rereading -- rereading          5   of your report?
     6   a section. I make the statement that only       6        A. I did.
     7   manually stopped orders from shipping.          7        Q. Who is Mary Woods?
     8       Q. Right.                                   8        A. I don't have a recollection
     9       A. That's my recollection.                  9   right now. Although I say that I also
    10       Q. So does that statement apply to         10   reviewed that last night.
    11   post-merger Actavis?                           11        Q. You reviewed Mary Woods'
    12       A. It would the way it's written,          12   transcript last night?
    13   yes, ma'am.                                    13        A. I did.
    14       Q. You talk in your report about           14        Q. So it should be fresh in your
    15   pre- and post-merger entities. Do you know     15   memory. Do you recall who she worked for?
    16   the difference between the pre- and            16        A. I believe Allergan --
    17   post-merger entities?                          17        Q. Allergan.
    18       A. I do.                                   18        A. Sorry I keep mispronouncing it.
    19       Q. So is it your opinion that              19        Q. Do you recall that she was the
    20   post-merger Actavis only manually stopped      20   corporate representative who testified about
    21   orders from shipping?                          21   pre-merger Watson and post-merger Actavis?
    22       A. I'm not sure.                           22        A. I don't have a direct
    23       Q. You're not sure?                        23   recollection of that.
    24            Do you know the difference            24        Q. Okay. But you did review the
    25   between the systems that pre-merger Actavis    25   transcript last night?
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                                              Page 760                                             Page 762
     1        A. I did.                                   1   believe that Watson -- the Watson system only
     2        Q. Do you recall reading from               2   manually held orders given my representation
     3   Ms. Woods' transcript that when it came to       3   to you that Mary Woods testified otherwise?
     4   how the Watson system would pend orders, the     4       A. No, I do not.
     5   system would automatically hold it?              5       Q. On page 158 of your report, you
     6        A. I don't have an independent              6   acknowledge that when Watson bought Actavis,
     7   recollection of that.                            7   the combined company used the Watson system,
     8        Q. You don't recall if you read             8   correct?
     9   that last night?                                 9       A. To save time, you want to tell
    10        A. I may have read it. I just              10   me --
    11   don't recall it.                                11       Q. Sure. I'm right after
    12        Q. Did you read that transcript in         12   footnote 754 in the body of the text: But
    13   its entirety?                                   13   the new system was never implemented and when
    14             MR. FULLER: You mean last             14   Watson bought Actavis, the combined company
    15        night or ever?                             15   reverted to the Watson system until 2015 when
    16             MS. ZOLNER: If he needs               16   it announced it was selling all of its
    17        clarification he would ask. I would        17   generic drugs and various corporate
    18        ask for you to quit coaching the           18   subsidiaries to Teva, and as Napoli said,
    19        witness.                                   19   Teva already had their own program in place
    20             MR. FULLER: Object to form,           20   for suspicious order monitoring.
    21        vague.                                     21       A. Yes.
    22        A. I read some last night, some            22       Q. So that's written directly in
    23   this morning. I believe I read it in its        23   your report.
    24   entirety, although I tried to read it quicker   24       A. Yes.
    25   than I normally would, and I read it previous   25       Q. Given that, why do you claim
                                              Page 761                                             Page 763
     1   to last night.                                   1   that the combined company only manually
     2             I read it because of the -- the        2   stopped orders?
     3   acquisitions and the changes and the multiple    3       A. I don't recall.
     4   systems. It's a pretty complicated opinion,      4       Q. You don't recall why you make
     5   and I was trying to ensure that I would be       5   that assertion?
     6   prepared to answer these type of questions.      6       A. Not at this time, no, ma'am.
     7   And the -- this is a more complicated            7       Q. As you sit here today, can you
     8   situation than the individual companies.         8   identify a single document that you reviewed
     9   BY MS. ZOLNER:                                   9   that supports the assertion that Watson
    10        Q. What do you mean by it's a              10   pre-merger only manually stopped orders?
    11   pretty complicated opinion?                     11       A. No, ma'am.
    12        A. Well, not opinion. A                    12       Q. If a customer places an order
    13   complicated review, because of the company      13   and then decides to reduce it, does that
    14   acquisitions, the use of multiple systems or    14   always indicate diversion? It's a yes or no.
    15   the overlap of systems. One system replaced     15       A. When you use the term "always,"
    16   another system.                                 16   I would answer no.
    17             This was a difficult -- to keep       17       Q. If a customer places an order
    18   all of it -- to be able to respond quickly to   18   and then decides to cancel it, does that
    19   your questions, to keep all of that in          19   always indicate diversion?
    20   sequence, it's --                               20            MR. FULLER: Let the record
    21        Q. Did you read this testimony             21       reflect counsel cut the witness off
    22   before you wrote your report?                   22       and he did not complete his answer.
    23        A. Yes, and I also went back to            23            MS. ZOLNER: It's a yes-or-no
    24   certain specific footnotes also.                24       question and I'm running out of time.
    25        Q. Do you have any basis to                25       A. I can't either answer yes or no
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     1   because there would -- in reviewing this, if     1       Q. And you say this policy was
     2   it's in response to a triggered order, a         2   consistent through 2012, a couple of lines
     3   suspicious order, and a customer would be        3   down, and you cite to footnote 742.
     4   contacted, and there's a request to reduce it    4            Do you see that?
     5   based on the size and they agree to do that,     5       A. Yes.
     6   to fail -- to stop the triggering of a           6       Q. Would your opinion be affected
     7   suspicious order, then it would be a yes.        7   if you found out that even before 2002 [sic],
     8             Does a registrant -- does any          8   Watson actually required customers to provide
     9   person ordering a controlled substance have      9   legitimate reasons to reduce or cancel
    10   the right to change their order? Yes, within    10   orders?
    11   the regulations they could call and say         11       A. So in regards to that, there
    12   either cancel my order or reduce my order.      12   was -- I reviewed multiple policies that were
    13   That's allowed, permissible under               13   during this time period. There was Watson
    14   regulations.                                    14   policies that I reviewed.
    15   BY MS. ZOLNER:                                  15            I have a recollection that in
    16        Q. So your answer to my question           16   that policy I think a statement similar to
    17   would be, no, if a customer places an order     17   what you said appeared, but also contained
    18   and then decides to cancel it, it does not      18   within those policies, also directed
    19   always indicate diversion?                      19   employees the availability to either cut or
    20        A. My -- my answer would be under          20   cancel an order, to terminate a suspicious
    21   certain circumstances the answer would be       21   order.
    22   they could do that.                             22            MS. ZOLNER: Move to strike as
    23             MS. ZOLNER: Could we take a           23       nonresponsive.
    24        quick break? I need -- just need to        24   BY MS. ZOLNER:
    25        confer with my colleagues on a couple      25       Q. Would your opinion be affected
                                              Page 765                                            Page 767
     1       of issues.                                   1   if you found out that even before 2012,
     2            THE VIDEOGRAPHER: Going off             2   Watson actually required customers to provide
     3       the record, 3:40 p.m.                        3   legitimate reasons for canceling or reducing
     4            (Recess taken, 3:40 p.m. to             4   orders? It's a yes or no.
     5       3:47 p.m.)                                   5              MR. FULLER: Object to form,
     6            THE VIDEOGRAPHER: We're back            6        incomplete hypothetical.
     7       on the record at 3:47 p.m.                   7        A. I'm not aware that that
     8   BY MS. ZOLNER:                                   8   occurred, but if that was something that I
     9       Q. Mr. Rafalski, before the break            9   missed or is available to me, I would
    10   we were talking about reducing and canceling    10   consider it in my opinion. I'm not sure
    11   orders. And we've talked a lot about            11   depending on how it would be written in the
    12   Allergan and pre-merger and post-merger         12   context of it, but I would definitely look at
    13   entities, but I want to talk specifically       13   it and consider it in regards to my opinion.
    14   right now about Watson and Watson's SOM         14   BY MS. ZOLNER:
    15   policy.                                         15        Q. Would it make a difference to
    16            Would your opinion on                  16   you?
    17   whether -- actually, let's turn to page 157     17        A. As I stated --
    18   of your report. In Section 13 --                18              MR. FULLER: Objection, asked
    19       A. Yes.                                     19        and answered.
    20       Q. -- the first sentence says:              20        A. -- it would depend on the --
    21   The Watson system affirmatively allowed         21   just that comment, it would depend on the
    22   customers to get around violations by           22   totality of the document I reviewed and the
    23   canceling the order or cutting the quantity.    23   context of it or how it would be stated.
    24            Do you see that?                       24   It's -- it's possible, yes.
    25       A. I do.                                    25              ///

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                                              Page 768                                             Page 770
     1   BY MS. ZOLNER:                                   1       A. No, I did not review specific
     2       Q. So as you're sitting here right           2   orders to see if I could determine by the
     3   now, you're leaving open the possibility that    3   order whether or not it had been reduced or
     4   it might not make a difference to you whether    4   terminated.
     5   Watson required customers to provide             5       Q. How do you establish a pattern
     6   legitimate reasons for canceling or reducing     6   for understanding how a company investigates
     7   orders?                                          7   orders without looking at the orders
     8             MR. FULLER: Same objection.            8   themselves?
     9       A. So if that statement appeared             9           MR. FULLER: Object to form.
    10   along in conjunction with first telling them    10       A. Well, I -- I'm not saying that.
    11   that their order had triggered a suspicious     11   I'm saying in response to your question, for
    12   order and just as hypothetical, so if there     12   me to be able to make a determination on a
    13   was some -- it appeared within a policy or a    13   terminated or cut order. I thought your
    14   statement that was combined with the ability    14   question was whether I looked at records to
    15   to cut or transfer to circumvent a suspicious   15   determine if --
    16   order and then also have them provide a         16   BY MS. ZOLNER:
    17   reason why, I think there's the possibility     17       Q. That's right, Mr. Rafalski. I
    18   that -- that's why I answered the question      18   asked you a question about whether you looked
    19   that way. There is a possibility that it        19   at any specific orders, and you told me no.
    20   would not influence my opinion. I hope that     20           As you sit here today, you
    21   answers your question.                          21   cannot identify a single order where Watson
    22   BY MS. ZOLNER:                                  22   allowed an order to be reduced or canceled
    23       Q. Do you know of any particular            23   without the customer supplying a legitimate
    24   order that Watson allowed to be reduced or      24   business reason, correct?
    25   canceled without a legitimate reason?           25       A. I didn't see any records where
                                              Page 769                                             Page 771
     1      A.      No, I do not.                         1   that occurred, so I -- the answer --
     2            MR. FULLER: Object to form.             2       Q. So I'm correct?
     3       A. But in reviewing the policies,            3       A. Yes.
     4   just allowing them to do that in regards to      4       Q. So my question is: How do you
     5   terminating a suspicious order, whether they     5   establish a pattern for understanding how a
     6   did it or not, just the policy to have that      6   company investigates orders without ever
     7   in place would make it an ineffective            7   looking at specific orders?
     8   suspicious order system.                         8            MR. FULLER: Object to form.
     9   BY MS. ZOLNER:                                   9       A. I look at -- I don't look at
    10       Q. Did you understand my question           10   specific orders. I look at the due diligence
    11   that I asked you? Because I can repeat it.      11   records and what the registrant did. Just
    12       A. No, maybe not if I --                    12   looking at a specific order itself doesn't
    13       Q. Okay. My question was a very             13   provide me with that sufficient information.
    14   simple one: Can you identify a single order     14   BY MS. ZOLNER:
    15   where Watson allowed -- do you know of any      15       Q. Would your opinion be affected
    16   particular order that Watson allowed to be      16   if you found out that Watson actually
    17   reduced or canceled without a legitimate        17   reported customers to the DEA if they tried
    18   reason?                                         18   to cancel orders without any justification?
    19       A. Not as I sit here today. I               19       A. Would those be orders that were
    20   have not reviewed the data for that             20   identified as suspicious orders?
    21   particular situation.                           21       Q. My question is a simple one.
    22       Q. So you did not review the data           22            MR. FULLER: And he's just
    23   to find out if Watson allowed for orders to     23       asking for a complete hypothetical.
    24   be reduced or canceled without a legitimate     24   BY MS. ZOLNER:
    25   reason?                                         25       Q. And I'll repeat it. Would your
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     1   opinion be affected if you found out that        1        A. I think based on my review or
     2   Watson actually reported customers to the DEA    2   the review of the deposition, I make this
     3   if they tried to cancel orders without           3   statement that there was an increase in the
     4   providing a justification?                       4   average of SOMS that were assigned.
     5        A. Depending on the time frame and          5        Q. Your review of the deposition.
     6   the amount of orders and if it was a             6   What deposition are you referring to?
     7   consistent conduct by Watson, there's a          7        A. I think it was Ms. Woods'
     8   possibility that would be a yes, it would        8   deposition, I believe.
     9   affect my opinion.                               9        Q. And what specifically from
    10        Q. I'm still on page 157 of your           10   Ms. Woods' deposition are you using as your
    11   report, and again, if you're looking            11   basis to conclude that the administrators'
    12   around -- right before footnote 746, you        12   duties were performed any differently from
    13   point out that from 2009 to 2011 the number     13   2009 to 2012?
    14   of SOMS validations at Watson increased, but    14        A. I didn't say they were
    15   the number of administrators did not.           15   performed differently. I just said that
    16            Do you see that?                       16   there was an increase in the number of SOM
    17        A. Yes, I do.                              17   validations that were assigned to them.
    18        Q. Do you know how many                    18        Q. And I'm asking you a different
    19   administrators Watson had on staff to handle    19   question, which is whether there's any reason
    20   SOMS validations between 2009 and 2012?         20   for you to conclude that the duties were
    21        A. I don't have a direct                   21   performed any differently from 2009 to 2012.
    22   recollection of that.                           22   It's a yes or no.
    23        Q. Do you have a general                   23        A. No.
    24   recollection?                                   24            MS. ZOLNER: Mr. Rafalski, I
    25        A. No.                                     25        thank you very much for your time.
                                              Page 773                                             Page 775
     1       Q. Do you know whether the                   1           Like all of my colleagues that
     2   administrators' other job responsibilities       2      have gone before me, I just have to
     3   changed in any way?                              3      say for the record that there are 86
     4       A. I don't have a recollection of            4      Allergan and Actavis documents that
     5   that at this time.                               5      you cite in your report and in your
     6       Q. Do you know whether Watson's              6      reliance materials. I obviously
     7   number of customers increased in that time?      7      haven't had time to question you on
     8       A. I do not.                                 8      most, the majority, practically all of
     9       Q. Do you know if they decreased             9      those documents, so I reserve all
    10   in that time?                                   10      rights to seek additional time from
    11       A. I do not.                                11      the Court to continue to question you
    12       Q. Do you know whether Watson               12      about your opinions as they relate to
    13   brought on any new customers during that        13      Allergan. But thank you again.
    14   time?                                           14           THE WITNESS: All right, thank
    15       A. I do not.                                15      you. I hope we do this again.
    16       Q. Do you know whether any new              16           MS. ZOLNER: I hope we meet
    17   customers were purchasing controlled            17      again, thanks.
    18   substances at that time?                        18           THE VIDEOGRAPHER: Going off
    19       A. I didn't see any records that            19      the record at 3:56 p.m.
    20   would give me any guidance on that particular   20           (Recess taken, 3:56 p.m. to
    21   issue, so I do not.                             21      3:57 p.m.)
    22       Q. So as you sit here today, do             22           THE VIDEOGRAPHER: Back on the
    23   you have any basis to conclude that the         23      record at 3:57 p.m.
    24   administrators' duties were performed any       24           ///
    25   differently from 2009 to 2012?                  25           ///

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     1               EXAMINATION                          1   documents as part of your work in this case
     2   BY MR. SNAPP:                                    2   that would disprove your conclusions with
     3       Q. Mr. Rafalski, we met off the              3   regard to any of the defendants you opined on
     4   record. I'm Erik Snapp. I represent Purdue.      4   in your report, correct?
     5       A. Good afternoon, sir.                      5       A. I just would search for
     6       Q. First of all, how much did you            6   documents. If -- not what they're -- whether
     7   spend on your Purdue section of your report      7   they would prove or disprove my opinion. I
     8   that starts on page 167 of Exhibit 16?           8   would look for documents to help me formulate
     9       A. I don't have a recollection of            9   my opinion. I didn't -- I wasn't biased to
    10   the exact amount of time.                       10   look for only certain documents.
    11       Q. How about a ballpark? Was it             11       Q. Once you reached your
    12   more than five hours?                           12   conclusions, did you search for documents to
    13       A. I believe so, yes.                       13   make sure that those conclusions were valid?
    14       Q. More than ten hours?                     14   In other words, did you search for documents
    15       A. I'm not exactly sure. I                  15   that might disprove that conclusion?
    16   believe it probably would be more than          16       A. I did not continue searching.
    17   10 hours.                                       17       Q. So once you reached your
    18       Q. Okay. More than 50 hours?                18   conclusions based on the documents you had
    19       A. No, sir.                                 19   reviewed, you stopped searching for
    20       Q. All right. More than 20 hours?           20   additional documents; is that fair?
    21       A. I'm not sure.                            21       A. I've continued to look at
    22       Q. All right. Did you review all            22   documents and continued -- you know, in my
    23   the documents and the transcripts that are      23   efforts to -- because it's millions and
    24   cited both in this section of the report from   24   millions of documents, so I just didn't put
    25   pages 167 through 172 and that were included    25   my report down and do nothing.
                                              Page 777                                            Page 779
     1   in your Schedule I, in terms of Purdue           1            I don't recall if I looked at
     2   documents?                                       2   Purdue, but I've continued to look at
     3        A. I'm not sure in the volume that          3   documents since I've submitted my report on
     4   you've described if I've looked at every         4   April 15th.
     5   document. I'm confident that I looked at the     5       Q. Well, have you looked at any
     6   documents related to my report.                  6   additional Purdue documents since April 15th?
     7            And then in regards to the              7       A. I don't recall if some of those
     8   depositions, I'm not sure I completely read      8   were Purdue or not.
     9   them. May have read the areas that I've          9       Q. If you look at page 172, the
    10   cited or the pages before and after the parts   10   last paragraph of your section on Purdue, in
    11   I cited, but I'm not sure that I read the       11   the middle of the paragraph there's a
    12   entire document --                              12   sentence that reads: Purdue failed to use
    13        Q. Fair enough.                            13   consistent algorithms and failed to
    14        A. -- deposition.                          14   investigate the suspicious orders identified
    15        Q. You only cite from two                  15   by the algorithms.
    16   depositions. One is Frank Geraci, the rough     16            Do you see that?
    17   transcript, and that's footnotes 820 and 822    17       A. Yes.
    18   through 824, and then you cite to one of        18       Q. Is it your testimony today that
    19   Mr. Seid's depositions; is that right?          19   Purdue failed to investigate all suspicious
    20        A. Yes, sir.                               20   orders that were identified by the
    21        Q. You didn't review any other             21   algorithms?
    22   depositions, correct?                           22       A. No, it's not. I believe there
    23        A. No, sir, I don't believe so. I          23   was some due diligence conducted by the
    24   don't have a recollection of doing that.        24   company.
    25        Q. And you didn't search for any           25       Q. So is that a mistake in your

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     1   report?                                          1   testimony?
     2       A. I say they conducted no due               2       A. Yes, and I misstated. I do
     3   diligence in my report?                          3   recall. I don't know that I read the entire
     4       Q. Well, you say they failed to              4   one, but I know I read the sections that I've
     5   investigate the suspicious orders identified     5   cited in my report.
     6   by the algorithms. It doesn't say some           6       Q. You didn't cite any sections of
     7   suspicious orders. It says "the" suspicious      7   that deposition in your report, sir.
     8   orders identified by the algorithms.             8       A. I believe 815, is that not it?
     9       A. I believe that's not a general            9       Q. No, it's a different
    10   statement, but I think the documents I          10   deposition, sir.
    11   reviewed would say that that happened on a      11       A. Fact deposition?
    12   consistent basis.                               12       Q. That was a fact deposition. He
    13             I'm not saying that there might       13   was deposed as the corporate representative
    14   have been due diligence for a customer or two   14   of Purdue. He was speaking as the company.
    15   in -- related to the files. That's my           15       A. Then I misspoke.
    16   recollection.                                   16       Q. So if a corporate
    17       Q. Just for a customer or two,              17   representative was being offered to testify
    18   that's all?                                     18   for the company with respect to the company's
    19       A. Well, I don't know, one or two,          19   special [sic] order monitoring system, isn't
    20   but there was some due diligence done by the    20   that something that you would ask for?
    21   company. It's not -- if that statement to       21       A. I would hope it would be
    22   you implies that none occurred, then that       22   provided to me.
    23   wouldn't be accurate because I know there was   23       Q. You would hope that plaintiffs'
    24   some due diligence.                             24   lawyers would provide that testimony to you
    25       Q. You also didn't include any              25   because it would be important for your
                                             Page 781                                              Page 783
     1   documents in your report with respect to         1   understanding of Purdue's special order
     2   Purdue's efforts to conduct site visits of       2   monitoring system to read that testimony,
     3   pharmacies, right?                               3   correct?
     4       A. I did not.                                4             MR. FULLER: Form.
     5       Q. And you didn't read the                   5        A. I'm not saying they didn't
     6   December 12th, 2018 corporate representative     6   provide it to me. I may have it. I might
     7   deposition of Purdue, did you?                   7   not have reviewed it.
     8       A. The name of the representative?           8   BY MR. SNAPP:
     9       Q. His name was Stephen Seid. He             9        Q. Well, it wasn't cited in your
    10   was deposed as a fact witness and you cited     10   report.
    11   his fact witness testimony?                     11        A. I agree, so that means I didn't
    12       A. I believe --                             12   read it.
    13       Q. But you didn't actually review           13        Q. If you had read that -- well,
    14   his corporate representative deposition, did    14   first of all, you also, I assume, then,
    15   you?                                            15   didn't review the exhibits to that
    16       A. I don't believe so. I --                 16   deposition, correct, unless they were
    17       Q. He was designated as a witness           17   included otherwise in the documents that
    18   to testify on identification of Purdue's        18   plaintiffs' counsel provided to you?
    19   policies and procedures for and the             19        A. If they were just -- if they
    20   identities of persons responsible for           20   were just attached to the deposition, then I
    21   monitoring suspicious orders --                 21   probably would not have reviewed them. If
    22       A. Can I --                                 22   they were exhibits that were also provided in
    23       Q. -- for potential diversion of            23   discovery outside of the deposition, I may
    24   opioids or opioid products.                     24   have cited them.
    25            Were you aware of that                 25        Q. So I can tell you that the one
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     1   I'm going to ask you about, you -- if you had    1   review.
     2   reviewed the exhibits to that deposition, to     2        Q. Okay. But you also didn't read
     3   the corporate representative deposition, sir,    3   Mr. Seid's testimony or Mr. Crowley's
     4   you would know that Purdue met with the DEA      4   testimony, for that matter, that no one at
     5   in April 2009 and provided an overview of its    5   the DEA ever expressed any critique or
     6   order monitoring system.                         6   complaint about Purdue's suspicious order
     7            You didn't know that, did you?          7   monitoring system, correct?
     8   It's not mentioned anywhere in your report, I    8        A. I don't have a recollection of
     9   can tell you that. Is that true?                 9   reviewing either of those statements, no,
    10        A. If it's not in my report, then          10   sir.
    11   I wasn't aware of it.                           11        Q. So the DEA never told Purdue
    12        Q. And if you'd read those                 12   that it needed to change its system, but in
    13   exhibits, you also would have known that        13   your report here, you have concluded, based
    14   Purdue met again with the DEA in April 2011     14   on somewhere between 10 and 50 hours of work
    15   and provided an overview of its updated order   15   and review of a handful of documents and two
    16   monitoring system after its OxyContin           16   deposition transcripts, that Purdue's order
    17   reformulation, but you didn't know that         17   monitoring system was inadequate, correct?
    18   either, did you?                                18        A. I think based on their policies
    19        A. I didn't know they met, but --          19   and their actions, I think I could come to
    20        Q. Okay.                                   20   that opinion, yes, sir.
    21        A. -- if the suspicious order              21        Q. Sir, would it ever be
    22   monitoring system they described was            22   appropriate for a DEA employee to use his or
    23   contained in other documents and it's           23   her personal e-mail system to communicate
    24   referenced in my report, then...                24   with a registrant about the registrant's
    25        Q. You also didn't read Mr. Seid's         25   suspicious order monitoring system?
                                             Page 785                                              Page 787
     1   testimony --                                     1             MR. FULLER: Object to form.
     2            MR. FULLER: Let him finish his          2       And as it applies to any internal DEA
     3       answer. He wasn't done, Counsel. He          3       policies, you're not authorized to
     4       can finish his answer.                       4       discuss it.
     5            MR. SNAPP: Were you done, sir?          5             THE WITNESS: I guess if that
     6            THE WITNESS: Could you read             6       would be covered by my Touhy letter,
     7       back my answer for me, please?               7       if it's a DEA policy or procedures not
     8       Because I was interrupted, I'm --            8       available to the public, I --
     9            MR. SNAPP: I'm sorry, it                9   BY MR. SNAPP:
    10       seemed like a natural break in your         10       Q. Well, generally speaking, in
    11       testimony so I just continued on,           11   today's world, would it ever be appropriate
    12       because I have limited time.                12   for a government employee to use their
    13            MR. FULLER: We all do.                 13   personal e-mail for government business?
    14            (The following portion of the          14             MR. FULLER: We know it
    15       record was read.)                           15       happens.
    16            "ANSWER: I didn't know they            16       A. Just a personal statement on
    17       met, but if the suspicious order            17   that, not --
    18       monitoring system they described was        18   BY MR. SNAPP:
    19       contained in other documents and it's       19       Q. What's your view? What's your
    20       referenced in my report, then..."           20   view, sir?
    21            (End of readback.)                     21       A. I think -- I think there were
    22   BY MR. SNAPP:                                   22   periods of time where that wasn't an issue or
    23       Q. Then what?                               23   it wasn't stated whether or not that was a
    24       A. Then my opinion would be the             24   problem, and I think there were certain
    25   same, if that is already included in my         25   situations where it almost was required
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     1   because of -- I'm trying to answer this          1   someone else to contact him.
     2   without causing a Touhy issue.                   2       Q. So he didn't send you an e-mail
     3       Q. I'll strike the question, sir.            3   asking for your comments about his outline
     4       A. Okay.                                     4   with respect to making visits on pharmacies?
     5       Q. Did you ever use your personal            5       A. Yes, but the initial contact --
     6   e-mail account to communicate with a             6   I don't believe he was given my e-mail. I
     7   registrant in your capacity as a DEA             7   don't have a direct recollection. I can --
     8   employee?                                        8   if you allow me to look at those documents.
     9       A. I probably did early in my                9       Q. You didn't look at the
    10   career. I'm aware that I used -- I don't        10   documents before opining about Purdue's
    11   recall this until I reviewed the document,      11   compliance program, right?
    12   that I sent an e-mail to Jack Crowley.          12       A. Those documents?
    13       Q. You did. You sent --                     13       Q. Any of the documents related to
    14       A. A couple.                                14   your communications with Mr. Crowley.
    15       Q. -- an e-mail to Jack Crowley             15       A. I've looked at those documents,
    16   who was at Purdue, correct?                     16   yes, sir.
    17       A. Yeah, I sent it to him and I             17       Q. You didn't include them in your
    18   think I told him it was my personal e-mail      18   report. So is it fair to say you're not
    19   and I think I explained a reason why, but...    19   going to be testifying at trial about your
    20       Q. Well, you didn't give a reason           20   interactions with Purdue?
    21   why, but you did explain that it was your       21             MR. FULLER: Object to form.
    22   personal e-mail.                                22       A. If those letters aren't
    23            So why did you send Mr. Crowley        23   included in my report, I won't be talking
    24   an e-mail from your personal e-mail account     24   about those letters.
    25   in 2009?                                        25             MR. SNAPP: Can we go off the
                                              Page 789                                            Page 791
     1        A. I think I was tasked to contact          1       record?
     2   him, and I was involved in some kind of          2             THE VIDEOGRAPHER: Off the
     3   project, and I either forgot or I didn't do      3       record at 4:10 p.m.
     4   it, and I felt obligated to. So when I got       4             (Recess taken, 4:10 p.m. to
     5   home that evening, I sent him an e-mail.         5       4:12 p.m.)
     6             I didn't have -- at that period        6             THE VIDEOGRAPHER: Back on the
     7   of time I didn't have access to send a           7       record at 4:12 p.m.
     8   government e-mail, unlike today, after hours,    8   BY MR. SNAPP:
     9   after I left.                                    9       Q. Sir, you know that Mr. Crowley
    10        Q. So Mr. Crowley had contacted            10   was planning to do some site visits of
    11   you -- first of all, he was a Purdue            11   pharmacies in 2009, correct, based on your
    12   employee, right?                                12   review of the documents?
    13        A. Yes.                                    13       A. Yes, sir. You're discussing in
    14        Q. He headed up Purdue's                   14   regards to the e-mail communication?
    15   Controlled Substances Act compliance program?   15       Q. Yes, sir. And he contacted
    16        A. At the time of that -- I know           16   you, he sent you an outline of questions he
    17   that today, but at the time I made that         17   intended to ask and his outline for those
    18   contact, I was asked by someone to give him     18   site visits, correct?
    19   some guidance and given his information.        19       A. I don't recall that.
    20        Q. Well, you were asked by him,            20       Q. Well, you think -- you agree
    21   right?                                          21   that it was a good thing that Mr. Crowley was
    22        A. No.                                     22   incorporating site visits, pharmacy site
    23        Q. You weren't?                            23   visits into the suspicious order monitoring
    24        A. Well, I wasn't asked by him to          24   system at Purdue, correct?
    25   contact him. I was told -- I was asked by       25       A. Without reviewing the document,

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     1   I know there was a communication, and I knew     1            (Recess taken, 4:14 p.m. to
     2   it was -- it's in regards to a visit to          2        4:17 p.m.)
     3   Detroit, and subsequent to those e-mails, I      3            MR. SNAPP: I'm just going to
     4   met him in person for a brief period of time.    4        make a statement for the record that
     5            I don't think he did the site           5        Purdue reserves its rights to continue
     6   visits, based on my conversation when he was     6        Mr. Rafalski's deposition in the same
     7   in Detroit, but -- so I -- I don't know          7        way that all the other defendants have
     8   without reading those documents.                 8        made a reservation of rights, for the
     9       Q. You provided feedback to his --           9        same reasons. Thanks.
    10   on his outline though, right?                   10            THE VIDEOGRAPHER: Back on the
    11       A. Yes, I was asked to answer some          11        record at 4:18 p.m.
    12   questions or give some guidance because he      12               EXAMINATION
    13   was coming to Detroit. And that's -- I          13   BY MR. FAUVRE:
    14   recall that, but I don't recall an outline or   14        Q. Mr. Rafalski, my name is David
    15   any specific questions.                         15   Fauvre. I'm counsel for Endo and Par in this
    16       Q. Okay. Well, I'm sure your                16   litigation.
    17   counsel will show those to you before you       17        A. Okay.
    18   testify at trial, sir, but let me ask you.      18        Q. And I'm going to be asking you
    19            What algorithms did Purdue use         19   questions about your report and the section
    20   to identify potentially suspicious orders?      20   that you -- of your report regarding Endo and
    21   You didn't discuss that in your report, did     21   Par is on pages 172 to 178.
    22   you?                                            22            You also refer in your report
    23       A. I believe I discussed the                23   to another entity named Qualitest, and I'll
    24   components, but I don't believe I put the       24   try to refer to those three entities as I'm
    25   specific algorithm in the report. That's my     25   asking you questions as we go.
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     1   recollection.                                    1            How much time did you spend
     2       Q. Well, did the algorithms change           2   writing this section on Endo, Par and
     3   over time, sir, in Purdue's system?              3   Qualitest?
     4       A. I don't recall.                           4       A. I'm going to look at the
     5       Q. Sir, is it fair to say that               5   length. It's hard for me to just give you an
     6   you're not offering any opinions in this case    6   arbitrary number.
     7   that Purdue ever shipped an order that it        7       Q. Six pages.
     8   should not have shipped?                         8       A. 10 or 15 hours, maybe up to 20,
     9       A. I think if I make the opinion             9   approximately.
    10   that they had a failure to maintain effective   10       Q. And did plaintiffs' counsel
    11   controls to prevent diversion, and they had     11   send you any sentences with citations that
    12   ineffective suspicious order systems, I think   12   you used in the section regarding Endo, Par
    13   I'm making that opinion that they shouldn't     13   and Qualitest?
    14   have shipped the orders they shipped.           14       A. I think it's a possibility
    15       Q. You're not offering any                  15   there are some sentences here that were
    16   opinions in this case that Purdue ever          16   provided to me. Obviously I reviewed them
    17   shipped any particular order to Cuyahoga        17   and they're in my report, but there may be
    18   County or Summit County that it should not      18   some sentences or some references in
    19   have shipped, are you?                          19   footnotes that I utilized, yes, sir.
    20       A. I'm not giving an opinion on a           20       Q. And what about any whole
    21   specific order.                                 21   paragraphs that they drafted that you made
    22            MR. SNAPP: Thank you. We can           22   your own?
    23       go off the record.                          23       A. I don't believe so, sir. I
    24            THE VIDEOGRAPHER: Going off            24   don't think there's anything here that's not
    25       the record at 4:14 p.m.                     25   been either edited or changed or drafted.
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     1        Q. And you testified earlier that            1       Q. And if there were other
     2   the documents that you reviewed are the           2   presentations that the companies made, either
     3   documents that are either cited in your           3   to DEA or internally, about their suspicious
     4   report or cited in Schedule I of your report;     4   order monitoring programs that you did not
     5   is that correct?                                  5   include in either Schedule I or in your
     6        A. I think that's an accurate                6   report, would you want to go back and review
     7   statement.                                        7   those to form your opinion for this report?
     8        Q. And those documents were                  8       A. Information that was available
     9   provided to you by plaintiffs' counsel based      9   in the discovery?
    10   on your request to them for particular           10       Q. Yes.
    11   categories of documents?                         11       A. Sure, if it would have an
    12        A. Yes, and their assistance in             12   influence that would change my opinion, I
    13   them looking for those type of documents.        13   would consider those documents. I would
    14        Q. And did you request SOPs,                14   consider anything that I missed that anyone
    15   standard operating procedures, as part of        15   thought was relevant -- relevant to my
    16   that request to plaintiffs' counsel?             16   opinion because I want my opinion to be
    17        A. That was one of the original             17   accurate based on all of the available facts.
    18   requests, yes.                                   18            The problem I had in this --
    19        Q. And if you did not include any           19   not in just this instance, but it was the
    20   SOPs from either Endo, Qualitest or Par in       20   volume of records make it virtually
    21   your report, would that be because you did       21   impossible, I think 50 million documents.
    22   not review those SOPs as part of your            22       Q. Sure. Understand.
    23   analysis?                                        23            And if you omitted certain
    24            MR. FULLER: Object to form.             24   documents, is it possible that your report
    25        A. I think that could be an                 25   might be missing some key elements of
                                               Page 797                                             Page 799
     1   accurate statement or the SOP wasn't relative     1   analysis?
     2   to my opinion, but generally speaking, if I       2       A. If there's a record that I
     3   didn't cite it, it didn't have an influence       3   didn't review or I missed, and it was
     4   either one way or the other on my opinion.        4   impactful upon my opinion, I would agree with
     5   Or I missed it, but...                            5   that statement.
     6   BY MR. FAUVRE:                                    6            I'm not aware that I -- I know
     7        Q. And so SOPs related to either             7   I did not intentionally omit documents to
     8   of these companies' suspicious order              8   formulate an opinion, but if it's something
     9   monitoring programs would not have been           9   that I did not see during my evaluation to
    10   relevant to this report; is that your            10   form my opinion, then I would obviously want
    11   testimony?                                       11   to know that.
    12            MR. FULLER: Form.                       12       Q. It's possible those documents
    13        A. No, that's not my testimony.             13   weren't provided to you based on your
    14   BY MR. FAUVRE:                                   14   requests of plaintiffs' counsel; is that
    15        Q. And so if there were SOPs                15   correct?
    16   related to the suspicious order monitoring       16       A. Well, I'm not sure I could
    17   program of any of these companies, you would     17   search 50 million documents, so I'm not going
    18   want to -- you want to have reviewed those;      18   to put that same expectation on someone else.
    19   is that correct?                                 19       Q. Sure. But however the process
    20        A. Yes, and I hope I did.                   20   was, it's possible you missed documents that
    21        Q. And if you didn't, would you             21   could be relevant?
    22   want to go back and review those to update       22       A. Yes, I think that's possible.
    23   your report at some point?                       23       Q. You've talked a lot today and
    24        A. If it changed my opinion, I              24   in your report about the requirements of the
    25   would do that, if it's not accurate.             25   Controlled Substances Act and its

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     1   implementing regulations?                        1   make for me in regards to that matter.
     2       A. Yes.                                      2            But if a ruling came down it
     3       Q. Do those -- does that statute             3   would make sense if they could not be treated
     4   and the regulations apply to companies that      4   as a registrant, I couldn't apply the -- I
     5   do not register with the DEA?                    5   personally couldn't apply rules and
     6       A. That's one of the interesting             6   regulations to them as a registrant.
     7   things that came up with Endo, because they      7       Q. And the standards you applied
     8   don't hold a DEA registration, and that was a    8   in coming up with your opinion in this report
     9   concern of mine when I was requested to          9   and what you intend to testify to at trial is
    10   provide an opinion.                             10   based on an analysis of whether they complied
    11             So in response to my question         11   with the Controlled Substances Act and the
    12   to the plaintiffs' attorneys, I was             12   implementing regulations?
    13   instructed that -- well, let me first state I   13       A. That was the standards I
    14   reviewed records that brought to my attention   14   applied, yes, sir.
    15   they weren't a registrant when there was some   15       Q. In looking at Endo's program
    16   agreements with -- and I don't remember         16   specifically, you reference on page 174 an
    17   exactly who they were. I think it was with      17   algorithm in paragraph -- numbered
    18   the -- either stating they agreed with the      18   paragraph 5 that says: The SOM program looks
    19   government or it was a document that said       19   at buying wholesaler customers' 3-month and
    20   they were telling the government that they      20   12-month history and if any order is above
    21   were going to assume the responsibilities of    21   the 3- or 12-month, it goes on hold and it is
    22   a registrant; they're a virtual manufacturer.   22   reviewed by customer service.
    23             So first I did some research on       23            Is that correct?
    24   a virtual manufacturer because that was new     24       A. Yes, sir.
    25   to me as a diversion investigator. So --        25       Q. Is that the algorithm that you
                                             Page 801                                              Page 803
     1   this is a long story -- I mean, not long         1   reviewed to come up with your opinion as to
     2   story.                                           2   Endo's sufficiency under the Controlled
     3             But so when I brought this             3   Substances Act?
     4   situation up with the plaintiffs' attorneys,     4        A. I think the main concern on
     5   they told me that that was a legal matter and    5   using just that to determine suspicious
     6   that was something that would be decided         6   orders, it was an evaluation of only size,
     7   between the attorneys at a later date.           7   and it didn't consider frequency and pattern.
     8             So I treated my opinion as if          8        Q. And then Endo later modified
     9   they were a registrant.                          9   its algorithm to include size -- quantity,
    10       Q. So your opinion is based on the          10   size and frequency? That's in your report in
    11   assumption that the Controlled Substances Act   11   the next paragraph.
    12   and its implementing regulations and the        12        A. Yes, yes, yes, 2014. But the
    13   requirements to have a suspicious order         13   opinion above was based on that --
    14   monitoring program apply to nonregistrants?     14        Q. So after 2014, do you believe
    15       A. Yes, knowing that -- I informed          15   that the algorithm that Endo employed was
    16   the plaintiffs' attorneys about that and they   16   sufficient?
    17   were aware of that, yes, sir.                   17             MR. FULLER: Somebody that's on
    18       Q. And if it turns out that those           18        the phone, we can hear you. Can you
    19   obligations do not apply to nonregistrants,     19        make sure you're muted, please?
    20   then your opinion as it relates to Endo would   20        Sorry.
    21   not be accurate?                                21   BY MR. FAUVRE:
    22             MR. FULLER: Object to form.           22        Q. Yes or no?
    23       A. I don't know that I could draw           23        A. No, I think there were other
    24   a legal conclusion. I think that's some --      24   factors that weren't included in the SOM
    25   something that someone at the court would       25   system I think they had access to.
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      1        Q. What about the algorithm, just           1   make changes. I'm not sure they fully
      2   the algorithm itself as a way to flag            2   integrated -- my recollection is they didn't
      3   potentially suspicious orders, is that -- is     3   fully integrate the chargeback. I think that
      4   the system that they employed after 2014 a       4   started to take a look at chargeback
      5   sufficient system to flag potential              5   information after 2013.
      6   suspicious orders?                               6            So I'm not sure I could make
      7        A. I think my concern is what they          7   a -- I would be in agreement that they
      8   compared it to, the 3- and 12-month average.     8   started to make changes, but I don't know
      9   I mean, it's their own purchasing average,       9   that they -- I would say they were fully
     10   but I'm not sure that there was a comparison    10   compliant based on the availability of some
     11   to, like, customers or just standing on its     11   other information they could have
     12   own, a 3- and a 12-month algorithm was a        12   incorporated.
     13   concern to me.                                  13        Q. And is it your opinion that
     14        Q. Isn't that a more restrictive           14   Qualitest's SOMS program was deficient in
     15   analysis than Methodology A, which looks at     15   2014 or does your opinion stop in the 2013
     16   the highest month's total in the past six       16   period?
     17   months? Here they're looking at an average      17        A. I don't give -- I don't give a
     18   over three months and over 12 months, which     18   stopping date, but then I also don't make
     19   necessarily would be below the highest month    19   comment on any changes that would be a system
     20   in either of those periods.                     20   that I thought was sufficient.
     21        A. It's definitely a layered               21            So I'm --
     22   algorithm, so it looks at two different time    22        Q. Do you have an opinion as to
     23   spans. The 3-month algorithm is too short of    23   whether Qualitest's program was sufficient
     24   a period for me to be impactive. The            24   after 2013, so from 2014 forward?
     25   12-month algorithm, using that as an average,   25        A. I don't make a statement in my
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      1   if that's the threshold and there's no           1   report, but I believe it was because I don't
      2   multiplier, I think that's a good start to       2   state otherwise.
      3   identify a suspicious order.                     3        Q. So do you plan to offer
      4        Q. And are you aware that the FDA           4   testimony at trial that Qualitest's program
      5   approved that very methodology in the risk       5   was insufficient from 2014 until the present?
      6   map that Endo submitted for its Opana ER         6        A. I think I'll testify currently
      7   product?                                         7   to exactly what's in my report.
      8             MR. FULLER: I'm sorry, FDA?            8        Q. Which is that it was
      9             MR. FAUVRE: FDA.                       9   insufficient up until 2013 and then you take
     10        A. I'm not aware of that.                  10   no opinion from 2014 on?
     11   BY MR. FAUVRE:                                  11        A. Well, I think it says after the
     12        Q. Okay. Moving to Qualitest, you          12   spring of 2013, but it doesn't give a date up
     13   identify in numbered paragraph 9, you say:      13   to some of the -- some of the section of my
     14   As late as March 2013, Qualitest's SOM          14   report give a date up to today or up to the
     15   process had multiple deficiencies.              15   date of submission of my report.
     16             And then you list several.            16             I agree that this doesn't have
     17             Were those deficiencies               17   an ending date of my review. It just
     18   corrected after March 2011?                     18   concludes after the spring of 2013.
     19        A. Well, later in there I report           19             I believe my recollection is,
     20   some deficiencies in regards to the ability     20   is that that statement, it continued on after
     21   to stop orders in different tiers.              21   that date, but I would only testify to the
     22        Q. But the deficiencies you                22   content of my report, if I was...
     23   identified in paragraph 9, those were           23        Q. And so the deficiencies you've
     24   corrected after March 2013; is that correct?    24   identified in your report existed in 2013,
     25        A. I think Qualitest took steps to         25   but did not exist after 2013?
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      1       A. I'm not sure.                             1       time as well as the other defendants
      2       Q. You take no opinion on whether            2       have to come back and question this
      3   the Qualitest SOMS program was sufficient in     3       witness. We have a lot more to cover.
      4   2014?                                            4       But thank you for your time.
      5       A. I don't make -- well --                   5            THE WITNESS: Okay. Thank you.
      6       Q. And --                                    6            THE VIDEOGRAPHER: Going off
      7       A. -- I'm concerned because I                7       the record. The time is 4:34 p.m.
      8   don't say that they were -- I would make         8            (Recess taken, 4:34 p.m. to
      9   comment. If there was a correction and I         9       4:36 p.m.)
     10   thought there was a proper or a compliant       10            THE VIDEOGRAPHER: We're back
     11   suspicious order system, I would make comment   11       on the record at 4:36 p.m.
     12   on that in my report.                           12              EXAMINATION
     13            The failure to make that               13   BY MS. BARBER:
     14   comment leads me to believe -- because I -- I   14       Q. Good afternoon, Mr. Rafalski.
     15   would take a little bit of time just to         15   My name is Maureen Barber and I represent the
     16   review some documents, but I believe that it    16   Teva defendants. And these defendants are
     17   remained deficient based on the failure for     17   covered on pages 178 to 185 of your report.
     18   me to say that it was corrected.                18            And I'll represent to you that
     19       Q. But you cite no evidence or              19   these defendants consist of Teva, Cephalon
     20   support for the belief that it was deficient    20   and Actavis entities. Would you agree
     21   after 2014; is that correct?                    21   with that those pages of your report cover
     22       A. In my report, I do not.                  22   your opinions on those particular defendants?
     23       Q. And you don't intend to offer            23       A. Yes, I do.
     24   any testimony at trial that the program was     24       Q. How much time did you spend
     25   deficient after 2014; is that correct?          25   reviewing documents related to your opinions
                                               Page 809                                            Page 811
      1       A. I think I would probably make             1   for Cephalon, Teva and Actavis entities? Was
      2   the same statement that I made here today.       2   it more than ten hours?
      3       Q. That you don't have an opinion            3       A. I believe it was.
      4   one way or another as to the program after       4       Q. More than 20 hours?
      5   2014?                                            5       A. No, I don't think so.
      6       A. No, that it would be my opinion           6       Q. So somewhere between 10 and
      7   that I would have -- if I thought that it was    7   20 hours?
      8   changed, I would give credit to Qualitest        8       A. I believe so.
      9   that it had a satisfactory suspicious order      9       Q. You mentioned in your report
     10   system, and by that not appearing here, I       10   ValueCentric data in the Teva defendants
     11   don't believe that's the case.                  11   section of your report.
     12       Q. And you haven't identified               12            Would you agree?
     13   anywhere in your report any suspicious orders   13       A. I do.
     14   that were allowed to ship by either             14       Q. Are you familiar with
     15   Qualitest, Endo, or Par; is that correct?       15   ValueCentric data?
     16       A. I have not, no individual                16       A. I've reviewed records and I'm
     17   orders have been identified up to this point    17   aware that as part of my evaluation, to give
     18   of my report, no, sir.                          18   you a description and evaluation or a
     19       Q. And you have not identified any          19   description, at this current time I'm not
     20   orders that were diverted that arose from       20   able to do that, but I have read it in parts
     21   suspicious orders from either Endo, Par or      21   of the deposition and other records.
     22   Qualitest; is that correct?                     22       Q. Did you review any ValueCentric
     23       A. No specific orders have been             23   867 data in relation to your assessment of
     24   identified by this report.                      24   Teva's suspicious order monitoring system?
     25            MR. FAUVRE: Okay. I reserve            25       A. I don't recall reviewing the

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      1   867 data.                                        1        Q. We discussed that today?
      2        Q. Can you tell me what 867 data            2        A. Yes.
      3   is, what the source of the data is? It's in      3        Q. In your report in the sections
      4   your report, so you must have -- you must        4   related to the Teva defendants, you don't
      5   have an understanding of what 867 data is; is    5   offer any opinion about whether any of the
      6   that correct?                                    6   Teva defendants should have used IMS or IQVIA
      7        A. The term "867 data," and I               7   data as part of their suspicious order
      8   believe I have a recollection, but it doesn't    8   monitoring systems, correct?
      9   describe it, and I don't want to misstate.       9        A. I don't recall that they had
     10        Q. But nonetheless, you think that         10   availability to that data.
     11   it's important for Teva to have 867 data        11        Q. You testified earlier also
     12   incorporated in its suspicious order            12   about chargeback data and using chargeback
     13   monitoring program, but you don't know what     13   data to detect suspicious orders.
     14   ValueCentric 867 data is? Is that what          14             Do you remember that testimony
     15   you're telling us?                              15   today?
     16        A. I believe it was an internal            16        A. I do.
     17   system that did -- my recollection is it was    17        Q. Only certain contracts generate
     18   an inventory type of a system that could look   18   chargeback data, correct?
     19   at distributions and on-hand inventory. And     19        A. Well, that's dependent on each
     20   that's my recollection of what it was.          20   manufacturer and dependent on which products
     21        Q. Okay. So you're not sure what           21   they want to offer chargebacks.
     22   that information would provide to Teva, the     22        Q. Right. So you would agree with
     23   Teva defendants, for purposes of                23   me that chargeback data would have limited
     24   incorporating that information into their       24   utility in detecting suspicious orders if
     25   suspicious order monitoring system?             25   only a portion of a registrant's customers
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      1        A. Well, sure, because I think              1   had contracts that generated chargeback data;
      2   it -- if my recollection is correct, they        2   wouldn't you agree?
      3   would know -- when an order came in from a       3       A. No, I would not agree because
      4   registrant, they would know how much product     4   on that particular controlled substance, it
      5   the registrant had on hand.                      5   would provide additional relevant transaction
      6        Q. The Value- -- would you agree            6   data. So if it was a controlled substance --
      7   with me that the ValueCentric 867 data is        7   and I know my report focuses on opioids, but
      8   dependent on the information that the            8   any controlled substance where you would be
      9   customers provide to ValueCentric? Would you     9   able to have that downstream information, I
     10   agree with that statement?                      10   think it would be impactful on a suspicious
     11        A. Yes, it is.                             11   order report.
     12        Q. And some customers might not            12       Q. Do you know what percentage of
     13   provide any information to ValueCentric;        13   entities who received products from Teva
     14   wouldn't you agree?                             14   purchased products through contracts that
     15        A. There is a possibility that             15   generate chargeback data?
     16   some registrants might share the information,   16       A. I don't recall that
     17   but I would hope that if a registrant would     17   information.
     18   not share information that would help prevent   18       Q. So -- and you would also agree
     19   diversion, that would be a consideration that   19   with me that downstream pharmacies or
     20   a manufacturer or distributor would take into   20   downstream registrants that purchase from
     21   effect before they distribute controlled        21   wholesalers who are likely to redirect the
     22   substances.                                     22   product through illegitimate channels would
     23        Q. You also mentioned in your              23   not want to generate chargeback data.
     24   report IMS and IQVIA data; isn't that right?    24   Wouldn't you agree with that?
     25        A. Yes.                                    25       A. No, I would not agree with
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      1   that.                                            1   specific product.
      2       Q. So you're telling me that a               2        Q. Are you offering any opinions
      3   pharmacy who is likely to redirect the           3   about whether any of those products were
      4   product through illegitimate channels would      4   improperly shipped?
      5   want to generate chargeback data?                5        A. I'm just going to restate.
      6       A. Well, my experience in doing              6   It's whether or not there was an effective
      7   these investigations is the chargeback is        7   suspicious order system in place. It's not
      8   kind of the amount of profit in a                8   relative to any specific product. If a -- if
      9   transaction. So typically, if there was          9   the manufacturer sold it and they had no
     10   no -- if a chargeback was available, it's       10   suspicious order in place, that would be the
     11   built into the price, and if you refuse to      11   opinion I would place, not whether or not --
     12   accept the chargeback, that discount makes it   12   the scenario you described.
     13   nonprofitable.                                  13        Q. The DEA regulations, including
     14             So typically, a registrant            14   the Controlled Substances Act and the Code of
     15   would not handle a drug where a chargeback is   15   Federal Regulations, do not require that
     16   available.                                      16   registrants -- they don't state that
     17       Q. So a pharmacy who is --                  17   registrants must audit their own suspicious
     18       A. It's possible, but that would            18   order monitoring system; isn't that correct?
     19   be my experience, that I have not come across   19        A. There's nothing directly which
     20   where a pharmacy would say I don't care about   20   tells them that. That would be a prudent and
     21   the chargeback, I still want to make the        21   advisable practice, but I don't think there's
     22   purchase from you.                              22   nothing specifically that orders them to do
     23       Q. Right. So a pharmacy wouldn't            23   that.
     24   want to create a paper trail; isn't that        24        Q. And there's nothing in either
     25   correct?                                        25   of those regulations stating that a
                                               Page 817                                             Page 819
      1       A. No. What I'm saying is because            1   registrant has to retain a third-party
      2   of the profit -- the income built into the       2   consultant to review their suspicious order
      3   chargeback, I would say that they probably       3   monitoring system?
      4   wouldn't care about whether or not the           4       A. No, absolutely not. The
      5   distributor knew about that.                     5   requirement puts that burden of compliance
      6       Q. Did you review any chargeback             6   directly on the registrant.
      7   data for Cephalon?                               7       Q. Where in the --
      8       A. I don't believe I did, no.                8       A. What steps they take, if they
      9       Q. How about for any of the                  9   were to go to a third-party consultant,
     10   Actavis entities?                               10   that's strictly at their free choosing.
     11       A. I don't recall that I reviewed           11       Q. So it doesn't state that in the
     12   specific chargeback data.                       12   regulations?
     13       Q. And speaking specifically about          13       A. It does not require them to do
     14   Cephalon, you're aware that they manufactured   14   that or state they should ever do that. It
     15   Actiq and Fentora and generic Actiq; isn't      15   says they have to do that, not a third party.
     16   that correct?                                   16       Q. Mr. Rafalski, you reviewed a
     17       A. I believe that was brought to            17   report prepared by Mr. Buzzeo and his
     18   my attention in reviewing records for this      18   consulting firm in conjunction with preparing
     19   report, yes, ma'am.                             19   your report in this case, right?
     20       Q. You're not offering any                  20       A. I did.
     21   opinions about whether any of those products    21       Q. And Mr. Buzzeo and his
     22   were diverted, are you?                         22   consulting firm was retained to review Teva's
     23       A. I'm offering an opinion about            23   suspicious order monitoring system in 2012,
     24   the suspicious order system of the              24   correct?
     25   registrants and it's not relative to any        25       A. They did -- they were, and my
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      1   recollection is they did not implement their     1        A. I believe he did make that
      2   system.                                          2   comment, yes. He didn't say that it was
      3        Q. What do you mean they didn't             3   sufficient to be compliant, but he did say it
      4   implement their system?                          4   was an improvement.
      5        A. Buzzeo was not retained as a             5        Q. But again, he didn't say that
      6   consultant and the Buzzeo system was not         6   it wasn't compliant with DEA regulations?
      7   implemented at the company.                      7        A. No, I didn't say that.
      8        Q. And at that time, he was                 8        Q. My question to you is: He
      9   reviewing the Suspicious Orders I system for     9   didn't say that it wasn't compliant with DEA
     10   Teva, correct?                                  10   regulations?
     11        A. I think that's an accurate              11        A. He never made that exact
     12   statement, yes.                                 12   statement.
     13        Q. And at no point does the report         13        Q. Teva also had an internal audit
     14   conclude that Teva's suspicious order           14   of its own suspicious order monitoring
     15   monitoring system was not compliant with DEA    15   program?
     16   regulations; isn't that a correct statement?    16        A. I believe so, yes.
     17        A. Say that again.                         17        Q. And that program was rated
     18        Q. At no point in Mr. Buzzeo's             18   overall as effective, correct?
     19   report does he conclude that the Teva           19        A. Yes, but it's an internal
     20   suspicious order monitoring system was not      20   audit.
     21   compliant with DEA regulations; wouldn't you    21        Q. The DEA regulations don't
     22   agree?                                          22   require that companies actively audit their
     23        A. I think -- I think he was               23   own programs, correct?
     24   critical of the functionality of it, but in     24        A. No, that's true. But I only
     25   reading other reports by Mr. Buzzeo, I don't    25   make that statement because sometimes the
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      1   think he draws -- makes that conclusion. At      1   person that does the audit, without knowing
      2   least he doesn't put it in his reports,          2   the full information on the audit, is the
      3   because he's not a DEA representative.           3   person in charge of the system, so they don't
      4       Q. The DEA regulations don't state           4   typically give a bad audit to themselves.
      5   what type of suspicious order monitoring         5             So, I mean, I'm not totally
      6   model a registrant has to use; isn't that        6   discounting it, but I'm always concerned
      7   correct?                                         7   about internal audits.
      8       A. No, it's up to the registrant             8        Q. Mr. Rafalski, in your report
      9   to design their system that meets their          9   you don't identify any suspicious order that
     10   business needs and accomplishes the             10   Teva shipped to Summit County or Cuyahoga;
     11   identification of suspicious orders.            11   isn't that correct?
     12       Q. And it doesn't state anything            12        A. I do not identify any single
     13   about what standard deviations or what number   13   suspicious order -- any order specifically
     14   of standard deviations a registrant should      14   that was suspicious.
     15   use in its algorithm for monitoring             15        Q. And that goes for Cephalon and
     16   suspicious orders?                              16   the Actavis entities as well, correct?
     17       A. It does not give guidance in             17        A. As I sit here today, that's an
     18   that area.                                      18   accurate statement.
     19       Q. At the time the Buzzeo                   19        Q. And you don't identify any
     20   report -- I'm sorry, strike that.               20   order that Teva failed to flag as suspicious?
     21            The Buzzeo report concluded            21        A. Is that question a specific
     22   that SORDS II, which is an improvement on the   22   order?
     23   SORDS I suspicious order monitoring program,    23        Q. Any order that Teva failed to
     24   that Teva had in place was an improvement       24   flag as suspicious, you don't have an example
     25   over SORDS I; isn't that correct?               25   of any specific order?

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      1       A. No, I think my examples in here           1   looking at those because Anda is his
      2   are more -- go more to the conduct of the due    2   customer, correct?
      3   diligence and it doesn't specifically say        3       A. Yes.
      4   that there was a specific order, but I think     4       Q. Right. And he was looking at
      5   the totality of the incident that I describe     5   Publix's forecasting data, correct?
      6   on page 183 I think would include that, but      6       A. Yes.
      7   to answer your question, there's no specific     7             MR. FULLER: Counsel, I believe
      8   order where I state that.                        8       the 14 hours is up.
      9       Q. And I want to ask you quickly             9             MS. BARBER: All right. At
     10   about that order.                               10       this time I am going to reserve my
     11            You're speaking of the Publix          11       time. I haven't had -- along with my
     12   Supermarket pharmacies incident or scenario     12       colleagues, haven't had adequate time
     13   that we discussed -- that's in your report on   13       to ask questions of Mr. Rafalski,
     14   page 183?                                       14       which is a violation of our clients'
     15       A. Yes, I am.                               15       due process, and we reserve any
     16       Q. The orders involving the Publix          16       additional time in the future to
     17   Supermarket pharmacies were not orders placed   17       examine Mr. Rafalski or reexamine
     18   from Publix to Teva, were they?                 18       Mr. Rafalski.
     19       A. No, they were placed to a                19             MS. SWIFT: Before we break,
     20   distributor, an in-between so --                20       I'd like to put one additional thing
     21       Q. Right. They were orders placed           21       on the record.
     22   from Publix to Anda, correct?                   22             Mr. Rafalski, you said your
     23       A. Yes. But so the first concern            23       method for assessing the defendants'
     24   that I would have with this is that Teva        24       suspicious order monitoring system is
     25   would need a means of effective controls to     25       based on your experience, training and
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      1   go to Anda and see why this situation            1      legal guidance from lawyers at the
      2   occurred.                                        2      DEA.
      3       Q. And it did do that, correct?              3           Just yes or no, does your Touhy
      4       A. I don't recall that occurring.            4      authorization --
      5       Q. Well, so you read the                     5           MR. FULLER: Don't answer this
      6   deposition of Joe Tomkiewicz, didn't you?        6      question.
      7       A. Yes.                                      7           MS. SWIFT: -- prevent you from
      8       Q. And sitting here today, you               8      disclosing the legal guidance from DEA
      9   don't know whether any of Teva's product was     9      lawyers that supports your opinion?
     10   ultimately shipped to one of those Publix       10           MR. FULLER: Don't answer the
     11   Supermarkets that Joe Tomkiewicz identified     11      question. She's over her time.
     12   as entities he wanted to look into, correct?    12           Off the record.
     13       A. Based on my review, he was               13           THE VIDEOGRAPHER: Going off
     14   looking at the chargebacks, and I believe       14      the record, 4:52 p.m.
     15   they were Teva products.                        15           (Recess taken, 4:52 p.m. to
     16       Q. But you would agree with me              16      4:52 p.m.)
     17   that Joe Tomkiewicz testified he didn't see     17           (The following proceedings were
     18   any specific orders of Teva's products,         18      conducted off the videotaped record.)
     19   correct?                                        19           MR. MATTHEWS: Good afternoon.
     20       A. Yes, but if they weren't Teva's          20      This is James Matthews. I represent
     21   products, I'm not sure that he would have       21      Anda Inc. I've sat here for two days
     22   taken all this action unless he was             22      at this deposition and have not asked
     23   indicating it was someone else's product that   23      any questions because the name Anda
     24   he was going to go investigate.                 24      doesn't appear in your report.
     25       Q. Well, he could have been                 25           However, in the last series of
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      1      questions, for the first time in two        1       A. Good afternoon, Mr. Fuller.
      2      days, the name Anda came up in your         2   I'm fine, thank you.
      3      testimony. However, because of the          3       Q. This is only going to take a
      4      limits placed on the defendants for         4   few minutes.
      5      asking questions at these depositions       5            In your report on approximately
      6      and because we have exceeded those          6   page 40 through 43, 44 identifies several
      7      limits at this point in time, I am not      7   methodologies and the results that Mr. McCann
      8      able to ask you questions, and so for       8   came up with based on those results, applying
      9      the record, I want to put on the            9   them to the ARCOS data in the distributors'
     10      record that we object to that              10   own information, correct?
     11      procedure and that we reserve our          11       A. Yes, sir.
     12      rights to seek an opportunity to ask       12       Q. And I want to make sure we're
     13      you questions should you seek to offer     13   clear, because there was some going back and
     14      an opinion about Anda at trial.            14   forth about that.
     15           Thank you very much.                  15            What you have put in your
     16           MS. SWIFT: And I'll just add          16   report is the dosage units from those
     17      that counsel instructed the witness        17   results, correct?
     18      not to answer at 7 hours and one           18            MS. SWIFT: Objection, leading.
     19      minute. We were one minute over our        19            MR. FULLER: You can answer.
     20      time and we were cut off.                  20       A. Yes, sir.
     21           THE REPORTER: Done?                   21   BY MR. FULLER:
     22           MR. PYSER: Mr. Rafalski, can          22       Q. She's going to object; she's
     23      you confirm that you're not going to       23   just preserving her right for the record.
     24      answer Ms. Swift's question?               24       A. I understand.
     25           MR. FULLER: Don't answer that.        25       Q. Okay. Underlying those dosage
                                             Page 829                                            Page 831
      1           MR. PYSER: Based on the                1   units would be individual orders to
      2      instruction of counsel, are you going       2   individual pharmacies within CT1; is that
      3      to answer the question or not?              3   your understanding?
      4           MR. FULLER: No, I'm going to           4            MS. SWIFT: Objection, leading.
      5      have a couple of minutes, so,               5        A. That's correct. Every dosage
      6      Mr. Pyser, if you want to ask him           6   unit that is listed here would be as the
      7      after I get my couple of minutes in,        7   result of an order to a registrant in CT1.
      8      you can.                                    8   BY MR. FULLER:
      9           MR. MATTHEWS: If you're going          9        Q. And of these five
     10      to have additional questions, I'd like     10   methodologies, I think you opined earlier,
     11      a --                                       11   and correct me if I'm wrong, that the first
     12           THE REPORTER: Are we still on         12   methodology, which was derived out of the
     13      the record? I can't hear down at the       13   Masters case, was the one that you chose to
     14      end of the table. I can't hear that.       14   utilize as being appropriate as an initial
     15           We're off the record.                 15   trigger, correct?
     16           (Recess taken, 4:54 p.m. to           16            MS. SWIFT: Objection, leading.
     17      4:56 p.m.)                                 17        A. I believe that was my --
     18           (Whereupon the videotaped             18            THE WITNESS: That's okay. I'm
     19      record resumes.)                           19        sorry I interrupted you and didn't
     20           THE VIDEOGRAPHER: We're back          20        wait.
     21      on record, 4:56 p.m.                       21        A. Yes, that -- that was my
     22              EXAMINATION                        22   earlier testimony.
     23   BY MR. FULLER:                                23   BY MR. FULLER:
     24      Q. Good afternoon, Mr. Rafalski,           24        Q. And just so the record is
     25   how are you?                                  25   clear, because everybody's referred to them
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                                               Page 832                                             Page 834
      1   as different things, methodologies, SOMS.        1   9.
      2   You're not saying that the methodology           2            Now, on page 17, it reads:
      3   selected is a complete SOM system; it's only     3   Cardinal Health's policy -- and this is a
      4   a system to give initial triggers for            4   pleading Cardinal filed in its action in the
      5   suspicious orders, correct?                      5   United States District Court for the District
      6       A. I think that was my previous              6   of Columbia against Eric Holder.
      7   testimony, but that would be the first part      7            It says: Cardinal Health's
      8   of a suspicious order system, to identify an     8   policy about which it informed the DEA as
      9   order, in this case, only -- in size only.       9   early as 2009 was that if a customer order
     10       Q. And multiple counsel have asked          10   could not be filled because it was
     11   you today related to -- or asked you            11   suspicious, Cardinal Health would terminate
     12   questions related to your assumptions or your   12   controlled substance sales to the customer
     13   assumption -- excuse me -- your opinion that    13   and report the termination to the DEA.
     14   once a suspicious order is triggered, if due    14            Do you see that?
     15   diligence isn't conducted, the failure to       15       A. Yes, sir, I do.
     16   remove that due diligence means all the other   16       Q. Is that consistent with your
     17   orders are suspicious from that point           17   opinion that if you can't clear due
     18   forward?                                        18   diligence, you have to cut off the
     19            MS. SWIFT: Objection, vague.           19   customer -- or excuse me.
     20       A. I believe I've stated that               20            If you can't do -- if you don't
     21   numerous times over the last two days.          21   do adequate due diligence to dispel the
     22   BY MR. FULLER:                                  22   suspicion, that you have to cut off the
     23       Q. And I believe you provided some          23   customer or you can no longer ship controlled
     24   of your bases, but you've also reviewed and     24   substances to them?
     25   read portions of Mr. Prevoznik's testimony as   25            MS. SWIFT: Objection,
                                               Page 833                                             Page 835
      1   the 30(b) for the DEA in this litigation,        1       compound.
      2   right?                                           2       A. I would also state that if you
      3       A. I did read his section where he           3   cut the order, there would be no requirement
      4   speaks to that same -- he doesn't speak to       4   for a suspicious order under the Masters
      5   the methodology, but he speaks to the same       5   ruling. You could -- you could do due
      6   position from the DEA.                           6   diligence, but if you identified an order and
      7            MR. FULLER: A.J., hand me my            7   cut it, stopped any future shipment, I
      8       yellow expandable.                           8   believe it wouldn't be necessary to do due
      9            So I'm going to hand you and            9   diligence.
     10       mark as Exhibit -- what exhibit are we      10   BY MR. FULLER:
     11       up to?                                      11       Q. Meaning because you're not
     12            (Whereupon, Deposition Exhibit         12   shipping to them again?
     13       Rafalski-29, Plaintiff Cardinal Health      13       A. Yes.
     14       Inc.'s Reply in Support of Motion for       14       Q. Okay. But if you receive a
     15       Preliminary Injunction, was marked for      15   suspicious order and you do not dispel the
     16       identification.)                            16   suspicion, you can't continue to ship to that
     17   BY MR. FULLER:                                  17   customer, correct?
     18       Q. So Plaintiffs' Exhibit 29, have          18       A. That's correct.
     19   you seen this document before?                  19             (Whereupon, Deposition Exhibit
     20       A. I have.                                  20       Rafalski-30, 8/13/14 Rocque Letter to
     21            MS. SWIFT: Do you have a copy?         21       Hobart [MCKMDL Bates Obscured], was
     22   BY MR. FULLER:                                  22       marked for identification.)
     23       Q. If you turn to page 17. And              23   BY MR. FULLER:
     24   for the record, this is attached to             24       Q. So Plaintiffs' Exhibit 30.
     25   Mr. Prevoznik's depo as either Exhibit 8 or     25   Have you seen this document before?
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                                              Page 836                                             Page 838
      1        A. I have.                                  1             MR. O'CONNOR: Objection, form.
      2        Q. And I'll represent to you that           2             MR. FULLER: I'm sorry, go
      3   it's also attached to Mr. Prevoznik's            3        ahead.
      4   deposition, and if you go to page 16. And        4        A. Any relevant transactions.
      5   this is related to McKesson.                     5             MR. FULLER: I don't have
      6             And in the middle of the               6        anything further.
      7   paragraph under number 5, it says: As the        7             THE VIDEOGRAPHER: Going off
      8   manual explains, quote, once McKesson deems      8        the record, 5:04 p.m.
      9   an order or -- and/or a customer suspicious,     9             (Recess taken, 5:04 p.m. to
     10   McKesson is required to act. This means that    10        5:14 p.m.)
     11   all controlled substance sales to that          11             THE VIDEOGRAPHER: We're back
     12   customer must -- customer must cease and the    12        on the record at 5:14 p.m.
     13   DEA must be notified.                           13                EXAMINATION
     14             And that's consistent with your       14   BY MR. MATTHEWS:
     15   position as well, correct?                      15        Q. Good afternoon, Mr. Rafalski.
     16             MR. EPPICH: Objection,                16   I already introduced myself to you but just
     17        leading.                                   17   for the record, I'm James Matthews. I
     18        A. Yes, sir.                               18   represent Anda Inc.
     19   BY MR. FULLER:                                  19        A. Good afternoon.
     20        Q. These methodologies that you            20        Q. How are you.
     21   identified, 1 through 5, they could also be     21             I want to take you back to the
     22   ran on the manufacturers' shipments to its      22   beginning of the day. There were some
     23   customers, correct?                             23   questions asked of you by Ms. Swift who
     24             MR. O'CONNOR: Objection, form.        24   represented Walgreens.
     25        A. Yes, the methodologies could be         25             Do you remember that very
                                              Page 837                                             Page 839
      1   applied to any of the persons involved in the    1   beginning of the day, right in the morning?
      2   CT1 litigation.                                  2       A. I recall I was interviewed or
      3   BY MR. FULLER:                                   3   deposed about Walgreens. I don't
      4       Q. And counsel's asked you several           4   specifically -- the questions, I don't
      5   times about know your customer -- customer's     5   recall.
      6   customer.                                        6       Q. Okay. You issued 183 --
      7             Do you recall that line of             7   180-some-odd-page report, right?
      8   questioning?                                     8       A. Yes, sir.
      9       A. Yes, I do.                                9       Q. And in that, you set forth your
     10       Q. Is it your opinion that                  10   opinions, and you told Ms. Swift that all of
     11   whatever information a registrant has,          11   your opinions are in that report, right?
     12   whether it be in the sales department or any    12       A. Of the companies that I
     13   other department within their organization,     13   evaluated, the opinion -- of -- yes.
     14   that if it would be valuable to use for the     14       Q. Yes.
     15   suspicious order monitoring system, it should   15            And the bases for those
     16   be used for that purpose as well?               16   opinions, except insofar as they're based on
     17             MR. O'CONNOR: Objection, form.        17   your own personal experience and knowledge,
     18       A. I agree and I believe I've               18   are in the footnotes to that report, right?
     19   testified to that on numerous occasions in      19            MR. FULLER: I'm going to
     20   the last two days.                              20       object, and if I can have a running
     21   BY MR. FULLER:                                  21       objection that this is outside my
     22       Q. And that's whether it's                  22       cross.
     23   chargeback data, IQVIA data,                    23            MR. MATTHEWS: That's fine, you
     24   doctor detailing data, pharmacy visits --       24       can have your objection, thank you.
     25       A. Any relevant transaction --              25            MR. FULLER: Thank you.

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                                               Page 840                                              Page 842
      1       A. I think it's an accurate                  1            During the course of the
      2   statement. It was based on the review of the     2   deposition, you've said on several occasions
      3   records that I cited.                            3   that your method for assessing the
      4   BY MR. MATTHEWS:                                 4   defendants' suspicious order monitoring
      5       Q. Okay. There's not a single                5   systems is based in part on your experience,
      6   document created by Anda Inc. cited in any of    6   training and guidance from lawyers at DEA; is
      7   the footnotes in your report, right?             7   that correct?
      8       A. That's correct.                           8            Do you remember that testimony?
      9       Q. And that means that there's --            9       A. Yes, sir.
     10   and there's no depositions of any Anda Inc.     10       Q. Okay. This is just a yes-or-no
     11   employees cited in any of the footnotes of      11   answer: Does the Touhy authorization that
     12   your report, right?                             12   you received for today's testimony prevent
     13       A. There is not.                            13   you from disclosing the legal guidance from
     14       Q. In fact, you haven't done                14   DEA lawyers that supports your opinions?
     15   anything to look at Anda's suspicious order     15       A. So just so I understand the
     16   monitoring program, right?                      16   question. Does the Touhy letter prevent me
     17       A. I have not.                              17   from answering that question?
     18       Q. And since there's no                     18       Q. Right.
     19   information that would be the basis for any     19       A. I believe it does, yes.
     20   opinions as to Anda's suspicious order          20            MR. MATTHEWS: Thank you. I
     21   monitoring system in your report, it's safe     21       have no further questions.
     22   to say that there are no opinions about         22            THE VIDEOGRAPHER: Going off
     23   Anda Inc. in your report, right?                23       the record, 5:18 p.m.
     24       A. There's no opinions of Anda in           24            (Proceedings recessed at
     25   the current report, right here, no, sir.        25       5:18 p.m.)
                                               Page 841                                              Page 843
      1        Q. And so I'd like you, if you              1               CERTIFICATE
      2
                                                           2           I, MICHAEL E. MILLER, Fellow of
          could, to just open your report to page 7.           the Academy of Professional Reporters,
      3   You know that Anda, Inc. is one of the           3   Registered Diplomate Reporter, Certified
      4
                                                               Realtime Reporter, Certified Court Reporter
          defendants in this action, right?                4   and Notary Public, do hereby certify that
      5                                                        prior to the commencement of the examination,
               A. I believe so, yes, sir.                  5   JAMES E. RAFALSKI was duly sworn by me to
      6        Q. Okay. Looking at page 7 of                   testify to the truth, the whole truth and
      7
                                                           6   nothing but the truth.
          your report, in the second full paragraph,       7           I DO FURTHER CERTIFY that the
      8   you wrote: I am of the opinion to a                  foregoing is a verbatim transcript of the
                                                           8   testimony as taken stenographically by and
      9   reasonable degree of professional certainty          before me at the time, place and on the date
     10
                                                           9   hereinbefore set forth, to the best of my
          that there was a systematic, prolonged               ability.
     11                                                   10
          failure over many years by the defendant                     I DO FURTHER CERTIFY that pursuant
     12   manufacturers and distributors to maintain      11   to FRCP Rule 30, signature of the witness was
     13                                                        not requested by the witness or other party
          effective controls against diversion of         12   before the conclusion of the deposition.
     14   legitimate opioid prescriptions into the        13           I DO FURTHER CERTIFY that I am
                                                               neither a relative nor employee nor attorney
     15   illicit market.                                 14   nor counsel of any of the parties to this
     16                                                        action, and that I am neither a relative nor
                   Did I read that correctly?             15   employee of such attorney or counsel, and
     17        A. You did.                                     that I am not financially interested in the
     18
                                                          16   action.
               Q. So Anda is a defendant, right?          17
     19        A. Yes, sir.
                                                          18   __________________________________
                                                               MICHAEL E. MILLER, FAPR, RDR, CRR
     20        Q. And that opinion as described           19   Fellow of the Academy of Professional Reporters
     21
                                                               NCRA Registered Diplomate Reporter
          on page 7 does not apply to Anda, right?        20   NCRA Certified Realtime Reporter
     22        A. As I sit here today, no, I have              Certified Court Reporter
                                                          21
     23   not reviewed any records related to Anda.            Notary Public
     24
                                                          22   My Commission Expires: 7/9/2020
               Q. Okay. I want to ask one more            23   Dated: May 15, 2019
     25                                                   24
          question following up on your testimony.        25

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                                              Page 844                                     Page 846
      1         INSTRUCTIONS TO WITNESS                    1       ACKNOWLEDGMENT OF DEPONENT
      2                                                    2
                                                           3
      3           Please read your deposition over         4         I, JAMES E. RAFALSKI, do hereby
      4   carefully and make any necessary corrections.      certify that I have read the foregoing pages
      5   You should state the reason in the               5 and that the same is a correct transcription
      6   appropriate space on the errata sheet for any      of the answers given by me to the questions
      7                                                    6 therein propounded, except for the
          corrections that are made.
      8                                                      corrections or changes in form or substance,
                  After doing so, please sign the          7 if any, noted in the attached
      9   errata sheet and date it.                          Errata Sheet.
     10           You are signing same subject to          8
     11   the changes you have noted on the errata         9
     12                                                   10
          sheet, which will be attached to your
                                                          11
     13   deposition.                                     12   ___________________________________________
     14           It is imperative that you return              JAMES E. RAFALSKI           DATE
     15   the original errata sheet to the deposing       13
     16   attorney within thirty (30) days of receipt     14
     17   of the deposition transcript by you. If you     15   Subscribed and sworn to before me this
     18
                                                          16   _______ day of _______________, 20 _____.
          fail to do so, the deposition transcript may    17   My commission expires: _______________
     19   be deemed to be accurate and may be used in     18
     20   court.                                          19   _______________________________
     21                                                   20   Notary Public
     22                                                   21
                                                          22
     23
                                                          23
     24
                                                          24
     25                                                   25

                                              Page 845                                                      Page 847
      1             ERRATA                                 1           LAWYER'S NOTES
      2   PAGE LINE CHANGE                                 2
      3   ____ ____ _________________________________      3   PAGE    LINE
      4      REASON: _______________________________       4   ____   ____ _____________________________
      5   ____ ____ _________________________________      5   ____   ____ _____________________________
      6      REASON: _______________________________       6   ____   ____ _____________________________
      7   ____ ____ _________________________________      7   ____   ____ _____________________________
      8      REASON: _______________________________       8   ____   ____ _____________________________
      9   ____ ____ _________________________________      9   ____   ____ _____________________________
     10      REASON: _______________________________      10   ____   ____ _____________________________
     11   ____ ____ _________________________________     11   ____   ____ _____________________________
     12      REASON: _______________________________      12   ____   ____ _____________________________
     13   ____ ____ _________________________________     13   ____   ____ _____________________________
     14      REASON: _______________________________      14   ____   ____ _____________________________
     15   ____ ____ _________________________________     15   ____   ____ _____________________________
     16      REASON: _______________________________      16   ____   ____ _____________________________
     17   ____ ____ _________________________________     17   ____   ____ _____________________________
     18      REASON: _______________________________      18   ____   ____ _____________________________
     19   ____ ____ _________________________________     19   ____   ____ _____________________________
     20      REASON: _______________________________      20   ____   ____ _____________________________
     21   ____ ____ _________________________________     21   ____   ____ _____________________________
     22      REASON: _______________________________      22   ____   ____ _____________________________
     23   ____ ____ _________________________________     23   ____   ____ _____________________________
     24      REASON: _______________________________      24   ____   ____ _____________________________
     25                                                   25


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